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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF PUERTO RICO


  COMMONWEALTH OF PUERTO RICO,                  Civil No.

           Plaintiff,
     v.

   KOCH FOODS, INC., JCG FOODS OF ALABAMA,
LLC, JCG FOODS OF GEORGIA, LLC, KOCH MEAT
CO., INC., TYSON FOODS, INC., TYSON CHICKEN,
INC., TYSON BREEDERS, INC., TYSON POULTRY,
INC., PILGRIM’S PRIDE CORPORATION, PERDUE
FARMS, INC., PERDUE FOODS LLC, SANDERSON        COMPLAINT
FARMS, INC., SANDERSON FARMS, INC. (FOODS
DIVISION),     SANDERSON       FARMS,    INC.
(PRODUCTION DIVISION), SANDERSON FARMS,
INC., (PROCESSING DIVISION), WAYNE FARMS,
LLC, MOUNTAIRE FARMS, INC., MOUNTAIRE
FARMS,      LLC,   MOUNTAIRE     FARMS     OF
DELAWARE, INC., PECO FOODS, INC., FOSTER
FARMS, LLC, FOSTER POULTRY FARMS, HOUSE
OF RAEFORD FARMS, INC., SIMMONS FOODS,
INC., SIMMONS PREPARED FOODS, INC.,
FIELDALE FARMS CORPORATION, GEORGE’S,
INC., GEORGE’S FARMS, INC., O.K. FOODS, INC.,
O.K. FARMS, INC., O.K. INDUSTRIES, INC.,
CLAXTON PULTRY FARMS, INC., NORMAN W.
FRIES, INC., d/b/a CLAXTON POULTRY FARMS,       DEMAND FOR JURY TRIAL
INC., HARRISON POULTRY, INC., MAR-JAC
POULTRY, INC., MAR-JAC POULTRY MS, LLC,
MAR-JAC POULTRY AL, LLC, MAR-JAC AL/MS,
INC., MAR-JAC POULTRY, LLC, MAR-JAC
HOLDINGS, LLC, AMICK FARMS, LLC, THE
AMICK COMPANY, INC., AMICK-OSI BROILERS,
LLC, AMICK-OSI PROCESSING, LLC, CASE
FOODS, INC., CASE FARMS, LLC, CASE FARMS
PROCESSING, INC., AGRI STATS, INC.

            Defendants.
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       The Commonwealth of Puerto Rico (“Puerto Rico” or “Plaintiff”) brings this action for

damages under the antitrust laws of Puerto Rico against Defendants, and in its sovereign capacity

as parens patriae on behalf of its citizens and demands a trial by jury.

                                 I.      NATURE OF ACTION

   1. Plaintiff is informed and believes, and thereon alleges, that in order to maintain price

stability and increase profitability, beginning at least as early as January 2008, and through the

present (the “Relevant Time Period”), Defendants and their co-conspirators conspired and

combined to fix, raise, maintain, and stabilize the price of Broilers.1 The principal (but not

exclusive) method by which Defendants implemented and executed their conspiracy was by

coordinating their output and limiting production with the intent and expected result of increasing

prices of Broilers in the United States.2 In furtherance of their conspiracy, Defendants exchanged

detailed, competitively sensitive, and closely-guarded nonpublic information about prices,

capacity, sales volume, and demand, including through Defendant Agri Stats, Inc. (“Agri Stats”).

   A. Plaintiff is further informed and believes that Defendants fraudulently concealed their

       anticompetitive conduct from Plaintiff in furtherance of the conspiracy, and as a result there

       may be other methods by which Defendants carried out their conspiracy which presently

       are not known to Plaintiff. For instance, it was not publicly known until November 2016

       that certain Defendants and their co-conspirators apparently manipulated and artificially

       inflated a widely used Broiler price index, the Georgia Dock. One of the participants in the

       alleged conspiracy, Fieldale Farms, has already agreed to pay $2.25 million to settle claims



   1
     “Broilers” are chickens raised for meat consumption to be slaughtered before the age of 13
weeks, and which may be sold in a variety of forms, including fresh or frozen, raw or cooked,
whole or in parts, or as a meat ingredient in a value added product, but excluding chicken that is
grown, processed, and sold according to halal, kosher, free range, or organic standards.
   2
     The term “United States” includes the Commonwealth of Puerto Rico.
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       by a putative class of direct purchasers alleging that it participated in this conspiracy.

       Defendants Unlawfully Agreed to Curtail the Supply of Chicken

   2. Broilers constitute approximately 98% of all chicken meat sold in the United States.

Defendants are the leading suppliers of Broilers in an industry with over $30 billion in annual

wholesale revenue. The Broiler industry is highly concentrated, with a small number of large

producers in the United States controlling supply. Defendants collectively control approximately

90% of the wholesale Broiler market. Since the 1950s, the production of Broilers has become

highly industrialized and commoditized.

   3. One aspect of Defendants’ scheme curtailed the supply of chickens in the market via

unprecedented cuts at the top of the supply chain in the form of collusively reducing “breeder

flocks” that produce chickens ultimately slaughtered for meat consumption. Historically, when

faced with low market end of the supply chain, such as reducing egg placements, killing newly-

hatched chicks, or idling processing plants – but which still allowed them to ramp up production

within weeks if chicken prices increase.

   4. Historically, the Broiler industry was marked by boom and bust cycles where, in response

to rising prices, producers increased production, which caused an oversupply and resulting

decrease in pricing. However, that market pattern changed markedly in 2008. By their wrongful

conduct as alleged in this complaint, Defendants not only materially reduced or eliminated the

historical boom and bust cycle of the Broiler industry, they propped up Broiler prices during

periods of rapidly falling input costs by, among other means, coordinating supply restrictions and

manipulating one or more Broiler price indices.

   5. The historic pattern of annual increases in chicken production became so entrenched over

decades of experience that by the 2000s, a widely-repeated industry refrain was that the market



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would grow by 3% more Broilers per year. An industry publication noted in early 2009 that

chicken “production in the U.S. used to be just like government spending, it never went down and

cutbacks only resulted in slowing the rate of growth, but not anymore,” because for “the first time

in decades, total Broiler production in 2008 remained virtually unchanged from the year before.

WATT PoultryUSA 2008 rankings data show the industry’s total weekly ready-to-cook (RTC)

production at 724.05 million pounds, just slightly more than the 723.71 million RTC pounds per

week reported at the end of 2007.”

   6.   In 2007, Pilgrim’s and Tyson attempted to cut their production levels enough to cause

industry prices to rise. However, despite Pilgrim’s and Tyson’s combined 40% market share, their

production cuts in 2007 were not enough to increase prices through supply cuts because other

Broiler companies increased their production.

   7. As a result, in January 2008 Pilgrim’s and Tyson changed tactics and concluded that only

through broader cooperation among major producers in the Broiler industry could supply be cut

enough to force prices to increase. In January 2008, both Pilgrim’s and Tyson made clear to the

Broiler industry that neither Pilgrim’s nor Tyson would continue to cut production while their

competitors used the opportunity to take away Pilgrim’s and Tyson’s market share. A few days

after attending an industry event in late January 2008, Tyson’s CEO announced Tyson would be

raising prices because “we have no choice [but] to raise prices substantially.” A day later, a

Pilgrim’s executive announced publicly that Pilgrim’s would be cutting its production and “the

rest [] of the market is going to have to pick-up a fair share in order for the production to come out

of the system.”

   8. Subsequently, as described in detail below, the other Defendants followed Pilgrim’s and

Tyson’s call to arms and made substantial cuts to their own production. However, unlike Pilgrim’s



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and Tyson’s prior production cuts, in 2008 the Defendants did not rely solely on the ordinary

mechanisms available to temporarily reduce production, which would have permitted production

to be quickly ramped up if prices rose. Instead, Defendants cut their ability to ramp up production

for 18 months or more by destroying Broiler breeder hens in their Broiler breeder flocks

responsible for supplying the eggs Defendants raise into Broilers. This destruction of the Broiler

breeder flock was unparalleled, and the consequences continue to reverberate in the Broiler

industry to present day. Further, when some Defendants in 2010 became “undisciplined” and

began gradually increasing their production, Defendants made a second wave of coordinated

production cuts in 2011 and 2012, which included further substantial destruction of industry

Broiler breeder flocks. Defendants continued to limit the United States Broiler supply in

subsequent years by destroying eggs, relying upon one another’s production to meet customer

needs, and exporting excess Broiler breeder flocks to Mexico, even when doing so was against

their independent economic interest.

   9. Defendants’ joint efforts to impose supply-side “discipline” included public statements by

their executives about a Defendant’s individual commitment to production cuts as well as the

importance of instituting and maintaining this “discipline” within the industry as a whole.

Defendants’ public statements on the need for, and benefits of, industry-wide supply “discipline”

marked a significant departure from past industry.

   10. Defendants’ coordinated output restriction scheme was successfully facilitated by,

monitored and policed, using reports purchased at significant cost, from Agri Stats, Inc. (“Agri

Stats”), which in 2013 became a subsidiary of global pharmaceutical company Eli Lilly & Co.

Agri Stats collects detailed, proprietary data from all Defendants and their Co-Conspirators,

including housing used, breeds of chicks, average size, and production and breeder flock levels.



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Although certain Defendants had used Agri Stats before 2008, the output-restriction part of

Defendants’ conspiracy began when Defendant Tyson Foods – which had stopped using Agri Stats

sometime in the mid-2000s – became a subscriber again in early 2008.

   11. While the Agri Stats reports superficially “anonymize” individual producer information,

they are sufficiently detailed so that any reasonably informed producer may discern the identity of

its competitors’ information, including breeder flocks, and other production, capacity and cost

data. Agri Stats, as detailed below, plays both a unique role in the chicken industry and an

important role in the conspiracy alleged here, by willfully enabling Defendants and their Co-

Conspirators to know what each of them were doing in furtherance of the concerted action among

the producers.

   12. The information available to Defendants in these Agri Stats reports is not the kind of

information that, in a competitive market, would be disclosed by one competitor to another. Agri

Stats reports include individual lines (sometimes called “rows”) of facility-level data for over 100

of Defendants’ chicken integrated production facilities. Most of these vast facilities, referred to as

“complexes,” include housing for Defendants’ breeder flocks and hatcheries where breeder flock

hens lay the eggs that will ultimately become the chickens sold to the market.

   13. The Agri Stats reports identify each complex with unique numbers, including a coding

system identifying the region and sub-region, for each chicken complex, with the cover pages of

each sub-regional report identifying by name the companies whose complexes are covered in the

report itself. For example, “Region 20” includes “Sub-Region 21 – Upper Mid Atlantic,”

identifying, with a unique number, sixteen chicken complexes, including but not limited to, four




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Tyson complexes, four Perdie complexes, two Pilgrim’s Pride complexes, and one George’s

complex.3

    14. Agri Stats’ reports are not publicly available and Defendants and Co-Conspirators closely

guard the reports’ contents and the degree of Defendants’ and Co-Conspirators’ participation in

Agri Stats’ data-gathering and data-dissemination process. Defendants and Co-Conspirators have

reported detailed data to Agri Stats on a regular basis (usually weekly).

    15. Agri Stats’ both facilitated and participated in the conspiracy, among other things:

            Agri Stats’ coding system enabled Defendants’ and Co-Conspirators’ personnel to

             decipher, simply by eyeballing the “rows” in a given reports, the production, feed, sales

             and other competitively-sensitive metrics of their competitors, many of whom had

             complexes “right down the road from” each other in the same Agri Stats sub-region;

            Agri Stats’ regular meetings with each Defendant and Co-Conspirator allowed Agri

             Stats to share production information among the Defendants. For example, mid-level

             Tyson personnel working at complexes in the Mid-Atlantic region were advised by

             their complex managers about competitors’ production following quarterly meetings

             between the Tyson complex managers and Agri Stats account managers; and

            Agri Stats account managers created, for each of their Defendant and Co-Conspirator

             customers, a series of data compilations known as “books,” based on the competitively-

             sensitive data that one alleged conspirator had submitted to Agri Stats. On a number of




    3
      Agri Stats reports also include data for Defendants’ chicken complexes (listed by producer and location) in:
North Caroline (“Sub-Region 22”); Northern Georgia and Tennessee (“Sub-Region 31”); Southern Georgia, Florida
and South Carolina (“Sub-Region 32”); Alabama and Mississippi (sub-regions 41 and 42); lower Arkansas, Louisiana
and Texas (“Sub-Region 51”); upper Arkansas and Missouri (“Sub-Region 52”); Kentucky, Ohio, Minnesota, Indiana
and Wisconsin (“Sub-Region 60”); and California and the Pacific Northwest (“Region 10”) (which is composed solely
of Defendant Foster Farms’ three complexes).

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           occasions, Agri Stats personnel sent copies of one alleged conspirator’s “books” to

           other alleged conspirators.

   16. The consequence of Defendants’ cuts in 2008 and 2011-2012 has been a nearly 50%

increase in Broiler wholesale prices by one measure since 2008, despite input costs (primarily corn

and soybeans) falling roughly 20% to 23% over the same time period. The rise in Broiler prices

relative to input costs has led to record profits for Defendants.

   B. Defendants Unlawfully Agreed to Manipulate and Artificially Inflate the Georgia

   Dock

   17. To effectuate their conspiracy, Defendants turned to a modernized version of an antitrust

conspiracy in the Broiler industry during the 1970s. During the 1970s, major Broiler producers

held a weekly conference call to discuss production levels and prices for Broilers. After the

Department of Justice and civil antitrust plaintiffs sued, that practice was stopped. However, by

January 2008, modern technology provided a way for Defendants to share detailed production and

pricing information without industry-wide conference calls. Producers now electronically transfer

vast amounts of production data to Agri Stats which, while supposedly anonymous, in fact provide

Defendants with sufficient detail to determine with reasonable accuracy producer-level data on

production, cost, and general efficiencies. This permits the Defendants to share, on a weekly and/or

monthly basis, their confidential production and pricing information, including forward-looking

production information, which is easily forecasted on Broiler breeder flock data that is reported

and shared.

   18. Thus, second aspect of Defendants’ conspiracy to illegally increase and maintain chicken

prices was the manipulation and artificial inflation on the “Georgia Dock,” a widely used weekly

benchmark price compiled and published by the Georgia Department of Agriculture (the “GDA”).



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Unlike other price indices available to chicken buyers, the Georgia Dock benchmark price is a self-

reported number from a group of at least ten chicken producers (Defendants Pilgrim’s Pride,

Tyson, Perdue, Mar-Jac, and co-conspirators Fieldale Farms, Sanderson Farms, Koch Farms,

Claxton Poultry, Harrison Poultry, and Wayne Farms). Senior executives from eight of the ten

companies who participated in the Georgia Dock price submission prices (hereinafter, the

“Georgia Dock Conspirators”) were members of a private sector “Georgia Dock Advisory Board,”

which played a role in the compilation and manipulation of the Georgia Dock benchmark price.

   19. From late 2014 into 2016, Broiler input costs fell significantly. Economic theory predicts

that in a competitive market, all else being equal, Broiler prices similarly would fall. However,

prices remained artificially inflated due to Defendants’ and their Producer Co-Conspirators’

agreement to artificially restrict production and their manipulation of the Georgia Dock Broiler

price index, published by the GDA. The facts surrounding this episode were unknown to Plaintiff

and the public until November 2016, when it became public that the United States Department of

Agriculture (“USDA”) had requested in July 2016 that the GDA investigate and verify the

accuracy of the Broiler prices provided to the GDA by several Defendants. When the GDA

declined to do so, citing the industry’s and its own lack of interest in verifying prices, USDA began

publishing its own Broiler price statistic, which confirmed that the Georgia Dock price was inflated

over already supracompetitive prices.

   20. There are numerous “plus factors” in the Broiler industry during the Relevant Time Period

including, but not limited to, the following: (a) extensive information sharing through Agri Stats,

(b) numerous opportunities to collude in a variety of forums, (c) a coordinated change from

contracts with fixed Broiler prices to Broiler prices that float with the Broiler spot market, (d)

inter-Defendant trades and purchases that often are against independent self-interest, and (e)



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multiple industry characteristics which facilitate collusion, such as high vertical integration, high

barriers to entry, high Broiler industry consolidation and concentration, inelastic supply and

demand, a lack of significant substitutes for Broilers, and a history of government investigations

and collusive conduct.

   21. The November 23, 2016 Georgia Dock benchmark whole-bird price of $1.0975/lb. was the

last one reported by the GDA. The GDA later introduced a new index called the “Georgia Premium

Poultry Price Index,” which purported to be a more transparent, accurate, and verifiable pricing

mechanism – but abandoned the new index in February 2017 due to a lack of participation by

chicken producers. The Antirust Section of the Florida Attorney General’s office is currently

investigating the chicken industry for anticompetitive practices, including the manipulation of the

Georgia Dock.

   22. Defendants’ conduct has led to public reports of Defendants’ anticompetitive behavior. For

instance, stock market analysis service Seeking Alpha reported in November 2016, in an article

titled “Evidence of Chicken Price Manipulation: The Curious Case Of The Georgia Dock,” that

the chicken companies (including Pilgrim’s Pride, Tyson, and Sanderson) “may be manipulating

the Georgia Dock price index in order to receive a much higher price than real market prices.”

Seeking Alpha noted that Defendants’ conduct surrounding this price index manipulation “has

accounted for >100% of earnings for pure-play chicken companies recently.” The alleged unlawful

conduct was so serious that Seeking Alpha projected among other things, “60% downside for

[Pilgrim’s Pride], [and] 40% downside for [Tyson]” upon correction of their behavior, before any

“potential penalties.” The result of the “potential LIBOR-rigging type scandal,” Seeking Alpha

reported, was that “US consumers have been over-charged for chicken by more than $3 billion per




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year” and that major chicken producers were “significantly over-earning as a result fo what may

be a manipulated price index.”

    23. Defendants’ restriction of Broiler supply had the intended purpose and effect of increasing

Broiler prices to Plaintiff. First, as Defendants themselves acknowledge, supply and demand in the

Broiler industry are inelastic. Therefore, a coordinated decrease in supply as alleged herein

necessarily will result in an increase in prices. As one industry consultant noted, “[b]ecause of the

inelastic nature of the supply and demand [of Broilers,] a reduction in supply will produce an

outcome more preferable to the industry than maintaining supply with a lower price.”

    24. Second, as acknowledged by industry experts and Defendants themselves, pricing in

virtually all Broiler sales is tied to spot market prices, which are publicly known and available

through industry price indices. An expert economist has testified that “internal [Defendant]

documents show that virtually all chicken products, even if they’re not sold spot, are tied to the

spot prices. . . .”

    25. Therefore, Defendants knew and intended that their coordinated limitation and reduction

in Broiler supply would artificially increase all Broiler prices—for spot market and contract

sales—above the level they would have been absent the conduct alleged herein.

    26. As a result of Defendants’ unlawful conduct, Plaintiff paid artificially inflated prices for

Broilers during the Relevant Time Period. Such prices exceeded the amount they would have paid

if the price for Broilers had been determined by a competitive market. Thus, Plaintiff was directly

injured by Defendants’ conduct.




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                                           II.     PARTIES

   27. Plaintiff is the Commonwealth of Puerto Rico, who brings this action on behalf of itself

and as parens patriae on behalf of Puerto Rico residents, under the laws of Puerto Rico, to ensure

compliance with Puerto Rican laws and to enjoin violations of Puerto Rican laws.

   28. Koch Foods, Inc. is a privately held Delaware corporation with its corporate headquarters

in Park Ridge, Illinois. It has its sales office in Flowood, Mississippi and its export office in

Chattanooga, Tennessee. During the Relevant Time Period, Koch Foods, Inc. sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in

the United States.

   29. JCG Foods of Alabama, LLC is an Alabama corporation with its headquarters in Park

Ridge, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Relevant Time

Period, JCG Foods of Alabama, LLC sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

   30. JCG Foods of Georgia, LLC is a Georgia corporation with its headquarters in Park Ridge,

Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Relevant Time Period,

JCG Foods of Georgia, LLC sold Broilers in interstate commerce, directly or through its wholly

owned or controlled affiliates, to purchasers in the United States.

   31. Koch Meat Co., Inc. is an Illinois corporation with its headquarters in Chicago, Illinois,

and is a wholly-owned subsidiary of Koch Foods, Inc. During the Relevant Time Period, Koch

Meat Co., Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

   32. Defendants Koch Foods, Inc., JCG Foods of Alabama, LLC, JCG Foods of Georgia, LLC,

and Koch Meat Co., Inc. are collectively referred to as “Koch Foods.”



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   33. Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered in Springdale,

Arkansas. During the Relevant Time Period, Tyson Foods, Inc. and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

   34. Tyson Chicken, Inc. is a Delaware corporation headquartered in Springdale, Arkansas and

is a wholly-owned subsidiary of Tyson Foods, Inc. During the Relevant Time Period, Tyson

Chicken, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

   35. Tyson Breeders, Inc. is a Delaware corporation headquartered in Springdale, Arkansas and

is a wholly-owned subsidiary of Tyson Foods, Inc. During the Relevant Time Period, Tyson

Breeders, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

   36. Tyson Poultry, Inc. is a Delaware corporation headquartered in Springdale, Arkansas and

is a wholly-owned subsidiary of Tyson Poultry, Inc. During the Relevant Time Period, Tyson

Poultry, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

   37. Defendants Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc., and Tyson

Poultry, Inc. are collectively referred to as “Tyson.”

   38. Pilgrim’s Pride Corporation is a Delaware corporation headquartered in Greeley, Colorado

(hereinafter “Pilgrim’s”). JBS USA Holdings, Inc. holds a 75.3% controlling interest in Pilgrim’s.

JBS USA Holdings and Pilgrim’s are subsidiaries of JBS SA, a Brazilian corporation

headquartered in Sao Paulo, Brazil. During the Relevant Time Period, Pilgrim’s sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in



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the United States including the Commonwealth of Puerto Rico. Pilgrim’s operates a facility in

Aibonito, Puerto Rico, and both produces and processes chickens in Puerto Rico by and through

its subsidiary To-Rico’s Ltd.

   A. Around December 1, 2008, Pilgrim’s filed a voluntary Chapter 11 petition in the United
      States Bankruptcy Court for the Northern District of Texas. Effective December 28, 2009,
      Pilgrim’s was discharged from bankruptcy under a plan of reorganization that paid all
      creditors in full largely due to rising Broiler prices leading to increased profits at Pilgrim’s.
      Pilgrim’s participated in the conspiracy alleged herein throughout the Relevant Time
      Period through the actions of many of Pilgrim’s most senior executives, including former
      CEO Dr. Don Jackson and current President & CEO Bill Lovette, and others with
      responsibility for Broilers.

   B. After its discharge from bankruptcy, Pilgrim’s reaffirmed its participation in the
      conspiracy, in part by calls-to-arms and pledges by and between Defendants that were
      followed by actions that resulted in further idling of production capacity, reduced
      production, and price increases. Other specific post-discharge actions taken by Pilgrim’s
      in furtherance of the conspiracy are alleged (see below) and are consistent with the actions
      taken by all of the Defendants and Pilgrim’s throughout the Relevant Time Period.

   C. Regardless of whether Pilgrim’s participated in the conspiracy throughout the Relevant
      Time Period or joined or reaffirmed membership in the conspiracy immediately after its
      discharge from bankruptcy, this Complaint seeks to recover damages from Pilgrim’s only
      for Pilgrim’s post-discharge conduct, and in no way seeks to violate any Orders of the
      above-referenced Bankruptcy Court. However, by operation of law, the damages arising
      from Pilgrim’s post-discharge conduct include damages incurred by Plaintiff throughout
      the Relevant Time Period. This Complaint also seeks to recover damages from the other
      Defendants for Pilgrim’s pre-discharge conspiratorial conduct. Therefore, Plaintiff pleads
      only a single Relevant Time Period as to all Defendants, but damages as to Pilgrim’s are
      governed by the principles of joint and several liability as noted above.

   39. Perdue Farms, Inc. is a privately held Maryland corporation headquartered in Salisbury,

Maryland. During the Relevant Time Period, Perdue Farms, Inc. and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

   40. Perdue Foods LLC is a privately held Maryland limited liability company headquartered

in Salisbury, Maryland. Perdue Foods LLC is a subsidiary of Perdue Farms, Inc. During the

Relevant Time Period, Perdue Foods, LLC and/or its predecessors, wholly-owned or controlled

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subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly owned

or controlled affiliates, to purchasers in the United States.

   41. Defendants Perdue Farms, Inc. and Perdue Foods LLC are collectively referred to as

“Perdue.”

   42. Sanderson Farms, Inc. is a publicly held Mississippi corporation headquartered in Laurel,

Mississippi. During the Relevant Time Period, Sanderson Farms, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

   43. Sanderson Farms, Inc. (Foods Division) is a Mississippi corporation located in Laurel,

Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the Relevant Time

Period, Sanderson Farms, Inc. (Foods Division) sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

   44. Sanderson Farms, Inc. (Production Division) is a Mississippi corporation located in Laurel,

Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the Relevant Time

Period, Sanderson Farms, Inc. (Production Division) sold or supplied for sale Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   45. Sanderson Farms, Inc. (Processing Division) is a Mississippi corporation located in Laurel,

Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the Relevant Time

Period, Sanderson Farms, Inc. (Processing Division) sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States. Defendants

Sanderson Farms, Inc., Sanderson Farms, Inc. (Foods Division), Sanderson Farms, Inc.




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(Production Division), and Sanderson Farms, Inc. (Processing Division) are collectively referred

to as “Sanderson Farms.”

   46. Wayne Farms, LLC is a Delaware corporation headquartered in Oakwood, Georgia. It is

an operating affiliate of its parent company, Continental Grain Company, a privately held company

in Arlon, Belgium. During the Relevant Time Period, Wayne Farms, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

   47. Mountaire Farms, Inc. is a privately held Delaware corporation with its headquarters in

Millsboro, Delaware. During the Relevant Time Period, Mountaire Farms, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   48. Mountaire Farms, LLC is a privately held Arkansas corporation located in Little Rock,

Arkansas, and is a wholly-owned subsidiary of Mountaire Farms, Inc. During the Relevant Time

Period, Mountaire Farms, LLC and/or its predecessors, wholly-owned or controlled subsidiaries,

or affiliates sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

   49. Mountaire Farms of Delaware, Inc. is a privately held Delaware corporation located in

Millsboro, Delaware, and is a wholly-owned subsidiary of Mountaire Farms, Inc. During the

Relevant Time Period, Mountaire Farms of Delaware, Inc. and/or its predecessors, wholly-owned

or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.




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   50. Defendants Mountaire Farms, Inc., Mountaire Farms, LLC, and Mountaire Farms of

Delaware, Inc. are collectively referred to as “Mountaire.”

   51. Peco Foods, Inc. is a privately held Alabama corporation headquartered in Tuscaloosa,

Alabama. During the Relevant Time Period, Peco Foods, Inc. and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

   52. Foster Farms, LLC is a privately held California corporation headquartered in Modesto,

California. During the Relevant Time Period, Foster Farms, LLC and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States. Foster Poultry

Farms is a privately held California corporation headquartered in Livingston, California.

   53. Foster Poultry Farms is a related entity of Foster Farms, LLC. During the Relevant Time

Period, Foster Poultry Farms and/or its predecessors, wholly-owned or controlled subsidiaries, or

affiliates was engaged in the processing, distribution, sale, pricing, and/or marketing of Broilers,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.

   54. Defendants Foster Farms, LLC and Foster Poultry Farms are collectively referred to as

“Foster Farms.”

   55. House of Raeford Farms, Inc. is a privately held North Carolina corporation headquartered

in Rose Hill, North Carolina. During the Relevant Time Period, House of Raeford operated in part

through a division referred to as “Columbia Farms,” which is a group of Broiler facilities and

operations originally named Columbia Farms, Inc. and Columbia Farms of Georgia, Inc. when

purchased by House of Raeford in 1998. During the Relevant Time Period, House of Raeford

Farms, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold



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Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

   56. Simmons Foods, Inc. is a privately held Arkansas corporation headquartered in Siloam

Springs, Arkansas. During the Relevant Time Period, Simmons Foods, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

   57. Simmons Prepared Foods, Inc. is a privately held Arkansas company headquartered in

Siloam Springs, Arkansas. Simmons Prepared Foods, Inc. is a wholly-owned subsidiary of

Simmons Foods, Inc. During the Relevant Time Period, Simmons Foods, Inc. exclusively sold the

chicken it produced to Simmons Prepared Foods, Inc., which in turn resold the chicken in various

forms to its customers. Simmons Prepared Foods, Inc. and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates was engaged in the processing, distribution, sale, pricing,

and/or marketing of Broilers, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

   58. Defendants Simmons Foods, Inc. and Simmons Prepared Foods, Inc. are collectively

referred to as “Simmons” or “Simmons Foods.”

   59. Fieldale Farms Corporation is a privately held Georgia corporation headquartered in

Baldwin, Georgia. During the Relevant Time Period, Fieldale Farms Corporation and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   60. George’s, Inc. is a privately held Arkansas corporation headquartered in Springdale,

Arkansas. During the Relevant Time Period, George’s, Inc. and/or its predecessors, wholly owned



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or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

   61. George’s Farms, Inc. is a privately held Arkansas corporation headquartered in Springdale,

Arkansas, and is a wholly-owned subsidiary of George’s Inc. During the Relevant Time Period,

George’s Farms, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates

sold and/or supplied Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

   62. Defendants George’s, Inc. and George’s Farms, Inc. are collectively referred to as

“George’s.”

   63. Defendant O.K. Foods, Inc. is an Arkansas corporation headquartered in Fort Smith,

Arkansas. O.K. Foods, Inc. is a subsidiary of Industrias Bachoco S.A., a Brazilian corporation

headquartered in Sao Paulo, Brazil. During the Relevant Time Period, O.K. Foods, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   64. O.K. Farms, Inc. is an Arkansas corporation headquartered in Fort Smith, Arkansas, and is

a wholly-owned subsidiary of O.K. Foods, Inc. During the Relevant Time Period, O.K. Farms,

Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in

the United States.

   65. O.K. Industries, Inc. is an Arkansas corporation headquartered in Fort Smith, Arkansas,

and is a wholly-owned subsidiary of O.K. Foods, Inc. During the Relevant Time Period, O.K.

Industries, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold



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Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

   66. Defendants O.K. Foods, Inc., O.K. Farms, Inc., and O.K. Industries, Inc. are collectively

referred to as “O.K. Foods.”

   67. Claxton Poultry Farms, Inc. is a Georgia corporation located in Claxton, Georgia. During

the Relevant Time Period, Claxton Poultry Farms, Inc. and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

   68. Norman W. Fries, Inc., d/b/a Claxton Poultry Farms, Inc. is a Georgia corporation located

in Claxton, Georgia. During the Relevant Time Period, Norman W. Fries, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   69. Defendants Claxton Poultry Farms, Inc. and Norman W. Fries, Inc. are collectively referred

to as “Claxton Poultry.”

   70. Harrison Poultry, Inc. is a Georgia corporation located in Bethlehem, Georgia. During the

Relevant Time Period, Harrison Poultry, Inc. and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.

   71. Mar-Jac Poultry, Inc. is a Delaware corporation located in Gainesville, Georgia. Mar-Jac

Poultry, Inc. and its subsidiaries are controlled by Sterling Management Group, Inc. During the

Relevant Time Period, Mar-Jac Poultry, Inc. and/or its predecessors, wholly-owned or controlled




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subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its whollyowned

or controlled affiliates, to purchasers in the United States.

   72. Mar-Jac Poultry MS, LLC is a Mississippi limited liability corporation located in

Gainesville, Georgia. During the Relevant Time Period, Mar-Jac Poultry MS, LLC and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   73. Mar-Jac Poultry AL, LLC is an Alabama limited liability corporation located in

Gainesville, Georgia. During the Relevant Time Period, Mar-Jac Poultry AL, LLC and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   74. Mar-Jac AL/MS, Inc. is a Delaware corporation located in Gainesville, Georgia. During

the Relevant Time Period, Mar-Jac AL/MS, Inc. and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly owned or controlled affiliates, to purchasers in the United States.

   75. Mar-Jac Poultry, LLC is a Delaware corporation located in Gainesville, Georgia. During

the Relevant Time Period, Mar-Jac Poultry, LLC and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

   76. Mar-Jac Holdings, LLC is a Delaware corporation located in Gainesville, Georgia and is

the parent company of Mar-Jac Poultry, Inc., Mar Jac Poultry MS LLC, Mar-Jac AL, LLC, Mar-

Jac AL/MS, LLC, and Mar-Jac Poultry, LLC. During the Relevant Time Period, Mar-Jac Holdings,



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LLC and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers

in interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

   77. Defendants Mar-Jac Poultry, Inc., Mar-Jac Poultry MS, LLC, Mar-Jac Poultry AL, LLC,

Mar-Jac AL/MS, Inc., Mar-Jac Poultry, LLC and Mar-Jac Holdings, LLC are collectively referred

to as “Mar-Jac Poultry.”

   78. Amick Farms, LLC is a privately held Delaware limited liability company with its

corporate headquarters in Batesburg-Leesville, South Carolina, and with facilities in South

Carolina, Maryland, and Delaware. Amick Farms, LLC is a wholly-owned subsidiary of OSI

Group, LLC, a privately held Delaware corporation with its corporate headquarters in Aurora,

Illinois. During the Relevant Time Period, Amick Farms, LLC and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

   79. The Amick Company, Inc. is a privately held South Carolina corporation with its corporate

headquarters in Batesburg-Leesville, South Carolina and is a wholly-owned subsidiary of OSI

Group, LLC. During the Relevant Time Period, The Amick Company, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

   80. Amick-OSI Broilers, LLC a privately held Delaware limited liability company with its

corporate headquarters in Batesburg-Leesville, South Carolina and is a wholly-owned subsidiary

of OSI Group, LLC. During the Relevant Time Period, Amick-OSI Broilers, LLC and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate




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commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   81. Amick-OSI Processing, LLC a privately held Delaware limited liability company with its

corporate headquarters in Batesburg-Leesville, South Carolina and is a wholly-owned subsidiary

of OSI Group, LLC. During the Relevant Time Period, Amick-OSI Broilers, LLC and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   82. Defendants Amick Farms, LLC, The Amick Company, Inc., Amick-OSI Broilers, LLC,

and Amick-OSI Processing, LLC are collectively referred to as “Amick.”

   83. Case Foods, Inc. is a privately held Delaware corporation with its corporate headquarters

in Troutman, North Carolina. During the Relevant Time Period, Case Foods, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   84. Case Farms, LLC is a privately held Delaware limited liability company with its corporate

headquarters in Troutman, North Carolina, and with facilities and operations in Ohio and North

Carolina. Case Farms, LLC is a wholly-owned subsidiary of Case Foods, Inc. During the Relevant

Time Period, Case Farms, LLC and/or its predecessors, wholly-owned or controlled subsidiaries,

or affiliates sold Broilers in interstate commerce, directly or through its wholly owned or controlled

affiliates, to purchasers in the United States.

   85. Case Farms Processing, Inc. is a privately held North Carolina corporation with its

corporate headquarters in Troutman, North Carolina, and with facilities and operations in North



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Carolina. Case Farms Processing, Inc. is a wholly-owned subsidiary of Case Foods, Inc. During

the Relevant Time Period, Case Farms Processing, Inc. and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly owned or controlled affiliates, to purchasers in the United States.

   86. Defendants Case Foods, Inc., Case Farms, LLC, and Case Farms Processing, Inc. are

collectively referred to as “Case Foods.”

   87. Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana and is a subsidiary

of Eli Lilly & Co. Eli Lilly & Co. is an Indiana corporation located in Indianapolis, Indiana.

Throughout the Relevant Time Period, Agri Stats acted as a co-conspirator of Defendants by

facilitating the exchange of confidential, proprietary, and competitively sensitive data among

Defendants and their co-conspirators.

   88. “Defendant” or “Defendants” as used herein, includes, in addition to those named

specifically above, all of the named Defendants’ predecessors, including Broilers companies that

merged with or were acquired by the named Defendants and each named Defendant’s wholly

owned or controlled subsidiaries or affiliates that sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States during the

Relevant Time Period.

   89. To the extent the term “Producer Defendants” is used herein, it refers to all Defendants

other than Agri Stats. To the extent that subsidiaries and divisions within each Defendant’s

corporate family sold or distributed Broilers to direct purchasers, these subsidiaries played a

material role in the conspiracy alleged in this Complaint because Defendants wished to ensure that

the prices paid for such Broilers would not undercut the artificially raised and inflated pricing that

was the aim and intended result of Defendants’ coordinated and collusive behavior as alleged



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herein. Thus, all such entities within the corporate family were active, knowing participants in the

conspiracy alleged herein, and their conduct in selling, pricing, distributing and collecting monies

from Plaintiff for Broilers was known to and approved by their respective corporate parent named

as a Defendant in this Complaint. For the avoidance of doubt, several previously unnamed

subsidiaries for Defendants are specifically identified as coconspirators below.

                           III.   AGENTS AND CO-CONSPIRATORS

   A. Co-Conspirator Allen Harim

   90. Harim USA, Ltd. is a privately held Delaware corporation with its corporate headquarters

in Seaford, Delaware. During the Relevant Time Period, Harim USA Ltd. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

   91. Allen Harim Foods, LLC is a privately held Delaware limited liability company with its

corporate headquarters in Seaford, Delaware, and with facilities and operations in Delaware,

Maryland and North Carolina. Allen Harim Foods, LLC is a wholly-owned subsidiary of Harim

USA Ltd. During the Relevant Time Period, Allen Harim Foods, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

   92. Allen Harim Farms, LLC is a privately held Delaware limited liability company with its

corporate headquarters in Seaford, Delaware, and with facilities and operations in Delaware,

Maryland and North Carolina. Allen Harim Farms, LLC is a wholly-owned subsidiary of Harim

USA Ltd. During the Relevant Time Period, Allen Harim Farms, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.



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   93. Producer Co-Conspirators Harim USA, Ltd., Allen Harim Foods, LLC, and Allen Harim

Farms, LLC are collectively referred to as “Allen Harim.”

   B. Co-Conspirator Keystone Foods

   94. Keystone Foods, Inc. is a subsidiary of Marfrig Alimentos, S.A., a Brazilian company, with

its corporate headquarters in Huntsville, Alabama. During the Relevant Time Period, Keystone

Foods, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold

Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

   95. Keystone Foods LLC is a subsidiary of Marfrig Alimentos, S.A., a Brazilian company. On

November 30, 2018, Defendant Tyson Foods, Inc. announced it had completed its acquisition of

Keystone Foods LLC from Marfrig. During the Relevant Time Period, Keystone Foods LLC

and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in

the United States.

   96. Keystone Foods Corporation was (now consolidated) a subsidiary of Keystone Foods, LLC

and Marfrig Alimentos, S.A., a Brazilian company. During the Relevant Time Period, Keystone

Foods Corporation and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates

sold Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates,

to purchasers in the United States.

   97. Equity Group Eufaula Division, LLC is a Delaware limited liability company with its

headquarters in Bakerhill, Alabama and is a wholly-owned subsidiary of Keystone Foods LLC.

During the Relevant Time Period, Equity Group Eufaula Division, LLC sold Broilers in interstate




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commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

   98. Equity Group Kentucky Division LLC, formerly known as Cagle’s-Keystone Foods,

L.L.C., is a Delaware limited liability company with its headquarters in Franklin, Kentucky and is

a wholly-owned subsidiary of Grow-Out Holdings LLC. During the Relevant Time Period, Equity

Group Kentucky Division LLC sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

   99. Equity Group – Georgia Division LLC is a Delaware limited liability company with its

headquarters in Camilla, Georgia and is a wholly-owned subsidiary of Keystone Foods LLC.

During the Relevant Time Period, Equity Group – Georgia Division LLC sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled or controlled affiliates, to purchasers

in the United States.

   100.        Producer Co-Conspirators Keystone Foods LLC, Keystone Foods Corporation,

Equity Group Eufaula Division, LLC, Equity Group Kentucky Division LLC, and Equity Group

– Georgia Division LLC are collectively referred to as “Keystone Foods.”

   C. The Koch Co-Conspirators

   101.        Koch Foods, Inc. is a privately held Illinois corporation headquartered in Park

Ridge, Illinois. Among the Defendant families included in this complaint, various subsidiaries and

related entities actively participated in the conspiracy alleged herein and therefore are

coconspirators, including the following:

          i.    JCG Industries, Inc. is an Illinois corporation with its headquarters in Chicago,

                Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Relevant

                Time Period, JCG Industries, Inc. sold Broilers in interstate commerce, directly or



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       through its wholly owned or controlled affiliates, to purchasers in the United

       States.

ii.    JCG Properties L.L.C. is an Illinois limited liability company with its headquarters

       in Chicago, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During

       the Relevant Time Period, JCG Properties L.L.C. sold Broilers in interstate

       commerce, directly or through its wholly-owned or controlled affiliates, to

       purchasers in the United States.

iii.   JCG Land Holdings, LLC is an Illinois limited liability company with its

       headquarters in Chicago, Illinois, and is a wholly-owned subsidiary of Koch

       Foods, Inc. During the Relevant Time Period, JCG Land Holdings, LLC sold

       Broilers in interstate commerce, directly or through its wholly-owned or controlled

       affiliates, to purchasers in the United States.

iv.    JCG Foods LLC is a Delaware limited liability company with its headquarters in

       Park Ridge, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During

       the Relevant Time Period, JCG Foods LLC sold Broilers in interstate commerce,

       directly or through its wholly-owned or controlled affiliates, to purchasers in the

       United States.

v.     Koch Foods of Cumming LLC, formerly known as Greko, L.L.C. is a Georgia

       limited liability company with its headquarters in Cumming, Georgia, and is a

       wholly-owned subsidiary of Koch Foods, Inc. During the Relevant Time Period,

       Koch Foods of Cumming LLC sold Broilers in interstate commerce, directly or

       through its whollyowned or controlled affiliates, to purchasers in the United States.




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vi.     Koch Foods of Gainesville LLC, formerly known as Gress Foods LLC is a Georgia

        limited liability company with its headquarters in Gainesville, Georgia, and is a

        wholly-owned subsidiary of Koch Foods, Inc. During the Relevant Time Period,

        Koch Foods of Gainesville LLC sold Broilers in interstate commerce, directly or

        through its wholly-owned or controlled affiliates, to purchasers in the United

        States.

vii.    JCG Farms of Georgia LLC is a Georgia limited liability company with its

        headquarters in Park Ridge, Illinois, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, JCG Farms of Georgia LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States.

viii.   Koch Foods of Mississippi LLC is a Mississippi limited liability company with its

        headquarters in Morton, Mississippi, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, Koch Foods of Mississippi LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States.

ix.     Koch Farms of Mississippi LLC is a Mississippi limited liability company with its

        headquarters in Morton, Mississippi, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, Koch Farms of Mississippi LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States.

x.      Koch Freezers LLC is a Mississippi limited liability company with its headquarters

        in Morton, Mississippi, and is a wholly-owned subsidiary of Koch Foods, Inc.



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        During the Relevant Time Period, Koch Freezers LLC sold Broilers in interstate

        commerce, directly or through its wholly-owned or controlled affiliates, to

        purchasers in the United States.

xi.     Koch Properties of Mississippi LLC is a Mississippi limited liability company with

        its headquarters in Morton, Mississippi, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, Koch Properties of Mississippi LLC

        sold Broilers in interstate commerce, directly or through its wholly-owned or

        controlled affiliates, to purchasers in the United States.

xii.    Koch Foods of Alabama LLC is an Alabama limited liability company with its

        headquarters in Montgomery, Alabama, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, Koch Foods of Alabama LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States.

xiii.   Koch Farms of Alabama LLC is an Alabama limited liability company with its

        headquarters in Montgomery, Alabama, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, Koch Farms of Alabama LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States.

xiv.    JCG Farms of Alabama LLC is an Alabama limited liability company with its

        headquarters in Park Ridge, Illinois, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, JCG Farms of Alabama LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States.



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xv.     Koch Foods of Ashland LLC is an Alabama limited liability company with its

        headquarters in Montgomery, Alabama, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, Koch Foods of Ashland LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States.

xvi.    Koch Farms of Ashland LLC is an Alabama limited liability company with its

        headquarters in Montgomery, Alabama, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, Koch Farms of Ashland LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States. xvii. Koch Farms of Gadsden LLC is

        an Alabama limited liability company with its headquarters in Montgomery,

        Alabama, and is a wholly-owned subsidiary of Koch Foods, Inc. During the

        Relevant Time Period, Koch Farms of Gadsden LLC sold Broilers in interstate

        commerce, directly or through its wholly-owned or controlled affiliates, to

        purchasers in the United States.

xvii.   Koch Foods of Gadsden LLC is an Alabama limited liability company with its

        headquarters in Montgomery, Alabama, and is a wholly-owned subsidiary of Koch

        Foods, Inc. During the Relevant Time Period, Koch Foods of Gadsden LLC sold

        Broilers in interstate commerce, directly or through its wholly-owned or controlled

        affiliates, to purchasers in the United States. xix. Koch Foods of Cincinnati LLC,

        f/k/a Preferred Foods, LLC is an Ohio limited liability company with its

        headquarters in Fairfield, Ohio, and is a wholly-owned subsidiary of Koch Foods,

        Inc. During the Relevant Time Period, Koch Foods of Cincinnati LLC sold Broilers



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       in interstate commerce, directly or through its wholly-owned or controlled

       affiliates, to purchasers in the United States.

xviii. Koch Foods LLC is a Tennessee limited liability company with its headquarters in

       Chattanooga, Tennessee, and is a wholly-owned subsidiary of Koch Foods, Inc.

       During the Relevant Time Period, Koch Foods LLC sold Broilers in interstate

       commerce, directly or through its wholly-owned or controlled affiliates, to

       purchasers in the United States.

xix.   Koch Farms LLC is a Tennessee limited liability company with its headquarters in

       Chattanooga, Tennessee, and is a wholly-owned subsidiary of Koch Foods, Inc.

       During the Relevant Time Period, Koch Farms LLC sold Broilers in interstate

       commerce, directly or through its wholly-owned or controlled affiliates, to

       purchasers in the United States.

xx.    Koch Farms of Chattanooga LLC is a Tennessee limited liability company with its

       headquarters in Chattanooga, Tennessee, and is a wholly-owned subsidiary of

       Koch Foods, Inc. During the Relevant Time Period, Koch Farms of Chattanooga

       LLC sold Broilers in interstate commerce, directly or through its wholly-owned or

       controlled affiliates, to purchasers in the United States.

xxi.   Koch Foods of Chattanooga LLC is a Tennessee limited liability company with its

       headquarters in Chattanooga, Tennessee, and is a wholly-owned subsidiary of

       Koch Foods, Inc. During the Relevant Time Period, Koch Foods of Chattanooga

       LLC sold Broilers in interstate commerce, directly or through its wholly-owned or

       controlled affiliates, to purchasers in the United States.




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   xxii.   Koch Foods of Morristown LLC is a Tennessee limited liability company with its

           headquarters in Chattanooga, Tennessee, and is a wholly-owned subsidiary of

           Koch Foods, Inc. During the Relevant Time Period, Koch Foods of Morristown

           LLC sold Broilers in interstate commerce, directly or through its wholly-owned or

           controlled affiliates, to purchasers in the United States.

   xxiii. Koch Farms of Morristown LLC is a Tennessee limited liability company with its

           headquarters in Chattanooga, Tennessee, and is a wholly-owned subsidiary of

           Koch Foods, Inc. During the Relevant Time Period, Koch Farms of Morristown

           LLC sold Broilers in interstate commerce, directly or through its wholly-owned or

           controlled affiliates, to purchasers in the United States.

D. Tyson

  i.       Tyson Sales and Distribution, Inc. is a Delaware corporation with its headquarters

           in Springdale, Arkansas, and is a wholly-owned subsidiary of Tyson Foods, Inc.

           During the Relevant Time Period, Tyson Sales and Distribution, Inc. sold Broilers

           in interstate commerce, directly or through its wholly-owned or controlled

           affiliates, to purchasers in the United States

E. Perdue

  i.       Perdue Foods, Inc. (presently dissolved) was a Maryland corporation with its

           headquarters in Salisbury, Maryland and is a wholly-owned subsidiary of Perdue

           Farms, Inc. During the Relevant Time Period, Perdue Foods, Inc. sold Broilers in

           interstate commerce, directly or through its wholly-owned or controlled affiliates,

           to purchasers in the United States.




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   ii.    Harvestland Holdings, LLC (presently merged) was a Maryland limited liability

          company with its headquarters in Salisbury, Maryland and is a wholly-owned

          subsidiary of Perdue Farms, Inc. During the Relevant Time Period, Harvestland

          Holdings, LLC sold Broilers in interstate commerce, directly or through its wholly-

          owned or controlled affiliates, to purchasers in the United States.

   iii.   Perdue Food Products, Inc. (presently merged) was a Maryland limited liability

          company with its headquarters in Salisbury, Maryland and is a wholly-owned

          subsidiary of Perdue Farms, Inc. During the Relevant Time Period, Perdue Food

          Products, Inc. sold Broilers in interstate commerce, directly or through its wholly-

          owned or controlled affiliates, to purchasers in the United States.

   iv.    Perdue Farms, LLC is a Maryland limited liability company with its headquarters

          in Salisbury, Maryland and is a wholly-owned Farms, LLC sold Broilers in

          interstate commerce, directly or through its wholly-owned or controlled affiliates,

          to purchasers in the United States. v. Perdue Farms Incorporated (presently merged)

          was a Maryland limited liability company with its headquarters in Salisbury,

          Maryland and is a wholly-owned subsidiary of Perdue Farms, Inc. During the

          Relevant Time Period, Perdue Farms Incorporated sold Broilers in interstate

          commerce, directly or through its wholly-owned or controlled affiliates, to

          purchasers in the United States. Wayne Farms

F. WFSP Foods, LLC is an Alabama limited liability company with its headquarters in

   Decatur, Alabama, and is a wholly-owned subsidiary of Wayne Farms, LLC. During the

   Relevant Time Period, WFSP Foods, LLC sold Broilers in interstate commerce, directly or

   through its wholly-owned or controlled affiliates, to purchasers in the United States.


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G. George’s

   i.     George’s Chicken, LLC is an Arkansas limited liability company with its

          headquarters in Springdale, Arkansas, and is a wholly owned subsidiary of

          George’s, Inc. During the Relevant Time Period, George’s Chicken, LLC sold

          Broilers in interstate commerce, directly or through its wholly-owned or controlled

          affiliates, to purchasers in the United States.

   ii.    George’s Family Farms, LLC is an Arkansas limited liability company with its

          headquarters in Springdale, Arkansas, and is a wholly-owned subsidiary of

          George’s, Inc. During the Relevant Time Period, George’s Family Farms, LLC sold

          Broilers in interstate commerce, directly or through its wholly-owned or controlled

          affiliates, to purchasers in the United States.

   iii.   George’s Foods, LLC is an Arkansas limited liability company with its

          headquarters in Springdale, Arkansas, and is a wholly-owned subsidiary of

          George’s, Inc. During the Relevant Time Period, George’s Foods, LLC sold

          Broilers in interstate commerce, directly or through its wholly-owned or controlled

          affiliates, to purchasers in the United States.

   iv.    George’s of Missouri, Inc. is an Arkansas corporation with its headquarters in

          Springdale, Arkansas, and is a wholly-owned subsidiary of George’s, Inc. During

          the Relevant Time Period, George’s of Missouri, Inc. sold Broilers in interstate

          commerce, directly or through its wholly-owned or controlled affiliates, to

          purchasers in the United States.

   v.     George’s Processing, Inc. is an Arkansas corporation with its headquarters in

          Springdale, Arkansas, and is a wholly-owned subsidiary of George’s, Inc. During



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       the Relevant Time Period, George’s Processing, Inc. sold Broilers in interstate

       commerce, directly or through its wholly-owned or controlled affiliates, to

       purchasers in the United States.

H. Peco

i.     Peco Farms of Mississippi, LLC is a Mississippi limited liability company with its

       headquarters in Jackson, Mississippi and is a wholly-owned subsidiary of Peco

       Foods, Inc. During the Relevant Time Period, Peco Farms of Mississippi, LLC sold

       Broilers in interstate commerce, directly or through its wholly-owned or controlled

       affiliates, to purchasers in the United States.

I. Pilgrim’s

i.     PFS Distribution Company is a Delaware company with its headquarters in

       Arlington, Texas and is a wholly-owned subsidiary of Pilgrim’s Pride Corporation.

       During the Relevant Time Period, PFS Distribution Company sold Broilers in

       interstate commerce, directly or through its wholly-owned or controlled affiliates,

       to purchasers in the United States.

ii.    Merit Provisions, LLC is a Delaware limited liability company with its

       headquarters in Dallas, Texas and is a wholly-owned subsidiary of Pilgrim’s Pride

       Corporation. During the Relevant Time Period, Merit Provisions, LLC sold

       Broilers in interstate commerce, directly or through its wholly-owned or controlled

       affiliates, to purchasers in the United States.

iii.   GC Properties, LLC is a Georgia limited liability company with its headquarters in

       Powder Springs, Georgia and is a wholly-owned subsidiary of Pilgrim’s Pride

       Corporation. During the Relevant Time Period, GC Properties, LLC sold Broilers



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                in interstate commerce, directly or through its wholly-owned or controlled

                affiliates, to purchasers in the United States.

       iv.      Pilgrim’s Pride of Nevada, Inc. is a Nevada corporation with its headquarters in

                Greeley, Colorado and is a wholly-owned subsidiary of Pilgrim’s Pride

                Corporation. During the Relevant Time Period, Pilgrim’s Pride of Nevada, Inc. sold

                Broilers in interstate commerce, directly or through its wholly-owned or controlled

                affiliates, to purchasers in the United States.

       v.       PPC Marketing, Ltd. is a Texas company with its headquarters in Pittsburg, Texas

                and is a wholly-owned subsidiary of Pilgrim’s Pride Corporation. During the

                Relevant Time Period, PPC Marketing, Ltd. sold Broilers in interstate commerce,

                directly or through its wholly owned or controlled affiliates, to purchasers in the

                United States.

       vi.      Pilgrim’s Pride Corporation of West Virginia, Inc. is a West Virginia corporation

                with its headquarters in Greeley, Colorado and is a wholly-owned subsidiary of

                Pilgrim’s Pride Corporation. During the Relevant Time Period, Pilgrim’s Pride

                Corporation of West Virginia, Inc. sold Broilers in interstate commerce, directly or

                through its wholly owned or controlled affiliates, to purchasers in the United States.

       vii.     To-Rico’s Ltd. is a Puerto Rico corporation with its headquarters in Aibonito,

                Puerto Rico and is a subsidiary of Pilgrim’s Pride Corporation. During the Relevant

                Time Period, To-Rico’s Ltd. produced and processed poultry products, including

                Broilers, for sale in interstate commerce, directly or through its wholly owned or

                controlled affiliates,4 to purchasers in the United States.



4
    On information and belief these affiliates may include To-Rico’s Distribution Ltd.

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J. Foster Farms

i.    Foster International Trading Company, Inc. is a corporation affiliated with Foster

      Farms, LLC and/or Foster Poultry Farms. During the Relevant Time Period, Foster

      International Trading Company, Inc. sold Broilers in interstate commerce, directly

      or through its wholly-owned or controlled affiliates, to purchasers in the United

      States.

ii.    Napoleon Poultry Supply, LLC is a Delaware limited liability company with its

      headquarters in Livingston, California and is a wholly-owned subsidiary of Foster

      Farms, LLC. During the Relevant Time Period, Napoleon Poultry Supply, LLC

      sold Broilers in interstate commerce, directly or through its wholly-owned or

      controlled affiliates, to purchasers in the United States.

K. OK Foods

i.    O.K. Broiler Farms Limited Partnership was (presently dissolved) an Arkansas

      limited partnership with its headquarters in Fort Smith, Arkansas and is a wholly-

      owned subsidiary of O.K. Foods, Inc. During the Relevant Time Period, O.K.

      Broiler Farms Limited Partnership sold Broilers in interstate commerce, directly or

      through its wholly owned or controlled affiliates, to purchasers in the United States.

L. House of Raeford

i.    House of Raeford Farms of Louisiana, LLC is a Louisiana limited liability company

      with its headquarters in Shreveport, Louisiana and is a wholly-owned subsidiary of

      House of Raeford Farms, Inc. During the Relevant Time Period, House of Raeford

      Farms of Louisiana, LLC sold Broilers in interstate commerce, directly or through

      its wholly owned or controlled affiliates, to purchasers in the United States.



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       ii.     Johnson Breeders, Inc. is a North Carolina corporation with its headquarters in Rose

               Hill, North Carolina and is a wholly-owned subsidiary of House of Raeford Farms,

               Inc. During the Relevant Time Period, Johnson Breeders, Inc. sold Broilers in

               interstate commerce, directly or through its wholly-owned or controlled affiliates,

               to purchasers in the United States.

       iii.    Columbia Farms of Georgia, Inc. is a South Carolina corporation with its

               headquarters in Lavonia, Georgia and is a wholly-owned subsidiary of House of

               Raeford Farms, Inc. During the Relevant Time Period, Columbia Farms of Georgia,

               Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

               controlled affiliates, to purchasers in the United States.

       iv.     Raeford Farms of Louisiana, LLC is a Louisiana limited liability company with its

               headquarters in Arcadia, Louisiana and is a wholly-owned subsidiary of House of

               Raeford Farms, Inc. During the Relevant Time Period, Raeford Farms of Louisiana,

               LLC sold Broilers in interstate commerce, directly or through its wholly-owned or

               controlled affiliates, to purchasers in the United States.

       v.      Columbia Farms, Inc. is a South Carolina corporation with its headquarters in

               Columbia, South Carolina and is a wholly-owned subsidiary of House of Raeford

               Farms, Inc. During the Relevant Time Period, Columbia Farms, Inc. sold Broilers

               in interstate commerce, directly or through its wholly-owned or controlled

               affiliates, to purchasers in the United States.

   102.         When appropriate in the context, Keystone Foods, Allen Harim, and the

subsidiaries and affiliates identified immediately above for certain Defendant families, are referred

to collectively in this Complaint as the “Producer Co-Conspirators.”



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   103.        Various other persons, firms, and corporations not named as defendants have

participated as co-conspirators with Defendants and have performed acts and made statements in

furtherance of the conspiracy. The Defendants are jointly and severally liable for the acts of their

co-conspirators whether or not named as defendants in this Complaint.

   104.        Whenever reference is made to any act of any corporation, the allegation means

that the corporation engaged in the act by or through its officers, directors, agents, employees or

representatives while they were actively engaged in the management, direction, control, or

transaction of the corporation’s business or affairs.

   105.        Each of the Defendants named herein acted as the agent or joint-venturer of or for

the other Defendants with respect to the acts, violations and common course of conduct alleged

herein.

   106.        Defendants are also liable for acts done in furtherance of the alleged conspiracy by

companies they acquired through mergers and acquisitions.

                             IV.     JURISDICTION AND VENUE

   107.        This action is instituted under Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§15(a) and 26, to recover treble damages and the costs of this suit, including reasonable attorneys’

fees, against Defendants for the injuries sustained by Plaintiff by virtue of Defendants’ violations

of Section 1 of the Sherman Act, 15 U.S.C. §1, and to enjoin further violations.

   108.        Defendants are amendable to service of process under Fed. R. Civ. P. 4(k)(1)(A)

and the Commonwealth of Puerto Rico’s long-arm statute, at set forth in Rule 4.7 of the Puerto

Rico Rules of Civil Procedure, because each Defendant has transacted business in this state and

because the Commonwealth of Puerto Rico’s long-arm statute extends jurisdiction to the limits of




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Due Process, and each Defendant has sufficient minimum contacts with the Commonwealth of

Puerto Rico to satisfy Due Process.

   109.        This Court has personal jurisdiction over each Defendant because, inter alia, each

Defendant: (a) transacted business throughout the United States, including in this District; (b)

manufactured, sold, shipped, and/or delivered substantial quantities of Broilers throughout the

United States, including this District; (c) had substantial contacts with the United States, including

this District; and/or (d) engaged in an antitrust conspiracy that was directed at and had a direct,

foreseeable, and intended effect of causing injury to the business or property of persons residing

in, located in, or doing business throughout the United States, including this District.

   110.        Further, this Court also has personal jurisdiction over the Defendant because each

of them knew, or should have known, that because the Georgia Dock index price was used to price

chicken sold in the Commonwealth of Puerto Rico and nationwide, their participation in the

collusive manipulation of the Georgia Dock would have effects on the price of chicken purchased

in the Commonwealth of Puerto Rico based on the Georgia Dock benchmark. The alleged scheme

and conspiracy have been directed at, and had the intended effect of, causing injury to persons and

entities residing in, located in, or doing business in the Commonwealth of Puerto Rico.

   111.        This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337(a), 1407

and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§15 and 26. Venue is appropriate in this

District under Sections 4, 12, and 16 of the Clayton Act, 15 U.S.C. §§15, 22 and 26 and 28 U.S.C.

§1391(b), (c) and (d), because one or more Defendants resided or transacted business in this

District, is licensed to do business or is doing business in this District, and because a substantial

portion of the affected interstate commerce described herein was carried out in this District.




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    112.          The activities of the Defendants and all co-conspirators, as described herein, were

within the flow of, were intended to, and did have direct, substantial and reasonably foreseeable

effects on the foreign and interstate commerce of the United States, including commerce within

this District.

                                      V.       TRADE AND COMMERCE

    113.          During the Relevant Time Period, each Defendant, directly or through its

subsidiaries or other affiliates, sold Broilers in the United States in a continuous and uninterrupted

flow of interstate commerce and foreign commerce, including through and into this judicial

district.

    114.          During the Relevant Time Period, Defendants collectively controlled a majority of

the market for Broilers in the United States.

    115.          Defendants’ business activities substantially affected interstate trade and commerce

in the United States and caused antitrust injury in the United States, including within the

Commonwealth of Puerto Rico.

                                      VI.      FACTUAL ALLEGATIONS

    A. Background on Broilers.

         1. “Broilers”

    116.          As used in this Complaint, “Broilers” are chickens raised for meat consumption to

be slaughtered before the age of 13 weeks5, and which may be sold in a variety of forms, including

fresh or frozen, raw or cooked, whole or in parts, or as a meat ingredient in a value added product,




    5
      On January 1, 2014, the USDA’s Food Safety and Inspection Service (“FSIS”) implemented a final rule lowering
the age definitions for Broilers/fryers from 13 weeks to the current 10 weeks. See 9 C.F.R. 381.170 (2014) (also noting
that “FSIS is not establishing separate definitions for ‘Broiler’ and ‘fryer’ chickens in this final rule”).

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but excluding chicken that is grown, processed, and sold according to halal, kosher, free range, or

organic standards.

       2. Broilers are a Commodity.

   117.        Defendants acknowledge that Broilers are a commodity. For instance, Pilgrim’s

CEO commented in February 2014 that “I would add too, our business…the [Broiler] chicken

business per se is a commodity business.” The commodity nature of chicken is evidenced by the

fact that, as detailed below, numerous Broiler producers have during the relevant time period

purchased chicken from each other (then likely resold it) to buttress their conspiracy by soaking

up excess supply in the market.

   118.        Typically, when a product is characterized as a commodity, competition is based

principally on price – as opposed to other attributes, such as product quality of customer service.

Chicken producers pay USDA graders to examine their chickens, and almost all companies sell

USDA Grade A chicken, meaning that there is very little differentiation among sellers. According

to a 2012 report by Focus Management Group, Broilers “are a commodity product with little or no

product differentiation based on the processors.”

   119.        Due to the lack of differentiation, chicken producers are forced to compete on price

(absent collusion) such that the supply decisions of each chicken producer impact the market price

for chickens. The commodity nature of the product in the chicken industry makes it easier to

implement a price-fixing scheme and provides industry players with the incentive to agree to

reduce overall supply.      During the relevant period, Defendants and their co-conspirators

collectively controlled nearly 90% of the market for chicken in the United States. The chicken

industry is almost entirely vertically integrated, with producers (sometimes known as integrators”)

owning, or tightly controlling, each of the six stages of the supply chain: breeding, hatching, chick-



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rearing/feeding, slaughtering mature birds, processing, and selling. At the top of the supply chain

are “breeder flocks,” which include the hens that lay the eggs that, when hatched, become chickens

slaughtered for meat consumption.

         3. The United States Broiler Market is a National Market Worth Tens of Billions of
            Dollars Annually.

   120.           According to the U.S. Poultry & Egg Association, the value of wholesale U.S.

Broilers produced in 2014 was $32.7 billion, up 6 percent from 2013. The market value varied

between $21.8 and $30.7 billion from 2008-2013. There is a single national market for Broilers in

the United States. Prices for Broilers sold in the United States are quoted in whole bird or

disassembled parts, with adjustments for transportation, product form (i.e., degree of processing

or added value), and packaging at the time of sale.

   121.           About 50-70% of Broilers are sold under contract with a customer, about 10-

20%are sold on the spot market, and roughly 17-20% are exported.

   122.           According to expert testimony in July 2011 in Adams v. Pilgrim’s Pride,6 spot

market Broilers are “anything left over [that is] sold fresh” within 3 days. Broiler industry

executives sometimes refer to the Broiler spot market as the “sell it or smell it market,” meaning

that if the Broiler isn’t sold within 3 days, then it will rot. According to Janette Barnard, founder

of a spot market trading platform called The Poultry Exchange, “there are no secrets in the spot

market, very few anyway. As soon as a sales manager picks up the phone and calls a customer or

trader, the word is out, and other people will soon know that X company has one load available.”

   123.           Exports of Broilers from the United States account for approximately 45% of all

United States meat exports. Broilers produced in the U.S. are exported to well over 100 different

countries, with the major export markets including Mexico, Canada, Hong Kong, and China. Some


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of the exports from the United States include products less desirable to United States consumers,

such as chicken feet or dark meat, but exports also increasingly include white meats and other

products widely consumed in the United States.

    124.         Exports of Broilers from the United States have increased since 2007 both in

quantity and value. Before the Relevant Time Period, in 2006 exports constituted only 14.8% of

U.S. exports and increased to 16.5% by 2007. But between 2008-2014 export levels were never

lower than 18.5% of U.S. production levels, dropping down to 16% in 2015 due to export bans by

countries due to Avian Flu concerns.

    125.         While this complaint does not seek damages for Broilers sold into export

commerce, Broilers exported from the United States decrease available supply and increase Broiler

prices in the United States. Therefore, exports by Defendants were an important mechanism used

by Defendants to effect their United States-based Broiler market conspiracy.

    126.         The prices for certain of Defendants’ chicken sales depended in large part on

benchmark price indices, including the Georgia Dock whole-bird price, which was one of three

benchmark price indices used by chicken buyers as a benchmark until early 2017

    127.         Defendants’ conduct, as described in this Complaint, was within the flow of,

intended to, and did have a substantial effect on, the interstate commerce of the U.S., including in

this District.

    128.         During the relevant period, Defendants produced, sold and shipped chicken in a

continuous and uninterrupted flow of interstate commerce. The conspiracy in which Defendants

participated had a direct, substantial, and reasonably foreseeable effect on interstate commerce,

including commerce in the Commonwealth of Puerto Rico.




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   129.        During the relevant period, each Defendant, or one or more of its affiliates, used

the instrumentalities of interstate commerce to join or effectuate their conspiracy.

       4. Broiler Prices Have Risen Steadily Since 2008.

   130.        Defendants and their co-conspirators’ collective output-restriction scheme caused

a significant slowing in overall chicken production during the conspiracy, bucking the historic

trend of steady annual production increases. The overall effect is shown in the graph below, drawn

from USDA data, showing that while chicken production grew a total of 21% from 2000 to 2008

(an average of 2.3% per year, proof that the “3% more broilers” refrain is more than anecdotal),

but then slowed to a total of roughly 10% from 2008 through 2016 (an average of slightly more

than 1% per year) – a significant decrease in the pace, timing, and manner of chicken production

during the conspiracy period:




   131.        Broiler prices were significantly elevated during the Relevant Time Period due to

Defendants’ conduct. This is contrary to pricing patterns prior to the Relevant Time Period, and

contrary to what would be expected in a competitive market. For instance, during much of the

Great Recession, Broiler prices steadily rose despite flat or declining input costs. Similarly, Broiler


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prices during the 2015 through 2016 time period remained artificially inflated and failed to account

for the historic drop in corn and soybean prices, which constitute 50-70% of Broiler input costs.




   132.         As of November 2013, a Bloomberg News compilation of industry analyst forecasts

predicted Broiler prices would drop 7.1% in 2014 due to a 50% fall in corn prices, but instead,

Broiler prices increased 9.2%. Since January 1, 2008, by one measure Broiler prices have been at

or near all-time highs roughly half of the time, even though the 2008-2009 period was during the

Great Recession.

       5. Overview of the Georgia Dock, USDA Composite, Urner Barry, and EMI Broiler
          price indices.

   133.         Broiler prices are reported primarily by three entities: Urner Barry, the Georgia

Department of Agriculture (aka “Georgia Dock”), and the USDA. Additionally, as discussed

below, Agri Stats collects detailed pricing information through its subsidiary Express Markets,

Inc. (“EMI”).

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   134.        Urner Barry collects and publishes daily price information for Broilers, while for

the USDA’s Composite index, USDA collects and publishes Broiler price information on a weekly

basis. USDA’s Composite price index is publicly available for free. Urner Barry’s Broiler price

information is subscription-based, so all Broiler producers and many Broiler purchasers subscribe

for a fee. The USDA and Urner Barry’s Broiler price indices are based upon a system of double

verification, which includes telephonic and written surveys of all or nearly all Broiler producers,

but also verification of reported prices from Broiler purchasers such as brokers and customers. The

Georgia Dock price-survey methodology, which contrasts materially with those of the USDA and

Urner Barry, is discussed below in Section VI(B).

   135.        The most detailed price report is not publicly available and is produced by Agri

Stats and its subsidiary, Express Markets, Inc. According to a May 2010 FarmEcon study, EMI’s

pricing report3 includes “pricing data on whole birds and chicken parts that is considerably more

detailed than the USDA,” Urner Barry, or Georgia Dock reports, as it is based on actual sales

invoices from Broiler companies.

   136.        Published prices for Broilers from Urner Barry, Georgia Dock, and USDA relate to

the spot market for Broilers. However, prices for Broilers, whether sold under contract or on the

spot market, generally move with spot market prices as reported by Georgia Dock or Urner Barry.

   137.        Statements by Broiler company executives and industry experts confirm that

Broiler sales, whether by contract or on the spot market, are tied to spot market pricing. For

instance, Sanderson Farms CEO Joe Sanderson explained in a May 2008 speech that Sanderson

Farms’ contract sales to retail customers have prices tied to the Georgia Dock price survey and

Sanderson Farms’ contract sales to food distributors are “based on formulas tied to the Urner

Barry.” Similarly, expert economist Dr. Colin A. Carter from the University of California (Davis)



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testified that “internal Pilgrim’s documents show that virtually all chicken products, even if they’re

not sold spot, are tied to the spot prices. . . . 83 percent of Pilgrim’s chicken sales are reflecting the

spot price within a given year. So there’s only about 16 percent of their sales that are not tied to

the spot market over a relatively short period of time.” Further, because half of “fixed contracts”

actually had terms tied to Broiler spot market prices, Dr. Carter concluded that 92% of Pilgrim’s

Broiler sales were tied to Broiler spot market prices such as Georgia Dock.

    138.        As a consequence of the inelasticity of supply and demand in the Broiler industry

(discussed below) and the availability of the spot market price indices (discussed above), public

price increase announcements by Defendants were unnecessary. Defendants knew and intended

that a decrease in supply pursuant to their agreement would increase Broiler spot market prices,

and therefore that all Broiler prices would increase.

    B. The Georgia Dock Price Index is Extremely Susceptible to Collusion. Certain
       Defendants Have Used it to Further their Conspiracy.

    139.        The Georgia Dock price is compiled on a weekly basis by the GDA. For decades,

it has been used by producers and others as a benchmark to set Broiler prices. Until very recently,

little if any information was publicly available regarding how the GDA compiles the Georgia Dock

price. In fact, Defendants intentionally disseminated misinformation that the Georgia Dock price

is derived through a complex algorithm and is an accurate and reliable measure of actual Broiler

transaction prices. Public revelations in early November 2016, however, indicated for the first time

that the Georgia Dock price index not only may be unreliable, but that its survey methodology

makes it susceptible to manipulation by Broiler producers.

    140.        To compile the Georgia Dock price index, according to an internal GDA document

provided recently to the New York Times through an open records request, “each participating

[Broiler producer] company is called [by the GDA] on Wednesday every week to report the price

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offered to companies in which they have contracts in place with.” A single price is given by each

Broiler producer company and it is accepted without any verification of actual invoices, double

verification with purchasers, or any other form of auditing to verify accuracy. Remarkably, in

response to a recent press inquiry, the GDA justified its failure to audit any self-reported data from

Defendants by stating, “We don’t see any reason they would submit information that wasn’t

truthful.”

    141.       Despite the GDA’s public statements about confidence in the Georgia Dock price

index, the GDA employee who collected prices each week from Broiler companies, Arty Schronce,

was deeply concerned. In a 2016 internal GDA memorandum (hereinafter, “2016 Schronce

Memorandum”) disclosed publicly for the first time on November 17, 2016, in a Washington Post

article, Mr. Schronce wrote that he “continue[d] to have concerns about” the Georgia Dock, had

“voiced concerns in the past,” and that he thought the Georgia Dock price index was “a flawed

product that is a liability to the Georgia Department of Agriculture.” Mr. Schronce also noted, “I

was told that poultry companies know what they are doing and all I need to do is to gather and

consolidate the info I am provided. However, I have come to question the validity of some of the

information provided.” Mr. Schronce also reported that the Broiler companies reporting prices to

him gave “lackadaisical and rude responses to my requests for information,” such as responding

“just keep em’ the same” when asked for a company’s updated Broiler price.

    142.       The Broiler companies that participated in the Georgia Dock price survey during

the relevant time period all own at least one Broiler processing facility located within the State of

Georgia. They included Defendants Pilgrim’s, Tyson, Fieldale Farms, Perdue, Sanderson Farms,

Koch Foods, and Wayne Farms, Claxton Poultry, Mar-Jac Poultry, and Harrison Poultry.

According to the GDA, each weekly price report from these Broiler producers is weighted to



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account for the particular company’s market share of Broilers processed in Georgia (referred to by

GDA as that company’s “voice”). A preliminary calculation is made based on the single price

quotation from each company, then “[a]ny company that provides a whole bird quote that is more

than one cent above or below the initial dock price calculation will not be included in the

calculation for the whole bird dock price that week. Its voice is taken out of the formula and the

dock price is recalculated without it” (hereinafter, the “One Cent Rule”). According to internal

GDA documents, the One Cent Rule is meant “to shield [] one company having the ability to

greatly influence the price up or down.”

    143.         The price quoted by each company to the GDA is based on 2.5-to-3 pound whole

Broilers, but only a handful of companies who report to GDA actually process 2.5-to-3 pound

birds in Georgia, so internal GDA documents state that Broiler companies “are supposed to adjust

their whole bird quote as if they are producing that sized bird.” Once the final Georgia Dock whole

bird price is calculated, then the GDA uses a formula to calculate prices for different Broiler cuts

and parts of those whole birds, but that calculation is based entirely on the single original price

that each Broiler company provided to the GDA each Wednesday.

    144.         Historically, the Georgia Dock price was roughly comparable to the prices reflected

by the Urner Barry, EMI, and USDA Composite indices. However, beginning around January

2015, the Georgia Dock price began to depart significantly from the pricing reflected by the EMI,

Urner Barry, and USDA Composite indices.

    145.         The Georgia Dock, USDA Composite, and Urner Barry all measure the same (or

very similar) size and grade of chicken.7 The Georgia Dock benchmark price index, like the other



    7
       Unlike the other indices, the Georgia Dock benchmark price did not include freight or transportation costs. At
its inception, the Georgia Dock benchmark price was known as the “Georgia F.O.B. Dock” price; the Georgia Dock
was “F.O.B.” the supplier’s shipping dock, meaning that the buyer was responsible for paying the freight.

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two indices, sets prices for both the “whole bird” and various parts of the chicken (wings, tenders,

leg quarters, thighs, drumsticks and breasts) using the same pricing methodology. The “whole

bird” price is the baseline for pricing all parts of a chicken.

    146.        Buyers, including Plaintiff, relied on the Georgia Dock benchmark price index

because they believed it accurately reflected the market price for the chicken they bought –

especially since the Georgia Dock was an industry-accepted benchmark price index for wholesale

chicken prices that was meant to reflect the market price of chicken.

    147.        Compares to the other two indices available to chicken buyers, there were

significant differences in how the Georgia Dock benchmark price index was compiled that made

it highly susceptible to manipulation by the Georgia Dock Conspirators, who are the ten chicken

producers that submitted price quotes to the GDA for inclusion in the index. The Georgia Dock

Conspirators are the ten producers whose price quotes went into the Georgia Dock index, namely

(ranked by their market share in Georgia, which dictated how much weighting each producer’s

quote was given in compiling the Georgia Dock benchmark price): Pilgrim’s Pride (33%); Tyson

(14%); Fieldale (14%); Perdue (9%); and Sanderson Farms, Koch, Claxton, Mar-Jac, Harrison and

Wayne Farms, each with a 5% market share.

    148.        The significant difference between the Georgia Dock price index and other Broiler

price indices in recent years cannot be explained by only one or two outlier companies reporting

artificially high Broiler prices to the GDA, as the One Cent Rule requires that outlier prices

deviating by more than one cent from the initial dock price be excluded from the final Georgia

Dock price. Instead, the deviation of the Georgia Dock price index from other indices – indices

that are themselves based on verified sales by Defendants – can only be attributed to all or nearly




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all participating Broiler producers collectively submitting artificially high and identical or very

nearly identical Broiler prices to the GDA.

   149.        The 2016 Schronce Memorandum confirms the significance of the One Cent Rule.

Mr. Schronce’s memorandum noted that after a January 2016 article about the Georgia Dock price

index in the Wall Street Journal, one “company appears to basically not take part in the Whole

Bird Dock Price process. They seem to deliberately submit a low bid that they know will be kicked

out. However, they can claim that they are submitting something lower. In essence, they can take

advantage of a high whole bird price while maintaining that they want it to be lower.”

   150.        To facilitate their control of the Georgia Dock price, Defendants convinced the

GDA to convene a secret “Georgia Dock Advisory Committee” composed of senior executives

from eight Defendants to advise the GDA on the Georgia Dock price. The Georgia Dock Advisory

Committee recently included Gus Arrendale (CEO, Fieldale Farms), Mike Welch (CEO &

President, Harrison Poultry), Jerry Lane (Former CEO, Claxton Poultry), Jayson Penn (EVP Sales

& Operations, Pilgrim’s), Pete Martin (VP of Operations, Mar-Jac), Vernon Owenby (Plant

Manager (Cumming, GA), Tyson), Steve Clever (VP of Fresh Sales, Wayne Farms), and Dale

Tolbert (VP of Sales, Koch Foods). Prior to November 10, 2016, the existence and conduct of this

secret Georgia Dock Advisory Committee was not known to Plaintiff. In his 2016 memorandum,

Mr. Schronce wrote “I have questions about the ‘Advisory Board’ and its role over an office of a

state regulatory agency that is supposed to be independent. I was told I could not make any changes

without clearing them with the Advisory Board.”

   151.        USDA publishes a weekly report on poultry production and prices called the Broiler

Market News Report (“USDA BMNR”), which until very recently included a reprint of the GDA’s

separately compiled Georgia Dock price. According to the November 17, 2016, Washington Post



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article, the GDA stated that “a review process began in December 2015 after ‘serious concerns’

emerged” with the Georgia Dock price. Sometime in the first half of 2016, the USDA began

investigating how the Georgia Dock price survey was conducted. The GDA’s internal review was

not made public at the time it began and was not revealed until it was described in a series of press

reports beginning in November 2016.

   152.        On July 19–20, 2016, high-level USDA officials met with GDA representatives in

Atlanta, Georgia to discuss the Georgia Dock price. The USDA officials shared their conclusion

that GDA could no longer simply accept Broiler prices from Defendants without verification, and

instead would have to verify invoice-level data to confirm reported prices. On July 2021, 2016,

USDA officials requested that the GDA provide the USDA with data from Broiler producers to

“test and review” the Georgia Dock price for accuracy.

   153.        On July 22, 2016 USDA’s weekly BMNR publication noted that beginning on

August 5, 2016, GDA “will be issuing a new weekly market report for negotiated Georgia

broiler/fryer whole birds and bird parts, which will replace the current [Georgia Dock price].” The

GDA did not comply with USDA’s August 5 deadline, however, and in the August 5 USDA

BMNR all price information from the GDA and Georgia Dock was removed and only a hyperlink

to the GDA’s website was included.

   154.        During the weeks after the July 19–20 meeting with the USDA, the GDA

coordinated closely with Defendants and the Georgia Poultry Federation—the Broiler industry’s

representative—to determine how to deal with the USDA’s inquiry into the Georgia Dock price.

Within the GDA, high-level officials began to raise antitrust concerns regarding the Georgia Dock.

For instance, a July 27, 2016, report from GDA Director of Regulatory Compliance & Budget

Alec Asbridge to GDA Commissioner Gary Black concluded that “[t]he top 10 poultry producing



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companies now control over 80% of the industry output. The combination of vertical integration,

limited competition and lowered production periods has led to steady prices that have shown to be

fairly resistant to changing market conditions. These factors alone illicit [sic] anti-trust review.”

   155.        GDA Director Asbridge’s July 27, 2016, report also noted that over time, the GDA

became a vehicle for Defendants to “report[] a weighted average price per pound on broilers

[Georgia Dock price] based off of contracts that have been determined at the private level and

reported without regulatory oversight. The formulas to calculate weighted average prices have

been determined on the private level and have not been standardized since the inception of the

[GDA Poultry Market News division] in 1968, which there is no written record of.” (emphasis

added). In other words, it was Defendants themselves who wrote the rules and formulas that make

up the Georgia Dock price, not the GDA.

   156.        Director Asbridge’s July 27, 2016, report also concluded that “[t]he extent of the

use of the [Georgia Dock price] in contract negotiations is presently unknown but inquiries made

by media and other governmental entities indicate that it is utilized on a more regular basis than

previously expected.” (emphasis added). In short, the GDA had been publishing the Georgia Dock

price for decades, but until the last few months, apparently did not know the scope of reliance on

the Georgia Dock price. Notably, a revised and highly sanitized version of the July 27, 2016 report

from Director Asbridge to GDA Commissioner Black was circulated internally at GDA on August

5, 2016. The sanitized August 5 report removed references to the existence of factors in the Broiler

industry eliciting “antitrust review” and to the fact that the Georgia Dock price was reported for

decades by GDA “without regulatory oversight.”

   157.        On August 12, 2016, GDA Director Asbridge provided Georgia Poultry Federation

President Mike Giles with the sanitized version of the report and asked Giles to review it before



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the GDA sent it to the USDA, “to ensure what I presented is accurate and best represents industry’s

concern with only reporting a spot price.” As noted elsewhere in this Complaint, the Georgia

Poultry Federation represents the poultry industry in Georgia, and most Defendants are members.

Remarkably, the GDA also noted in a separate email the same day to Giles and the Georgia Poultry

Federation that “[t]he GDA is in agreement with the poultry industry that there is no desire to

review invoices for verification of data reported,” even though the information and means to do so

are readily at hand—Defendants and their co-conspirators already report such invoice information

to Agri Stats on a daily basis. According to a subsequent email dated August 24, 2016, Georgia

Poultry Federation President Giles called GDA Director Asbridge back and gave “his and

industry’s sign off on the dock price summary report. We can move forward with sending to

USDA.” GDA Director Asbridge also proposed another meeting between GDA and the Georgia

Poultry Federation to discuss recommendations about verifying Georgia Dock data.

   158.        On October 6, 2016, a USDA press release noted the expansion of its National

Whole Broiler/Fryer report, which included new weekly price information regarding 2.5-to-3

pound Broilers that replaced the same weight Broiler previously reported by the Georgia Dock

price. Importantly, the new USDA price roughly matched the Urner Barry price, suggesting that

the Georgia Dock price continues to be subject to manipulation by Defendants and does not reflect

actual market prices.

   159.        In an email dated October 7, 2016, a GDA official reported to the USDA that it had

not determined how to proceed with new verification procedures for the Georgia Dock price, as it

was “cultivating multiple opinions on usefulness as well as playing with various algorithms.”

   160.        On November 3, 2016, the New York Times published the first account of the

USDA’s inquiry into the Georgia Dock, based on information received via Freedom of Information



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Act and open records requests for internal USDA and GDA documents. Subsequently, a November

8, 2016, article by the Washington Post provided additional detail on the inquiry, including a

comment from the USDA that “they discontinued publishing the Georgia Dock price ‘when data

from the source report could not be independently verified.’” In the Washington Post article,

Sanderson Farms CFO Mike Cockrell was quoted as saying “the Georgia Dock has come to be a

trusted reflection of the supply and demand for retail stores.” In a press release cited in a

Bloomberg News article on November 17, 2016, Tyson stated that “[w]hen the Georgia

Department of Agriculture asks us for pricing data, we provide accurate information based on

actual and recent transactions.” Sanderson Farms’ and Tyson’s continued defense of the Georgia

Dock price index as one that customers should trust shows that Defendants continue their efforts

to conceal the conspiracy alleged in this Complaint.

   C. Agri Stats Conspired to Act as a Vehicle for Collusion, and to Facilitate the
      Monitoring, Adoption, and Enforcement of Defendants’ Conspiracy.

   161.        Agri Stats consciously committed to a common scheme to restrain and stabilize the

price and supply of Broilers. Agri Stats operated not just as a central clearing house for the Broiler

conspirators, but also purposefully collected and re-circulated the Producer Defendants’

competitively-sensitive data in a form (approved by Defendants) easily disaggregated by Producer

Defendants and their respective plants.

   162.         The Producer Defendants then used this information to reach agreement on supply

constraints to fix or raise prices, and Agri Stats and the Producer Defendants used this information

to enforce the agreement among competitors. Agri Stats thus knowingly provided, and Defendants

and their co-conspirator producers used Agri Stats as, both a method to collude and a mechanism

by which to enforce the conspiracy.




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   163.        According to a May 2010 study prepared for the National Chicken Council

(“NCC”), Defendant Agri Stats, Inc. is a private company that generates Broiler industry data

“considerably more detailed than [] USDA reports,” including data on weighted average price,

top-third average, bottom-third average, and volume traded on a daily, weekly, and monthly basis,

and supply, sales volume by detailed product type and form, export, and pricing information for

whole and cut-up Broilers.8 The USDA and various other entities publish aggregated weekly,

monthly, and annual supply and pricing information concerning the Broiler industry. But only Agri

Stats provides Defendants and other producers information with sufficient detail for an informed

subscriber to determine with reasonable accuracy producer-specific production, cost, and general

efficiency data. Agri Stats also collects from and reports back to Defendants and their Producer

Co-Conspirators detailed statistics on almost every conceivable operating metric within the

industry.

   164.        Every Producer Defendant and Producer Co-Conspirator included in this complaint

is known to participate in Agri Stats and provides and receives the detailed information described

in this complaint. Additionally, certain entities acquired by Defendants have previously

participated in Agri Stats, including Cagle’s, Inc., BC Natural Chicken, Peterson Farms, and

Townsend’s.

   165.        Agri Stats has profited from collecting and reporting the Producer Defendants’ and

Producer Co-Conspirators’ confidential business information, including by charging substantial

fees of hundreds of thousands of dollars annually to each Defendant and Producer Co-Conspirator.

Around March 2014, Agri Stats was acquired by the Eli Lilly Company, which has enabled Eli



   8
      Because Agri Stats reports are not publicly available, Plaintiff’s allegations regarding Agri
Stats and its reports are upon information and belief, except as to the public statements alleged
herein.
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Lilly to sell drugs and vaccines to Broiler producers based on the information Eli Lilly obtains

through Agri Stats about producers’ operations.

   166.        According to former Pilgrim’s CEO Don Jackson, Agri Stats is “basically a [] third

party accounting firm that companies [use] in their process.” Agri Stats claims its mission is to

“[i]mprove the bottom line profitability for our participants by providing accurate and timely

comparative data while preserving confidentiality of individual companies.” Further, Agri Stats

claims to maintain the confidentiality and anonymity of individual companies’ data by giving each

company a report identifying only that company’s specific chicken complexes by name, but not

identifying by name other chicken producers’ complexes described in the report, but rather, listing

competitors’ complexes by number.

   167.        Agri Stats describes itself as a “benchmarking” service, which it says “allows

organizations to develop plans on how to adopt best practice, usually with the aim of increasing

some aspect of performance.”

   168.        According to an expert witness for Pilgrim’s in contract-farmer litigation against

Pilgrim’s, “[p]robably no one in the industry would know better than [Agri Stats economist] Mike

Donahue [as to whether Broiler production increased in 2008] because EMI is the same company

as AgriStats, which is the company that gathers operating statistics from virtually every company

in the chicken industry. And they know definitively how many breeders are out there, how many

pullets are out there, how many broilers are produced every week, and head count and pounds,

everything else. They have massive amounts of statistics. And that’s why they’re so effective at

reporting all of this [production information].”

   169.        Upon information and belief, in the wake of a $1.3 billion jury verdict in 2004

against Tyson for a conspiracy to manipulate pay to cattle farmers, increased fears of antitrust



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liability led Tyson to withdraw from Agri Stats. However, in or around January 2008, Tyson

resumed its participation in Agri Stats.

    170.        Upon information and belief, certain Agri Stats reports list complex-level data for

roughly 120 Broiler complexes and identify each complex with unique numbers, including

identifying the sub-region of the data for each Broiler complex, for each chicken complex, with

the cover pages of each sub-regional report identifying by name the companies whose complexes

are covered in the report itself. Specific complexes are easily identifiable from their codes. Agri

Stats’ coding system made it easy for Defendants and their co-conspirators’ employees – some of

whom included senior executives at both Wayne Farms and Pilgrim’s who used to work at Agri

Stats – to decipher production, feed, sales, and other competitively-sensitive metrics for their

competitors’ facilities.

    171.        In fact, Agri Stats’ coding system, coupled with the insular nature of an industry

where “everybody knowns everybody,” allows for Defendants and their co-conspirators’

employees to identify individual producers’ data by eyeballing the rows in any Agri Stats report.

The coding system has never changed (e.g., the Tyson complex in Cummings, Georgia has always

been identified as complex 222), meaning that once a Defendant deciphered the numeric code for

a given competitor’s complex, that Defendant had the ability to know their competitor’s data

indefinitely.

    172.        Agri Stats purports to maintain the confidentiality and anonymity of individual

companies’ data by providing each company a report identifying only that company’s specific

Broiler complexes by name, but not identifying by name other Broiler producers’ complexes

described in the report. For instance, in May 2008 Sanderson Farms CEO Joe Sanderson claimed

“[w]e use Agri Stats, which some of you are probably familiar with. Agri Stats is a benchmarking



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service that we submit data to. Almost everyone in our industry does as well. And we get the data

back. It’s anonymous – the data is anonymous, so we don’t know whose numbers the numbers

belong to, but we can see performance indicators all over the industry.”

   173.         However, upon information and belief, Agri Stats reports are so detailed that a

reasonably informed producer can discern the identity of competitors’ individual Broiler

complexes, and it is common knowledge among producers that others can do so. For example, the

specific type or size of a Broiler house, breed of chick, average bird size, and production levels

listed in Agri Stats data for complexes allows an industry insider to identify each Defendant’s

individual Broiler complexes. Some Defendants refer to the task of determining the identity of

individual competitor’s data as “reverse engineering.”

   174.        Agri Stats reported information from so few producers, that certain regions clearly

revealed the identity of participants. For example, on information and belief, the Pacific Northwest

region of Agri Stats’ reports (Region 10) is composed solely of Defendant Foster Farms’ three

complexes.

   175.        Agri Stats plays a significant role in Defendants’ signaling practices, coordination,

and policing efforts. The specific type or size of breeder flock housing, breed of chick, average

bird size, and production levels listed in Agri Stats data for Defendants’ complexes allows any

given Defendant to “reverse-engineer” and interpret the public statements and other publicly-

available information about its competitors to determine which complexes are cutting back, and

by how much.

   176.         Each Producer Defendant and Producer Co-Conspirator receives numerous types

of Agri Stats reports, including separate targeted reports for each major area of operations,

including but not limited to its breeding, hatching, hauling, feeding, processing, selling, and



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administration, which are regularly shared with area managers specifically dealing with those

categories of information in their daily business. Summaries of these separate Agri Stats reports

are regularly provided to Producer Defendants’ and Producer Co-Conspirators’ senior executives.

Within each report, unique information referring to supposedly “anonymous” data permits the

Producer Defendants and Producer Co-Conspirators to identify their competitors’ information

contained within each category of report.

   177.         As the Supreme Court long ago held in American Column & Lumber Co. v. United

States,9 “[g]enuine competitors do not make daily, weekly and monthly reports of the minutest

details of their business to their rivals.” The Defendants and co-conspirators here violated these

very basic tenets. Broiler producers shared detailed information on a weekly basis with Agri Stats,

including product mix, feed information, and processing information. On a monthly basis, Broiler

producers shared payroll, bottom line, egg production, hatchery data, and information regarding

flocks sold. Moreover, information provided by survey participants was not historical (based on

data that was more than three months old). For example, one Processing Analysis report from Agri

Stats dated June 2014 contained contemporaneous information through June 2014.

   178.         While some of Producer Defendants’ and Producer Co-Conspirators’ managers

received the targeted reports for the specific aspects of Broiler operations for which they have

responsibility, only the CEO, CFO, and a few other top executives at Producer Defendants and

Producer Co-Conspirators are given access to Agri Stats’ monthly “Bottom Line Report” that is

geared to top-level executives at each company. The contents of the Bottom Line report are a

closely guarded secret by company executives. The report contains one row for each Broiler

company reporting to Agri Stats, then has columns for certain categories of information, such as



   9
       American Column & Lumber Co. v. United States, 257 U.S. 377 (1921).
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operating profit dollars, profit percentage, corporate SG&A (aka overhead), interest expense, and

other key operational information. For example, Agri Stats data on “Actual Live Production Cost,”

one of many important industry metrics listed in the Bottom Line Report, includes line-items for

each of the “sub-regions” (described above) that shows, for each particular sub-region, the

weighted average figures for “chick cost,” “grower cost,” “feed ingredient cost,” “[feed] mill

delivery cost,” and “vaccination and medical cost.”

   179.        Information helping Defendants to assess the size and age of breeder flocks is

available in the “Growth Rate Report” section of Agri Stats, which includes complex-by-complex

numbers showing the average age, in weeks (e.g., “63.22” or “51.76”) of the hens whose eggs,

when hatched, become the chickens later killed for meat consumption and supplied to Plaintiff and

other chicken buyers. The hens comprising the breeder flocks produce fertile eggs (at a rate of

roughly five per week) starting around 20 weeks of age, and are typically slaughtered at 65 weeks

of age, when breeder hens lose the ability to consistently lay fertile eggs. A breeder hen killed at

60 weeks lays 25 fewer eggs than a hen killed at 65 weeks, meaning that there are 25 fewer chicks

hatched and 25 fewer mature chickens available to Plaintiff and other chicken buyers.

   180.        The bird-age data from the “Growth Rate Report” shows how close a given breeder

flock is to the end of its egg-laying lifespan, giving Defendants insight into how much longer that

flock’s capacity to lay eggs will impact the supply of chickens available for slaughter further down

the supply chain. In addition, because the “Growth Rate Report” is available each month, knowing

the average age of a given flock from month to month can help determine when flocks are being

slaughtered and removed from the supply chain (e.g., if the average hen age drops from 4.00 weeks

after being at 48.00 weeks in the prior month’s “Growth Rate Report,” that is a clear indication a

breeder flock was slaughtered at 48 weeks).



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   181.        The “Actual Life Production Cost” section of an Agri Stats report also includes

(again, by sub-region), the average number and overall weight of the chickens being processed.

Other sections of Agri Stats reports include similar, sub-region data for a range of competitively

sensitive metrics, such as bird age and mortality, “chick cost per settled flock,” and “grower

expense.” Knowing the number of complexes each Defendant operates in each sub-region – which,

as detailed above, appear by name at the very beginning of the Agri Stats reports – any Defendant

can, with relative ease, assess the performance of all competing complexes in a sub-region on a

variety of important industry metrics.

   182.        While each company receives a report that only identifies by name that particular

company’s “row” in the Bottom Line Report, top executives at each company know their

competitors well enough to pick out recurring unique data points for other companies such that

they are often able to identify competitors on the Bottom Line Report. Furthermore, Tyson,

Pilgrim, and Sanderson are public companies which report some aggregated data publicly, which

top executives from other companies then can match up against the far more detailed information

in the Bottom Line Report to help identify specific data from these companies. In other instances,

a company’s interest-expense data in Agri Stats can be matched up against information already

known about each Producer Defendant’s and Producer Co-Conspirator’s debt level.

   183.        Even if a producer is unable to individually identify a specific competitor’s data

from the Bottom Line Report, Agri Stats’ employees are able to confirm for Producer Defendants

and Producer Co-Conspirators the data for a particular company at quarterly meetings with each

company or at the numerous trade-association meetings where Agri Stats executives present on a

regular basis. For instance, Agri Stats provided a service to its Producer Defendants whereby each

quarter Agri Stats would meet each Producer Defendant’s and Producer Co-Conspirator’s



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executives and make a detailed presentation about company and industry data. At these

presentations, Agri Stats would lead detailed discussions about industry profitability and the key

factors that contribute thereto, including items such as size and average age of Broiler breeder

flock, average hatchability of eggs, mortality rates, average bird rate, feed cost, and other

performance factors based on data Producer Defendants and Producer Co-Conspirators provided.

   184.         At these presentations, Agri Stats would also lead discussions about the overall

profit of the company and industry, including rankings of companies, overall industry average,

and top and bottom third of the industry. These meetings take place at both the production-plant

level, where Agri Stats personnel meet with Defendants; and Co-Conspirators’ complex managers,

and at the executive level, where Agri Stats personnel meet with the leadership of Defendants’

hatchery, breeder and feed departments. Agri Stats would also tell company executives how much

the industry was over- or undersupplying the market, indicate its estimate of demand, and share

other information based on the data Defendants provided. At such meetings, Agri Stats would

often be asked to confirm the identity of a particular competitor in an Agri Stats report, which it

could do more subtly during the Q&A portion of the meeting. Further, since Agri Stats travelled

between each Producer Defendant and Producer Co-Conspirator regularly and discussed each

Producer Defendant’s and Producer Co-Conspirator’s non-public, proprietary data, Agri Stats was

in a unique position to share information among its Producer Defendants and Producer Co-

Conspirators.

   185.         Agri Stats reports are not publicly available because Agri Stats, its Producer

Defendants, and Producer Co-Conspirators permit only participating Broiler producers to receive

the reports. Accordingly, there is little publicly available information about even the categories of

information contained in the lengthy weekly and monthly reports each Broiler producer receives.



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For instance, in response to a request for production of Agri Stats reports by the State of Oklahoma

in litigation involving environmental issues, George’s Inc. responded that Agri Stats “information

is proprietary, privileged and is also confidential business/financial information not subject to

disclosure.” Nevertheless, despite this response, the National Chicken Council has ready access to

Agri Stats data summaries and relies on them for its studies and publications.

   186.        Similarly, during the conspiracy, mid-level Tyson personnel working at complexes

in the Mid-Atlantic region were advised by their complex managers about competitors’ non-public

production information following quarterly meetings between the Tyson complex managers and

Agri Stats account managers. Upon information and belief, Agri Stats’ survey methodology

involves direct electronic data submissions on a daily, weekly, and monthly basis of financial,

production, capacity, cost, and numerous other categories of information by each Broiler producer.

At each of Defendants’ and Producer Co-Conspirators’ Broiler complexes, at least one employee

is responsible for submitting its data to Agri Stats. Agri Stats relies upon a detailed audit process

to verify the accuracy of data from each complex, sometimes directly contacting Producer

Defendants and Producer Co-Conspirators to verify data.

   187.        The USDA and various other entities publish aggregated weekly, monthly, and

annual supply and pricing information concerning the U.S. chicken industry. But only Agri Stats

receives from individual Defendants, and then provides to all other Defendants, detailed

information to accurately determine producer-specific production, costs, and general efficiency.

Agri Stats collects and aggregates chicken industry data considerably more detailed than any

similar types of available reports. While Agri Stats reports are a closely guarded secret by

Defendants and Producer Co-Conspirators, based on a handful of public comments by Defendants’

and Producer Co-Conspirators’ senior executives and other information, and after an extensive



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investigation, Plaintiff believes and alleges that Agri Stats reports include at a minimum the

following categories of information:

       A.      Name of genetics company used for primary breeder stock;

       B.      Hatchery capacity, and costs, including feed and housing expense, size, and age of

       Broiler breeder flocks;

       C.      Feed Manufacturing, Delivery, and Formulation data, including corn and soybean
               meal costs, which are two of Defendants’ most significant input costs;

       D.      Growout information for Broiler “flocks” provided to contract farmers, including
               the number of Broilers placed, chick mortality by week and overall percentage,
               chick cost, days between flocks provided to contract farmers (aka, “down time”),
               feed conversion rate (pounds of feed per pound of Broiler), average daily weight
               gain by chicks, live pounds produced per square foot of grower house, grower
               compensation, including average grower payment in cents per pound and cents per
               square foot, breed composition of flock (breed or cross-breed of flocks), detailed
               information on numerous mechanical aspects of Broiler housing, and numerous
               other detailed cost, mortality, and operational information about disease,
               transportation, labor, and other growout related information;

       E.      Slaughter, processing, and further processing information, including pay for
               processing plant workers, total production volume, market age of Broilers at
               slaughter, weight of Broilers at slaughter, birds per man hour, processing line
               speeds, and labor hours per pound;

       F.      Inventory levels of Broilers;

       G.      Sales data for finished product form and type, such as type of cut (whole bird, cut-
               up, deboned), various packaging forms (such as bulk, tray pack, etc.), and data
               segmented into various categories (such as exports, retail, foodservice, etc.); and

       H.      Financial information, such as monthly operating profit per live pound, sales per
               live pound, and cost per live pound.

   188.        Agri Stats collects data from Defendants, audits and verifies the data, and ultimately

reports back to Defendants and their Co-Conspirators, detailed statistics on nearly every operating

metric within the industry, including the size and age of breeder flocks. Agri Stats’ survey

methodology involved direct electronic data submissions from – and to – Defendants of financial,



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production, breeder flock size and age, capacity, cost, and numerous other categories of

information by each chicken producer on a weekly and monthly basis. At other categories of

information by each chicken producer on a weekly and monthly basis. At each of Defendants’

chicken complexes, certain employees, typically in the accounting department, are responsible for

submitting the data to Agri Stats once a week (historically, on Thursdays) using an AS400 data

link system. Agri Stats uses a detailed audit process to verify the accuracy of data from each

complex, often directly contacting Defendants to verify data before issuing reports to Agri Stats’

subscribers.

   189.        Agri Stats’ critical importance for a collusive production-restriction scheme in the

chicken market lies not only in the fact that it supplies data necessary to coordinate production

limitations and manipulate prices, but also in its market-stabilizing power. Price-fixing or output-

restriction conspiracies, regardless of industry, are subject to inherent instability in the absence of

policing mechanisms. This is because each individual member has the incentive to “cheat” other

conspiracy group members. They can do so, for example, by boosting chicken production to

capture higher prices even as other producers heed their conspiratorial duty to limit production.

This actually happened in the chicken industry, but only for a short period in 2010. And the

Defendants’ conspiracy temporarily faltered in that brief time period.

   190.        But Agri Stats knowingly participated in the producer Defendants’ efforts to

prevent such cheating. Agri Stats’ detailed statistics – coupled with its regular, in-person meeting

with each Defendant, and routine participation in trade association events widely attended by

Defendants’ senior executives – serve a monitoring function, allowing each member of

Defendants’ conspiracy to police each other’s production figures (which are trustworthy because

they have been audited and verified by Agri Stats’ team) for any signs of “cheating.”



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    191.      Agri Stats’ presentations to the Defendants were based in part on color-coded data

compilations, known as “books,” specifically tailored for each Defendant based on the data the

Defendant has submitted to Agri Stats. Agri Stats maintained at least six “books,” for each

Defendant: (1) the light-blue “Live” book, with information on the Defendant’s breeders, hatchery

feed and growout; (2) the red “Sales” book, with information on the Defendant’s current and year-

to-date sales; (3) the light-green “Production” book, with information on the Defendant’s yields;

(4) the brown “Profit” book, with information on the Defendant’s profits and losses; (5) the

mustard-yellow “Rendering” book, with information on the Defendant’s rendering facilities; and

(6) the “Bottom Line” book, with information on the totality of the Defendant’s sales, revenues

and costs.

    192.      Anyone at Agri Stats had the ability to pull one or more Defendant’s “books” and

relay that information to other Defendants. Indeed, Agri Stats has shipped copies of one

Defendant’s “books” to other Defendants on a number of occasions. Despite the impropriety and

illegality of this practice, when it was discovered following a routine review of shipping

information, no one at Agri Stats was held accountable nor were the “books” returned to Agri

Stats.

    193.      In addition to its in-person meetings with Defendants, Agri Stats employees,

including company Vice President Michael Donohue and account managers Paul Austin, Paul

Bunting and Dana Weatherford, regularly host, or present at, chicken industry events and investor

conferences, often citing Agri Stats data in discussing market, production, and demand trends in

the chicken industry. For example, Agri Stats holds events known as “poultry outlook conferences”

(as described below).




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   194.        Defendants and Producer Co-Conspirators rarely mention their “proprietary,

privileged, and confidential” exchange of information with one another through Agri Stats.

However, on a very small number of occasions, Broiler producers (primarily Sanderson Farms)

have referenced Agri Stats information on earnings calls or in public statements. For instance:

       A.      Sanderson Farms reported in May 2008 that “every year we review our operations
               and every facet within Agristats… we set operational goals every year . . . and [we]
               try to improve our operations within this benchmarking service we call Agristats.”

       B.      Sanderson Farms CEO Joe Sanderson commented on a December 2009 earnings
               call that “my judgment is that based on what I see in Agr[i] stats nobody is planning
               on, pullet placements say no ramp up and what I’ve gleaned from Agr[i] stats,
               people are not planning on ramping up. I see a lot of information from Agr[i] stats
               that tells me that nobody is going to ramp up.”

       C.      Sanderson Farms CEO Joe Sanderson commented in a May 2011 earnings call that
               “my judgment is that there will be some others that are going to have to make some
               adjustments that I believe cuts will be forthcoming in our industry based on the
               losses we see in Agri Stats.” Asked later on the call by an analyst why he had said
               on the call and a few months earlier that he “feel[s] confident that we are going to
               see cutbacks” based on Agri Stats data, Sanderson indicated “industry participants
               expected that [the market would improve in June and July] and I think they wanted
               to carry their production into June and July and see if the market would reward
               them for that it appears right now. . . . And then once you get past July 4 . . . I think
               then you will start seeing reduced egg sets. . . . Typically in my experience the first
               cut is not enough and you go back and look at 2008, I think the industry started
               cutting back maybe in June and that cut back was not enough and then they made
               another cut in the late fall and I believe the industry became profitable in January.”

       D.      At a May 19, 2010 BMO Conference, Tyson compared its operating profit per live
               pound statistic from Agri Stats against what it said were the total of 121 plants in
               the Agri Stats survey.

       E.      Tyson Foods noted in a December 2014 investor presentation that “[t]he point being
               is that when you talk about the chicken cycle, most people will look at the
               cyclicality. It’s very profitable right now. And we will not hit the top of the top,
               because within the profitability segmentation right now, the most profitable
               segments are in fact big bird, and secondly, tray pack. We can tell that through Agri
               Stats. Now at the same time, when there is more poultry available and the industry
               may not be as profitable, we would not expect to be anywhere close to what the
               bottom of that cycle would be.”




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   195.        Similar to its Producer Defendants and Producer Co-Conspirators, Agri Stats on

occasion refers to the secret exchange of information it facilitates among Defendants and Producer

Co-Conspirators. In many instances, Agri Stats has played the role of industry cheerleader rather

than industry benchmarking service, with Agri Stats suggesting specifically how much Broiler

production should be cut based on Agri Stats data.

       A.      In July 2012 trial testimony in a contract-former lawsuit against Pilgrim’s,
               testimony revealed that a November 2008 Agri Stats report “made statements to the
               effect that it thought the industry was 5-percent oversupplied . . . relative . . . to
               demand.”
       B.      Agri Stats holds regular “poultry outlook conferences” for meat-industry
               executives. For instance, Agri Stats hosted an April 23, 2015, conference in Atlanta,
               Georgia for which an agenda indicated a presentation by Agri Stats Vice President
               Sue Trudell would be provided concerning the “broiler market situation and
               outlook” and an analysis of feed and macroeconomic factors. Such presentations
               are restricted from circulation outside the invited participants in EMI’s poultry
               outlook conference and are not publicly available.

       C.      Defendant Sanderson Farms invites Agri Stats employees to present about the
               industry to Sanderson’s own investors, such as an October 18, 2013, presentation
               by Agri Stats Vice President Sue Trudell.

       D.      In January 2009, Agri Stats Vice President Mike Donohue commented that “We
               [i.e., Broiler producers] are an industry that is in demand . . . . We have a product
               that people want and continue to consume.”

       E.      Agri Stats subsidiary EMI also holds regular invitation-only “Analytics Web
               Conference” calls.

       F.      Agri Stats Vice President Donohue also frequently appears at industry events, such
               as the Spring 2011 IPE conference. Donohue provided comments as part of an
               annual “market intelligence” forum about various industry performance metrics.
               Additionally, Donohue’s co-panelist, Broiler industry insider Paul Aho, explicitly
               suggested “[t]he market is calling for around a 5% reduction in chicken production”
               in order for producers to achieve higher prices in 2011.

       G.      Donohue also authors articles for the Agri Stats publication EMI Vital Signs. For
               instance, the sole “sample” publication available on EMI’s website is a May 2013
               article in EMI Vital signs by Donohue, which analyzes whether Broiler producers
               could continue to achieve high profit levels. Donohue carefully analyzed Agri Stats
               data concerning pricing, inventory, and production levels, ultimately concluding
               “[w]hen supply and demand factors are in good shape the industry can get a good

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              return on investment and for the short and medium term it appears that there is
              certainly room for optimism in these factors.”

       H.     Donohue helps forecast supply and demand for the Broiler industry by using Agri
              Stats data on breeder placements and inventory. For instance, at the US Poultry &
              Egg Association’s Hatchery-Breeder Clinic in January 2012, Donohue noted that
              chicken breast prices were at a particularly high level and “[i]it’s not just cutbacks
              in production that have already occurred but seasonal demand later this year which
              may set the industry up for an even better first half of 2012,” he said. “I hope this
              carries over into the latter half of 2012 based on some of the production forecasts
              that can be made based on breeder placements and inventories.” Donohue also
              noted a concern that “if the industry chose to do so, it could ramp up production
              within a 10-week period of time. The industry could blow apart any recover[y] in
              the short term by filing up incubators again,” but noted that Agri Stats data indicates
              the industry is slaughtering breeder flocks at 59 to 60 weeks (instead of the typical
              65 weeks), which suggested to him the industry was managing its production
              carefully.


       196.   Below is a presentation by Dr. Steve Bolen, an executive with Cobb-Vantress, a

bird genetics company wholly owned by Tyson Foods, Inc. The following is a single Agri Stats

page made available by Dr. Bolen in a presentation:




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    197.        Each line in the above table is for a broiler production complex, which is a small

geographic area, with all production facilities typically located within a 50-mile radius of a broiler

company’s feed mill and processing plant. The above table is for a single month – March 2014.

The report provides the various yields of the lines of Defendants’ facilities for various cuts of meat

(breast, fillets and tenders). This table illustrates the incredible detail of the Agri Stats reports.

    198.        One Broiler industry expert testified in a contract-farmer case that the sharing of

information through Agri Stats by Broiler producers regarding pay for contract-farmers creates “a

potential vehicle for collusion” and presents a “classical antitrust concern.” This conclusion is

important because besides Agri Stats’ Co-Defendants, their agents, and their Producer Co-

Conspirators, only expert witnesses and court-approved advisors in a handful of previous litigation

have even seen an actual Agri Stats reports, but such individuals are expressly prohibited from

publicly releasing or discussing such reports by the terms of protective orders Defendants and

Producer Co-Conspirators require before producing Agri Stats reports in discovery. The same

expert also remarked that Agri Stats was unusual even among other price surveys, noting “[t]he

sharing of price and other market information by so-called competitors is well known as a

significant antitrust issue. Grower payout and cost information shared by most integrators is

incredibly detailed and comprehensive. As such it could provide critical data for competition

investigations and analyses of oligopoly and oligopolistic behavior far more complex and

advanced than available for any other agricultural industry. An intensive inquiry is needed.”

    199.        When given access to Agri Stats’ reports in connection with litigation where he

served as an expert witness, an agricultural economist who, to that point, had only “heard rumors

of a secretive poultry industry information-sharing service,” said that he “was shocked at the

incredible detail” of the information presented in the reports.



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    200.        A sworn declaration from a poultry and egg industry expert in Freedom of

Information Act litigation seeking disclosure of competitively-sensitive FDA egg-farm reports

states, with respect to Agri Stats, that:

       Individual disclosure is not required when industry participants are familiar enough with
       the industry to connect the information supplied with the individual companies at issue.
       My experience is that competitors… are prolific at quantifying their competitor’s business
       information on their own. For example, industry processors share commercial data through
       companies such as AGRISTATS (Fort Wayne, IN), a shared business database company
       … started for the poultry industry in 1985. AGRISTATS has the following mission
       statement: “IMPROVE THE BOTTOM LINE PROFITABILITY FOR OUR
       PARTICIPANTS BY PROVIDING ACCURATE AND TIMELY COMPARATIVE
       DATA WHILE PRESERVING THE CONFIDENTIALITY OF INDIVIDUAL
       COMPANIES.” Note the mission is to share competitive data while protecting individual
       companies. I can speak personally that I have seen and read these broiler industry reports,
       and, based on my familiarity with the industry, I can easily connect the information
       supplied with the individual companies whose confidentiality is supposedly preserved.
       Therefore, It is my opinion that virtually everyone in the industry can connect the
       information supplied in AGRISTATS with the individual companies who supplied the
       data.
    201.      A 2017 Bloomberg News article titles “Is the Chicken Industry Rigged? Inside Agri

Stats, the Poultry Business’s Secretive Info-Sharing Service,” highlighted the role Agri Stats plays

in Defendants’ efforts to monitor and police their conspiratorial activity:

        Peter Carstensen, a law professor at the University of Wisconsin and former Justice
        Department antitrust lawyer who has studied Agri Stats while researching the modern
        poultry industry, casts the level of plant-by-plant detail in the company’s reports as
        “unusual.” He explains that information-sharing services in other industries tend to deal in
        averaged-out aggregated data – for example, insurance rated in a given state. Such services
        run afoul of antitrust law, he says, when they offer projections or provide data so detailed
        that no competitor would reasonably share it with another. Getting detailed information is
        a particularly useful form of collusion, Carstensen says, because it allows co-conspirators
        to make sure they’re all following through on the agreement. “This is one of the ways you
        do it. You make sure that your co-conspirators have the kind of information that gives them
        confidence – so they can trust you, that you’re not cheating on them,” he says. “That’s what
        created stability for a cartel.”

    202.        There is no plausible, non-conspiratorial justification for Producer Defendants and

Producer Co-Conspirators to use Agri Stats to secretly share highly confidential and proprietary

information about their pricing, capacity, production, and costs at the level of detail at which they

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do. In a competitive market, such proprietary, competitively sensitive information would be a

closely guarded secret. Economic theory suggests that the routine exchange among competitors of

such sensitive internal company information reduces the intensity of competition. The FTC’s and

DOJ’s 2000 Guidelines For Collaborations Among Competitors (“FTC/DOJ Guidelines”), and

presentations by FTC attorneys, suggest that the scheme involving Agri Stats is far outside the

scope of permissible information-sharing among competitors. For example:

       A.     The FTC/DOJ Guidelines note the high risk of antitrust issues for information
              sharing programs in industries with a history of collusion.

       B.     The more competitively sensitive the information being shared, the higher the
              antitrust concern for such information sharing. Upon information and belief, the
              weekly and monthly Agri Stats reports include dozens of categories of detailed
              information that in a competitive industry would be considered trade secrets.
              Therefore, the competitive sensitivity of Agri Stats reports suggests a particularly
              high level of antitrust concern.

       C.     The older or more historical the information being shared, the less concern the FTC
              and DOJ have with information collaborations. However, Agri Stats reports are
              issued weekly and/or monthly, and its EMI reports are issued daily, so as to provide
              nearly current production, sales, and other data to Defendants. Moreover, the nature
              of Broiler breeder flocks is that they predict future Broiler supply, so by sharing
              such information in a way that permits company-by-company identification,
              Defendants are in fact sharing future anticipated production information with one
              another, which clearly suggests high antitrust concern under the FTC/DOJ
              Guidelines.

       D.     The FTC/DOJ Guidelines also provide a “safety zone” (i.e., presumptively
              permissible) for collaborations among competitors that account for no more than
              20 percent of each relevant market in which competition may be affected, but
              Defendants account for approximately 90-95% of Broiler production.

   D. Defendants Coordinated Production Cuts to Stabilize and then Increase the Price of
      Broilers from 2008-2012. Then, they Continued to Maintain Artificially High Prices.

   203.       As alleged in this Complaint, Defendants engaged in a conspiracy to fix, raise,

stabilize, and maintain the price of Broilers throughout the Relevant Time Period. Defendants’

acts, practices, and course of conduct in furtherance of their conspiracy evolved over time and



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included but were not limited to the following: engaging in continuous communications on

confidential and proprietary business matters to eliminate price competition; allocating market

shares; restricting supply of Broilers; using input costs and other events as a pretext for industry-

wide production cuts; manipulating one or more publicly reported Broiler price indices; and

concocting mechanisms to nullify competitive sales processes to their customers. Examples of

Defendants’ conduct are described in detail below.

   204.        In 2008, Pilgrim’s retained consultant Bain & Company to analyze its business

operations. Bain outlined a strategy for Pilgrim’s to help reshape the dynamic of the Broiler

industry. The Bain plan suggested that Pilgrim’s management needed to take action to reduce

supply in the Broiler industry, similar to other industries which in the then-recent past had been

able to restrict production and increase prices.

   205.        Defendants adopted the euphemism “capacity discipline” or simply “discipline” to

refer to their agreement to limit Broiler production. The key to “production discipline” and

“capacity discipline” is widespread participation by the industry. Broiler companies will not reap

outsized profits if only one or a few Broiler companies exercise discipline by cutting production.

Put differently, if a single Broiler company reduces Broiler capacity, there is no guarantee that

competitors will do the same, and therefore the company acting alone has simply ceded market

share to its competitors. However, if other Broiler companies similarly exercise discipline and

reduce capacity and production, Broiler purchasers will be faced with resulting higher prices,

which they will have no choice but to pay. The alternative – to not purchase Broilers – is not an

option for most of Defendants’ customers.

   206.        Thus, exercising capacity discipline will only benefit a Broiler company if it knows

or is reasonably sure that its competitors will do likewise. Absent such assurance, it would be



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against each Broiler company’s independent self-interest to cut capacity and production. In

Defendants’ case, their shared commitment to capacity discipline was made feasible and rational

by their knowledge that each had agreed to engage in the same capacity limitations. As explained

in this complaint, Defendants repeatedly confirmed to each other that they remained committed to

this agreement by publicly (and privately) discussing their plans to continue exercising “capacity

discipline,” so long as others did the same.

   207.        Broiler producers have several mechanisms to reduce the supply of Broilers. Given

Broiler producers’ vertical integration and control of breeder farms, hatcheries, growout farms,

and slaughter houses, they have several methods to manipulate supply, including the following:

       A.      Reduce the size of Broiler breeder flocks through two measures: (1) retire and kill
               off Broiler breeders at an earlier age than would normally be the optimum age for
               doing so and/or (2) reducing purchases of Breeder pullets from genetics companies
               that supply them. Such reductions in Broiler breeder flock purchases by Broiler
               companies effectively forces genetics companies to in turn reduce their own stocks
               of parent and grandparent Broiler breeders (the one from which broiler company
               pullets are supplied). Such reductions by the genetics companies extend into a
               period of years the time it takes to materially increase the supplies of Broilers.

       B.      Reduce “egg sets” or “egg placements” (i.e., number of eggs placed in incubators)
               by destroying such eggs and selling them to a rendering plant, which causes a
               reduction in production within roughly 7 weeks, but this does not reduce the size
               of Broiler breeder flock itself and does not prevent a producer from being able to
               ramp up production in the short or medium term should it subsequently decide it
               wants to quickly ramp up production;

       C.      “Break eggs” at hatcheries by destroying the eggs prior to setting them in
               incubators;

       D.      Pull (i.e., destroy) eggs already set in incubators sometime before the 21 days
               necessary for eggs to hatch;

       E.      Destroy newly hatched chicks at hatcheries before delivery to farmers for grow-
               out;

       F.      Reduce the number or health of chicks delivered to contract farmers for grow-out,
               including by manipulation of the genetics of chicks or providing an inferior type of
               Broiler to farmers for grow-out of Broilers into mature Broilers;

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       G.      Extend the period of time between pickup of mature Broilers for slaughter and
               delivery of new chicks to contract-farmers for grow-out (a/k/a, “days between
               flocks”);

       H.      Reduce the size of birds at slaughter, including by slaughtering birds before they
               reach full maturity or weight;

       I.      Slow down, temporarily close, or permanently close Broiler processing plants; and

       J.      Export hatching eggs and/or day-old chicks outside the United States.

   208.        Historically, when Broiler producers “cut production,” they did so through short

term cuts that targeted the end of the supply chain, such as slaughtering Broilers early, destroying

eggs before incubation, killing newly hatched chicks before delivery to contract farmers, and/or

increasing the days between flocks delivered to contract farmers. Broiler companies historically

did not cut their Broiler breeder flocks (except for normal seasonal variations), however, because

doing so would leave a producer unable to ramp up production in the short or medium term should

market conditions improve.

   209.        With respect to the type of production cuts used by Broiler producers, the period

from 2008 through the present is characterized by both traditional production cuts (short-term in

nature), as well as by unprecedented reductions in Broiler breeder flocks by Broiler producers. As

discussed below, Broiler producers made substantial and unprecedented cuts to Broiler breeder

flocks in 2008 and 2011 that prevented them from being able to meaningfully increase supply for

years to follow.

   1. Pre-Relevant Time Period Events

   210.        In 2007, the two largest Broiler producers, Pilgrim’s and Tyson, reduced their

production of Broilers, but only a few other Broiler producers followed their lead, namely Foster

Farms (4.8% reduction in Ready-to-Cook (“RTC”) pounds), Peco Foods (5.4% reduction in RTC



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pounds), and Perdue (unspecified cuts). However, cuts by only five industry participants were not

enough to affect industry supply sufficient to increase prices meaningfully. Industry publications

noted that oversupply of Broilers was due to overproduction by Sanderson Farms, Mountaire

Farms, and House of Raeford Farms. Due to the resulting oversupply of Broilers, prices fell in late

2007 and into early 2008. In addition, production cuts in 2007 followed the typical pattern of

focusing on short-term reductions in production, such as slaughtering Broilers early, but not on

longer-term cuts to Broiler breeder flocks.

   211.        The failure of the 2007 shorter-term production cuts to raise prices made Tyson and

Pilgrim’s realize that their unilateral supply cuts would never be enough to raise industry prices

without a broader industry supply cut by most of their competitors, and further, that cuts that did

not reduce Broiler breeder flocks left the industry vulnerable to near-term increases in supply.

Tyson and Pilgrim’s realized that by making cuts that were not followed by their smaller

competitors, they were essentially giving away market share to those competitors.

   2. 2008-2009 Production Cuts.

   212.        On January 23-25, 2008, Defendants attended the IPE conference in Atlanta,

Georgia. According to the IPE, attendees representing over 99.4% of the production of the major

Broiler companies participated in the IPE. Numerous employees from Defendants attended the

conference, including Defendants’ senior executives.

   213.        On a January 28, 2008, earnings call, Tyson CEO Dick Bond declared bluntly “we

have no choice [but] to raise prices substantially.” However, the commodity nature of Broilers

does not allow one producer to successfully raise market prices in the absence of widespread

reductions in supply relative to the then-current demand, so Bond’s comment does not make sense

absent an intention (or knowledge) on his part that Defendants would coordinate a reduction in



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supply across the Broiler industry. After learning in 2007 that its production cuts alone could not

force up industry prices, Tyson also sent a clear message to its co Defendants and co-conspirators:

we are not making production cuts until you do.

   214.        In response, Pilgrim’s issued a call to action for its competitors to reduce their

production of Broilers to allow prices to recover. On a January 29, 2008, earnings call, Pilgrim’s

CFO Rick Cogdill said the industry was oversupplying Broilers and it was hurting market prices.

Cogdill explained that his company had done its part in 2007 by reducing production 5%, so “the

rest [] of the market is going to have to pick-up a fair share in order for the production to come out

of the system.” During the call, Cogdill went on to explain that Pilgrim’s alone could not reduce

supply enough to help market prices recover and its past efforts to reduce supply had merely led

to smaller players increasing their market share at Pilgrim’s expense. Cogdill went even further in

describing specifically how he thought the industry needed to coordinate production cuts in order

to drive up market pricing, including making the following statements urging Pilgrim’s

competitors to do their part in reducing Broiler industry supplies:

       A.      “[A]ctions are going to have to be taken one way or the other through the industry
               to pass along these costs. We were the leader in cutting production last year to help
               drive that. . . . [W]e’ve got to make sure that we get the supply in line with demand
               at an acceptable price, not just in line with what the customer wants to buy at a
               cheap price.”

       B.      When asked by an analyst “do you have an estimate internally of what the state of
               oversupply in the industry might be? What you would hope to see cut from others
               that would make you feel like the industry was more rational?” Pilgrim’s CFO
               Cogdill replied “It’s really hard to say that the faster we get to production
               adjustment the quicker the recovery could happen . . . . And if the industry doesn’t
               react soon enough it will have to react stronger in the end.”

       C.      “[W]e have walked away from sales in certain cases, where the pricing just did not
               make any sense. So we are trying to hold the line. We are losing at times the
               competitive bids . . . . So we are trying to take a leadership position from a pricing
               perspective.”



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         D.    JP Morgan analyst Pablo Zuanic asked “[D]o you and Tyson have the evidence that
               your production call backs lead to significant price improvements last
               year[?]….Clearly, there are more producers who are not following you. On my
               mask [sic], according to USDA, the industry was up 5% in the December
               quarter….So, it means that the rest of the industry was up about 9% in the
               December quarter. So there is evidence that rest of the industry is not following
               you. You guys are the leaders. You know that this worked last year. . . . Is it just
               that last year we did it for the industry, and they didn’t follow and now it’s their
               turn?” In response, CFO Cogdill noted, “I think you kind of hit on it there. . . . It’s
               not like we had 5% of surplus capacity that we could just reduce our operations and
               not feel that . . . I mean we cannot be the ones that are out there continually reducing
               production, and let the other producers capitalize on that. I mean if it’s 5% last year,
               5% this year, 5% next year, you can see that that’s a spiral to the demise of our
               company, which we are not willing to accept.”

    215.       On a January 31, 2008, earnings call, Sanderson Farms CEO Joe Sanderson

explained that he anticipated the industry would cut production. Asked about Broiler industry cuts

by an analyst, Sanderson replied “we could see some reductions in production.” Asked to expand

on his comments by another analyst, CEO Sanderson said he thought a production cut was

“probable” and “if it’s bad and ugly and deep in February, March and April, you’ll see the

production cuts take place during that period of time. There’s still 25% of the industry still making

money but I would expect to see those reductions come over the next 90 to 120 days.” Upon

information and belief, CEO Sanderson’s basis for the statement that “25% of the industry [was]

still making money” was through the secret sharing of information by Defendants through Agri

Stats.

    216.       Around March 4, 2008, senior executives from Defendants met at an Executive

Committee meeting of the National Chicken Council’s Board of Directors including Pilgrim’s

CEO Clint Rivers, Tyson Senior VP Donnie Smith, Fieldale Farms President Thomas Hensley,

Amick President and CEO Ben Harrison, and Case Foods CEO Tom Shelton.

    217.       Only a month and a half after installing its new CEO, Pilgrim’s again led the charge

to cut overall industry supplies, but this time it backed up its rhetoric with production cuts. On

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March 12, 2008, Pilgrim’s announced a massive closure of its Broiler processing plants. Just five

days after taking over the position of Pilgrim’s CEO, Clint Rivers, publicly announced the closure

of seven Broiler facilities in order to reduce industry oversupply, stating “we believe [these]

actions . . . are absolutely necessary to help bring supply and demand into better balance . . . . That

portion of the demand for our products that exists solely at pricing levels below the cost of

production is no longer a demand that this industry can continue to supply.”

   218.        Normal supply and demand would suggest that in the wake of massive supply cuts

by Pilgrim’s, other Broiler producers would jump into the massive gap in supply that Pilgrim’s

closures left. However, just the opposite occurred. Following Pilgrim’s announcement, a series of

production cuts were publicly announced by other Defendants between April 3 and April 11, 2008.

       A.      On April 3, 2008, Fieldale Farms announced a 5% production cut. In connection
               with the cut, Executive Vice President Thomas Hensley commented that Fieldale
               has had trouble passing on cost increases to both foodservice and retail customers.
               “Every time we try [to increase prices], one of our competitors comes in with a
               price lower than our previous price,” Hensley said. Fieldale, which has been
               absorbing feed-cost increases, hopes its move will help ease continuing price
               pressure. “We can’t sell [some of] the chickens at a price higher than the cost,”
               Hensley said. “We’re hoping this cut puts supply and demand back into better
               balance.”

       B.      On April 9, 2008, Simmons Foods announced a 6% reduction in production
               throughout its processing plants. Simmons Prepared Foods President David
               Jackson said in a press release that “[r]ecent U.S. chicken market price levels have
               not allowed processors to recover the spiraling costs of corn and soy meal. . . . This
               increased cost burden has yet to be reflected in domestic poultry prices.” BMO
               Capital Markets analyst Kenneth Zaslow welcomed Simmons’ production cut,
               saying in a note to investors that production cuts across smaller companies in the
               Broiler industry would be positive for Broiler prices. On April 9, 2008, BMO
               Capital Markets analyst Kenneth Zaslow welcomed Simmons’ production cut,
               saying in a note to investors that production cuts across smaller companies in the
               Broiler industry would be positive for Broiler prices.

       C.      On April 10, 2008, Cagle’s Inc. announced a 4% reduction in processing of
               Broilers. According to a press release from Cagle’s President and CEO, Doug
               Cagle, “[c]urrent chicken prices have failed to reflect the tremendous increase in
               the cost of feed. Ingredient prices, mostly corn and soybean meal, have increased

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               over 80 percent in the last two years raising the cost to produce chicken by more
               than $.17 a pound. These are unprecedented times and given current USDA
               forecasts it appears that high feed costs are here for the foreseeable future. The cut
               back in production will not effect [sic] our customers with existing commitments
               but will reduce product being sold through less profitable commodity outlets.”

       D.      Between April 3-11, 2008, Wayne Farms, O.K. Foods, and Koch Foods each
               announced 2-8% reductions in production. None of these companies are publicly-
               traded, and there was no reason – other than signaling to their fellow producers that
               they were following through on their conspiratorial agreements – why they would
               publicly disclose their production plans.

       E.      A number of other Broiler companies cut their production between April 1, 2008
               and May 28, 2008, but did not publicly announce those cuts. Instead, these Broiler
               companies communicated such cuts to their co-conspirators through Agri Stats
               and/or other means of communication. For instance, at his BMO Capital Markets
               Conference presentation on May 28, 2008, Sanderson Farms CEO Joe Sanderson
               stated that “we have seen for the last 6 or 7 weeks . . . some companies in our
               industry announce cutbacks. There have been I think six companies have
               announced cutbacks. I know some companies have cut back and have not
               announced.” Such knowledge of non-public production cuts by competitors is
               highly suggestive of secret communication among Broiler companies.

   219.        Several other chicken producers cut their production between April 1, 2008 and

May 15, 2008 but did not publicly announce them. Yet, because of Agri Stats, there was no need

to make a public announcement. For instance, at his BMO Capital Markets Agriculture & Protein

Conference presentation on May 15, 2008 at the Millennium Broadway Hotel in New York City,

Sanderson Farms CEO Joe Sanderson states – in the presence of several competitors attending the

conference, including Pilgrim’s CEO Clint Rivers and CFO Richard Cogdill and Tyson CEO

Richard Bond – that “we have seen for the last 6 or 7 weeks… some companies have announced

cutbacks. I know some companies have cut back and have not announced.” (Emphasis added).

Such knowledge of non-public production cuts by competitors is highly suggestive of

communication among chicken companies, either secret direct communications among

themselves, or using Agri Stats as a facilitator, or both. After witnessing a steady stream of its

competitors close production capacity between April 3 and 11, Pilgrim’s saw that other industry

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participants were contributing to reducing industry supply. Pilgrim’s decided it could now take

further steps to reduce industry supply.

   220.        On April 11, 2008, Pilgrim’s suggested it might close its large El Dorado, Arkansas

processing plant, which employed 1,620 workers.

   221.        On April 14, 2008, Pilgrim’s announced a further production cut of 5% of egg sets.

   222.        On April 29, 2008, Tyson CEO Dick Bond described the change in the industry in

response to an analyst question, noting “[y]ou are right. I think the industry has changed. Diane, I

don’t think the industry will be up that much anymore, we have seen some sizable declines here

lately in egg sets and placements. So, we’re going to be up a little bit but probably not a significant

amount, not as much as we might have once anticipated.”

   223.        Despite the large number of coordinated production cuts announced by producers

in April 2008, Pilgrim’s concluded these cuts were not sufficient. Therefore, Pilgrim’s CEO Clint

Rivers encouraged further action by the industry at a May 15, 2008, speech at the BMO Capital

Markets Third Annual Ag & Protein Conference, which was attended by Sanderson Farms CEO

Joe Sanderson and CFO Mike Cockrell, Tyson CEO Richard Bond, and Pilgrim’s CFO Richard

Cogdill. CEO Rivers announced that he hoped to see the Broiler industry continue to cut

production to help the industry return to profitability, stating that “he would like the industry to

trim total production by 3%-4%, calling it a prudent move in light of recent price volatility in the

grain markets.” He also noted that “[t]he cuts need to be fairly deep.”

   224.        A June 2008 Agri Stats report noted that “[b]eginning in April [2008], the weekly

hatchery data started to show declines in egg sets and chick placements relative to year-earlier,

which confirms the announced intentions to reduce broiler production and will result in slaughter

falling below year-ago by mid-June.” The same report also noted that “[i]t is unclear how long the



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slaughter declines will continue, and if other companies will choose to cut production as well

making them deeper than initially thought. Those who have announced cutbacks indicate they will

continue until margins normalize. At this time we expect to see the declines continue until at least

2009, and cuts could be deeper than now projected.”

   225.        A May 21, 2008, Wall Street Journal article noted that conditions in the industry

were starting to change. “Three things are making analysts more optimistic: Companies are cutting

production, weekly egg-set numbers are declining (egg sets are fertile eggs placed in incubators),

and prices are responding positively to the thinning supply lines.” The article also noted “[i]t is

unusual for egg sets to decline at this time of year.” The reason such a reduction was unusual in

May is that egg sets result in Broilers that are ready for market approximately 10 weeks later,

which in this case would have been first week of August, and is still the peak of the high-demand

summer grilling season. During an earnings call on May 22, 2008, Sanderson Farms CEO Joe

Sanderson was asked if he thought industry cuts were sufficient to keep the industry profitable in

the fall. In response, Sanderson noted, “[w]e don’t know yet. We will make a cut as we always do

after Labor Day. We will make a 4-5% cut following Labor Day as we always do going into

Thanksgiving, Christmas, and January we reduce our egg sets and around Thanksgiving,

Christmas, New Years and Martin Luther King. That is a period of slow demand for us, and we

don’t announce that, but we always do it. It is just a period when we take downdays and we will

do that. But if we think more is needed, we will evaluate that sometime in August, and if need be

will do it. We cut back in 2006, we cut back in ’97-98. I don’t know if we announced it or not, but

we will do what we need to do.” Sanderson provided no explanation why it was choosing to

publicly disclose its “regular” production cut if it had never done so in the past.




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   226.        Six days later, on May 28, 2008, CEO Sanderson attended the BMO Capital

Markets Conference Presentation. One or more of Sanderson Farms’ competitors attended the

same conference. Sanderson explained to the attendees that the company tracks egg set data closely

and it had observed many companies cutting production “for the last 6 or 7 weeks.”

   227.        In early June 2008, Pilgrim’s CEO Clint Rivers continued to keep up the drumbeat

for further production cuts, noting in a June 4, 2008, presentation that “[o]ur supply in chicken, we

are oversupply . . . we need to see some balance in the supply. . . . Simply put, at this time there is

still too much breast meat available to drive market pricing significantly higher.”

   228.        Other CEOs picked up on Pilgrim’s call for further action. A few weeks later on

June 19, 2008, Broiler industry executives participated in a media conference call intended to

lobby the federal government to limit the ethanol subsidy. According to one report, Mark Hickman,

Chairman of the National Chicken Council and CEO of Peco Foods, told participants that “the

poultry industry is entering a second phase of production cutbacks, following a 1 percent to 2

percent cutback in production earlier this year. ‘We are hearing talk that this was not nearly

enough, so liquidation is in round two.’” Upon information and belief, “liquidation” is a reference

to the need for Defendants’ decision to reduce Broiler breeder flocks to affect longer-term supply

restraint in the industry, rather than mere short-term production cuts like breaking eggs or

slaughtering Broilers earlier to reduce weight.

   229.        As noted above, Agri Stats’ subsidiary EMI issues regular reports to its clients,

which are not publicly available. However, EMI’s website currently has available a “sample”

report available from June 20, 2008. The sample report notes that “[b]eginning in April [2008],

the weekly hatchery data started to show declines in egg sets and chick placements relative to year

earlier, which confirms the announced intentions to reduce Broiler production and will result in



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slaughter falling below year-ago by mid June.” The same report also notes that “[i]t is unclear how

long the slaughter declines will continue, and if other companies will choose to cut production as

well making them deeper than initially thought. Those who have announced cutbacks indicate they

will continue until margins normalize. At this time we expect to see the declines continue until at

least late 2009, and cuts could be deeper than now projected.”

   230.        Three days later, on June 23, 2008, Wayne Farms announced an additional 6%

production cut. Wayne Farms President & CEO Elton Maddox said in a statement that “[s]oaring

feed ingredient costs aggravated by the government’s food for fuel mandate has created the need

for us to rationalize our business.” Like many other executives, Maddox cited ethanol subsidies as

the reason for the production cuts. Wayne Farms’ announcement came only three days after Agri

Stats suggested further cuts were needed and four days after Peco Foods CEO Hickman suggested

further cuts were needed.

   231.        On June 23-25, 2008, USPOULTRY held its annual Financial Management

Seminar. Defendants’ senior executives attended the seminar. On July 2, 2008, Foster Farms

announced it was abandoning plans to build a new Broiler plant in northeastern Colorado that it

had previously announced in April 2008 would employ about 1,000 people. In a statement, Foster

Farms CEO Don Jackson noted “[i]n these difficult conditions with costs escalating primarily due

to grain and fuel prices and chicken prices lagging it does not make economic sense to go forward

with expansion at this time.”

   232.        On July 7, 2008, O.K. Foods announced a 7.5% reduction in egg sets, citing “record

high prices for corn and soybean meal, which it attributes to the U.S. government’s mandated

ethanol policies along with recent flooding in the Midwest ‘Corn Belt’ region.”




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     233.      On July 20-22, 2008, the National Chicken Council held a three-day “Chicken

Marketing Seminar” attended by Defendants’ senior executives. The event was billed as a

marketing seminar that “includes social networking events and recreational opportunities,

including a golf tournament.”

     234.      On July 31, 2008, Tyson cancelled a contract with Petit Jean Poultry for the

processing of Broilers at Petit’s Buffalo, Missouri plant. Tyson subsequently told the City of

Buffalo that no amount of incentives could convince it to renew its contract with Petit.

     235.      On August 11, 2008, Pilgrim’s announced the closure of its Clinton, Arkansas,

processing plant and a further processing facility in Bossier City, Louisiana.10 Pilgrim’s press

release noted the closures “are part of the company’s ongoing effort to operate more efficiently

and return to profitability amid high feed costs and an oversupply of chicken on the market.” The

closure of the Clinton processing plant represented an additional 1.25% incremental increase of

the company’s previously announced production cuts. Pilgrim’s stated that it would keep both

plants idled until “industry margins can be sustained at more normalized levels of profitability.”

Pilgrim’s also noted that “[w]ith Labor Day approaching and no indication that the actions taken

to date by Pilgrim’s Pride or other industry members are having a positive effect on selling prices

for our products, it is now clear that more significant decisive action is necessary.”




10
  “Further processing plants” are facilities that process whole or cut-up Broilers into products for
end users, such as chicken nuggets. Further processing plants alone are not a bottleneck for the
supply of Broilers and were not the focus of Defendants’ coordination to reduce and restrict Broiler
supplies as alleged herein. During the Relevant Time Period, some Defendants have increased the
amount of further processing they perform internally in order to capture profits that had previously
been earned by third party further processors who purchased unprocessed Broilers from
Defendants. A few further processing plant closures are noted in this Complaint where they were
closed in conjunction with processing plants.
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   236.         In August 2008, House of Raeford announced that it would begin reducing its

Broiler production by 5%. The company said in a statement that “[t]he current obstacles that face

our industry require that supply be brought in line with demand.” A production cutback was

remarkable for House of Raeford, which had pursued a strategy of aggressive production growth

that resulted in the company doubling its Broiler production from 2001 to 2007.

   237.         On an August 26, 2008, earnings call, Sanderson Farms CEO Joe Sanderson stated

that “[s]o long as this weakness continues, the poultry industry will need to cut production further

until supply is in line with demand.” When asked later whether the industry had already made

enough production cuts, he noted “we kind of thought we were going to see reductions in July . . .

[based on] 213/214 [million] eggs sets back in April and that really did not materialize. When you

look at USDA slaughter numbers in July, they were 100% and 101% and now we’re looking at

egg sets of 206 and 207 million that are going to show up sometime in October or November.

We’ll see when we get there. Those are barely impressive cuts. My suspicion is, as I’ve told you

in May, the industry typically make the cut [sic] and it’s tentative. We’ll have to see if it works. .

. . I’m very skeptical that those cuts are going to be enough to return us margins to cover these

grain costs.”

   238.         On September 23, 2008, Pilgrim’s announced the layoff of 100 employees at its El

Dorado, Arkansas processing plant.

   239.         By September 2008, Broiler industry publication Watts PoultryUSA reported that

“[m]ost U.S. broiler integrators ha[d] announced plans to close small operations, consolidate

complexes and further processing plants and to reduce output by 3 percent to 5 percent to

‘maximize efficiency.’”




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   240.        On October 3, 2008, Defendants’ senior executives attended the National Chicken

Council’s Annual Meeting. Agri Stats CEO Bill Snyder moderated a CEO panel that included

Pilgrim’s, Tyson’s, Perdue’s, and Sanderson Farms’ CEOs. Explaining Pilgrim’s desire to push

through an industry-wide price increase, Pilgrim’s CEO Clint Rivers told panel members and the

audience “[w]e need to get those [input] costs pushed through, but we’ve yet to see that happen.”

   241.        On October 10, 2008, Pilgrim’s gave an interview to the Associated Press regarding

a USDA report of falling egg sets in the Broiler industry. Spokesman Gary Rhodes noted that

“[t]his is very positive news for the industry and may signal that the industry is taking a more

rationalized approach to production heading into the fall.”

   242.        Indeed, an industry analyst noted that at the time “the industry has cut about 10 to

12 percent of its production.”

   243.        During the Fall of 2008, Sanderson Farms also implemented its previously

announced “fall cuts” a month early and delayed the opening of a new deboning facility.

   244.        On October 18, 2008, Wayne Farms President & CEO Elton Maddox released a

statement announcing the closure of the company’s College Park, Georgia plant, resulting in the

layoff of over 600 employees. Maddox cited “changing market conditions” and a need to

“maximize efficiencies” as justification for the plant closure.

   245.        On a November 10, 2008, Tyson earnings call, CEO Dick Bond claimed that Tyson

would not be making additional production cuts because it had already done its part to reduce

industry supply with prior production cuts in 2007 and earlier. However, D.A. Davidson & Co.

analyst Tim Ramey asked “Dick, a year ago you talked about price encourage [sic] then I was out

with Donnie Smith four five months ago, you guys talked about well we’re not going to be the one

to cut.” Tyson didn’t respond directly, but cited Tyson’s attention to “supply and demand.”



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   246.        On November 12, 2008, industry analyst Ken Zaslow noted that “many companies,

such as Pilgrim’s, have pledged to cut production, but Tyson increased its volume about 6 percent

in the quarter . . . . The industry has cut about 10 to 12 percent of its production.”

   247.        Despite claims to the contrary on its November 2008 earnings call, Tyson

substantially reduced production in December 2008. First, on December 18, 2008, Tyson

announced the canceling of a deboning contract with Petit Jean Poultry at Petit’s Little Rock,

Arkansas processing plant that resulted in the layoff of 700 employees by Petit. Second, by

December 23, 2008, it was reported that Tyson had cut its production by 5%. Asked by a reporter

about the cuts, Tyson spokesman Gary Mickelson stated that “[w]hile we would rather not share

details of our current poultry production levels, we can tell you we continue to closely evaluate

market conditions in an effort to match customer demand with our supply.” Tyson also noted that

it had reduced production “in recent years through the closing or sale of poultry plants and by

running the company’s remaining operations at reduced capacity utilization.”

   248.        On a January 26, 2009, Tyson earnings call, an analyst asked why Tyson cut

production in December 2008 after claiming it would not do so in its November 2008 earnings

call. Tyson’s Senior VP Donnie Smith replied that Tyson’s inventory growth had triggered it to

cut production in December 2008.

   249.        On January 28-30, 2009, Defendants’ senior executives attended the 2009

International Poultry Expo in Atlanta, Georgia.

   250.        In a February 18, 2009, interview, Tyson Senior Group Vice President Donnie

Smith noted that “[a]cross our industry, we’re down about six percent versus where we were a year

ago. We’re seeing an impact from that on market prices . . . the industry fundamentals are

improving.”



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    251.        In late February 2009, a report noted that Pilgrim’s had cut another 9-10% of its

production. According to the same report, Tyson told the audience at a February 2009 investors’

conference that it did not intend to reduce its production further because “[u]sing WATT

PoultryUSA data on ready-to-cook (RTC) pounds, our numbers have declined 5-7% from 2000 to

2008 on RTC pounds while at the same time the industry has grown 31%. Over time, we have

done plenty of cutting back.” In other words, Tyson felt it had already taken its fair share of needed

production cuts, so competitors needed to take further actions. However, as indicated below,

Tyson’s statements about not reducing production appear to be posturing, because generally Tyson

did reduce its production during the 2008-2015 time period in line with other producers, apparently

hoping the threat of it not reducing production would lead other producers to reduce production

first.

    252.        By February 25, 2009, Sanderson Farms told The Morning News that it had made

cuts to its supply of Broilers by processing smaller Broilers and running its plants at lower capacity

utilization rates. Sanderson also told a group of investors around this time that “[b]ecause we don’t

expect much help from the demand side, chicken market improvement will have to come from

supply cuts.”

    253.        Similarly, Simmons Foods CEO Todd Simmons noted in a February 25, 2009,

interview that “[w]e are seeing lower demand in the food-service customer base. We have made

adjustments in bird weights to ensure our production meets with our customer’s needs.”

    254.        Seeing further cuts from smaller producers in the industry led Pilgrim’s to announce

historically large cuts to its production on February 27, 2009. In a press release announcing the

closure of three processing plants located in Douglas, Georgia, El Dorado, Arkansas, and

Farmerville, Louisiana, Pilgrim’s indicated the plants were “underperforming” and said the



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closures would “improve the company’s product mix by reducing commodity production and to

significantly reduce its costs in the midst of an industry-wide oversupply of chicken and weak

consumer demand resulting from a national recession.” Pilgrim’s indicated that the idling of these

three plants would reduce production 9-10% in total pounds of Broilers produced by the company.

   255.        Overall, “[a]t least 11 companies reported reductions in weekly ready-to-cook

production in 2008,” including Tyson, Pilgrim’s, Perdue, Simmons, House of Raeford, Cagle’s,

George’s, O.K. Foods, Coleman Natural Foods, Harrison Poultry, and GNP Company. Other

companies reduced their planned production levels and/or delayed the planned opening of new

Broiler complexes.

   3. Defendants’ 2008 to Early 2009 Broiler Production Cuts Included Unprecedented
      Reductions to Broiler Breeder Flocks.

   256.        As noted above, 2008 ended a decades-long trend of additional Broiler production,

and surprised industry observers. However, what makes the production cuts in 2008 even more

remarkable is that Broiler producers did not merely make an unprecedented reduction in the

pounds of Broilers they produced – they also went further up their supply chains than ever before

to restrict their ability to ramp up production for years into the future. This production restriction

was accomplished by reducing Broiler breeder flocks and thereby forcing genetics companies to

reduce supplies of grandparent stocks.




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   257.        Broiler breeder flocks on average are kept in active “lay” for 65 weeks, so over its

lifespan a breeder hen produces an average of 140 eggs per year that are incubated at Broiler

producer-owned hatcheries. Because Broiler breeder flocks are created from a limited pool of

grandparent Broilers from the three Broiler genetics companies (Tyson’s Cobb-Vantress, Aviagen,

and Hubbard), it takes substantial time to re-populate a Broiler breeder flock that has been reduced

through early slaughter. By reporting the size of each Defendant’s supply flocks through Agri

Stats, Defendants could closely monitor one another’s supply flock reductions and deal with a

coconspirator who was ramping up production in conflict with Defendants’ conspiracy.

   258.        Defendants’ reduction in Broiler breeder flocks during 2008 and the first two

months of 2009 was unprecedented. While previous downturns had led some producers to use

short-term methods to reduce overall pounds of Broilers slaughtered, in 2008 Defendants took

their reductions to the next level by substantially reducing their Broiler breeder flocks (aka,

“Broiler Hatchery Supply Flock”).



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   4. The Cuts in 2008 and 2009 Led to Record Broiler Prices for Much of 2009 and early
      2010.

   259.        The effect of the supply cuts on Broiler pricing in 2008 and the first two months of

2009 was clear – during the worst recession in generations, Broiler prices rose through mid to late

2008, staying at or near all-time highs until late 2009. For instance, by May 28, 2009, Sanderson

Farms reported strong profits that were twice the predictions of Wall Street analysts, which

according to one industry publication was “aided by production cuts and lower feed costs that

offset still-weak demand.” Similarly, at a May 14, 2009, BMO Capital Markets conference, interim

Tyson CEO Leland Tollett noted that “poultry market fundamentals had improved. Pullet

placements, an[] indication of future Broiler supplies, have been down the past five months

compared to the same period last year. Egg sets continue to run six percent or more below year

ago levels and cold storage inventories of poultry have declined about 20 percent since peaking in

November 2008.” However, as prices continued to rise during late 2009 and early 2010, producers

started increasing production in response to the higher prices, as they had done in previous decades.

The rising production by producers in early 2010 led to a reported oversupply of Broilers that

began to depress prices by late 2010. However, Defendants had learned the value of coordinated

supply reductions in 2008, so were quick to react with a new round of publicly announced

production cuts in the first half of 2011, which quickly helped prices recover.

   260.        During 2009 and 2010, Defendants’ senior executives continued to meet with one

another at trade association meetings and industry events, such as the National Chicken Council

and the International Poultry Expo. For instance, at the National Chicken Council’s October 2009

Annual Conference, which was attended by Ben Harrison (Amick President & CEO) and Robert

Turley (Allen Harim President & CEO), one industry analyst wrote that participants had

emphasized continued “production discipline.” As used by Defendants, “capacity discipline” is a

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euphemism for limiting Broiler supplies. Defendants’ conspiratorial efforts to artificially limit

Broiler supplies enabled Defendants to raise prices of Broilers to supracompetitive levels.

    5. Defendants Reacted with Unprecedented Speed to Overproduction in 2011, which
       Led to a Second Wave of Unprecedented Production Cuts.

    261.        Around early 2011, Tyson was one of the first Defendants to see the coming

overproduction of Broilers. In addition to limiting its own production, Tyson embarked on a new

strategy to soak up excess supply produced by its competitors. Tyson called the strategy “Buy vs.

Grow.” As described further in Section VI(G) of this Complaint, Tyson’s Buy vs. Grow strategy

allowed Tyson to buy up excess production from its competitors and avoid the depression of prices

that would occur had the excess production been sold on the open market. In return, Tyson could

communicate the volumes of Broilers it would be willing to purchase from competitors in the

current and future months, thus suggesting to each competitor the amount of production it should

cut that would not be purchased by Tyson. As one investment analyst described it, Tyson’s

program “involves maintaining or even reducing [Tyson’s] own chicken production levels, with

buying more chicken on the open market from their rival chicken producers, in an effort to keep

the chicken market from being over supplied.” Even though it would have been cheaper (with

respect to the cost of pounds purchased) for Tyson to grow its own Broilers instead of buying them

from a competitor, Tyson engaged in its Buy vs. Grow program because it allowed Tyson to better

control supply and production in the Broiler industry and reap the benefit of higher market prices

on all of the rest of its Broiler pounds sold.

    262.        On January 24-26, 2011, Defendants’ senior executives attended the International

Poultry Expo in Atlanta, Georgia, including Tyson CEO Donnie Smith. The IPE featured an annual

market intelligence panel with Mike Donohue from Agri Stats and industry-insider Paul Aho.

According to one report, Donohue noted that “‘2008 was the worst year financially for the(U.S.)

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broiler industry that most people have ever seen’ . . . The industry’s response in 2008 was a 5 to

6% reduction in pounds produced. He said that the broiler industry is currently at record high

weekly slaughter volumes.” Aho noted “[t]his could be a very difficult year with cutbacks,

rationalization, and consolidation . . . . The market is calling for around a 5% reduction in chicken

production.”

   263.        On a February 4, 2011, Tyson earnings call, COO James Lochner noted that “until

industry supply more closely aligns with demand” Tyson’s Broiler business would “be

challenged.” Tyson CFO Dennis Leatherby also referred to a supply-demand imbalance in the

chicken industry.

   264.        On a February 16, 2011, Cagle’s earnings call, Cagle’s reportedly said it had begun

a 20% reduction in production at a deboning operation in an effort to balance supply and demand.

Cagle’s told one publication that it was “optimistic that the industry will exhibit the production

restraint necessary to support higher pricing for Cagle’s products allowing for return to profitable

margins.”

   265.        On or around February 25, 2011, Sanderson Farms CEO Joe Sanderson announced

on an earnings call that Sanderson would be delaying the development and construction of a second

North Carolina Broiler complex.

   266.        On March 7, 2011, House of Raeford announced a 10% reduction in egg sets that

began in early February. CEO Bob Johnson noted in an accompanying press release that “we

decided that acting now was a responsible action for our company in light of continuing unstable

economic conditions. . . . Hopefully the chicken prices will begin to increase later this year. In

addition, if Congress will take action to cut unreasonable government support for the ethanol

industry, then grain prices should decrease to a more manageable pricing level.”



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   267.        On March 15, 2011, Simmons announced it was laying off 180 workers at its

Siloam Springs, Arkansas processing plant “[d]ue to economics specific to our industry, resulting

from high grain prices predominantly caused by corn being used in ethanol, we have decided to

realign some of our production resulting in the elimination of 180 positions as of April 15.”

   268.        On April 13-15, 2011, the Georgia Poultry Federation held its annual meeting at

the Brasstown Valley Resort in Young Harris, Georgia. Defendants’ senior executives attended

the meeting. Among other positions that Defendants’ employees were elected to at the meeting,

Donnie Wilburn (Director Live Operations, Harrison Poultry) was elected Vice Chairman of the

Board of Directors and Phillip Turner (Plant Manager, Mar-Jac) was elected to the Board of

Directors.

   269.        On April 15, 2011, Mountaire Farms announced it was abandoning a 3-5% capacity

increase. Mountaire President Paul Downes explained Mountaire’s justification for the cut to

anticipated capacity in starkly simple terms: “The only way to higher prices is less supply. The

only way to less supply is chicken companies will shut down or cut back. That’s not good for

poultry growers or the economy. But I think that’s what we’re going to see.” In other words,

Mountaire had learned from the industry’s coordinated action in 2008 to reduce supply and

realized that the oversupply and decreasing prices in early 2011 could only be addressed through

collective action by the Broiler industry to restrain production.

   270.        Downes’ view of the state of the state of the chicken industry was echoed, and

amplified, by Joe Sanderson, CEO of Sanderson Farms, who states on a May 24, 2011 earnings

call that “they deal is that the industry – forget Sanderson – the industry cannot sustain losses like

they are sustaining for a long period of time. They will – they can’t do it and you have been

observing this for years and years and the industry has been losing money since Novemberish and



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balance sheets deteriorate and losses have to stop. The only way to stop losses with $7 corn is to

reduce production and get prices up. That is the rule and the law of the jungle.” Sanderson

continues, “my judgment is that there will be some others that are going to have to make some

adjustments that I believe cuts will be forthcoming in our industry based on the losses we see in

Agri Stats.”

   271.        Sanderson’s comments came roughly one week after he and Lampkin Butts,

Sanderson’s President and COO, attended the BMO Farm to Market Conference in New York

City, along with the CEOs of Defendants Pilgrim’s Pride (Bill Lovette) and Tyson (Donnie Smith).

The conference included a presentation by Lovette that noted Pilgrim’s new focus on matching

production to meet demand, including by adjusting “head,” i.e., breeder flocks, to better balance

supply and customer demand.

   272.        During 2011, Fieldale Farms reduced its production by an unspecified amount.

   273.        During 2011, Mar-Jac reduced its production 10% and reported that other Broiler

Producers were doing so as well.

   274.        On May 1-3, 2011, Defendants’ senior executives, including Tyson CEO Donnie

Smith, attended Urner Barry’s Annual Executive Conference and Marketing Seminar, which

includes an annual golf outing at a local country club.

   275.        On May 17-18, 2011, senior executives from Sanderson Farms, Pilgrim’s, and

Tyson attended the BMO Farm to Market Conference. Attending were Sanderson Farms CEO &

Chairman Joe Sanderson, Sanderson President & COO Lampkin Butts, Pilgrim’s President & CEO

Bill Lovette, Tyson CEO Donnie Smith, and Tyson Senior Group VP of Fresh Meats Noel White.

   276.        Pilgrim’s President & CEO Bill Lovette (who also was COO of competitor Case

Foods from 2008 to early 2011) presented at the May 17, 2011, BMO Farm to Market Conference.



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Lovette’s presentation noted Pilgrim’s shift away from fixed-rate contracts to market-based

pricing. Pilgrim’s also noted its new focus on matching production to forecasted demand, including

by adjusting head and bird weights at selected plants to better balance supply and customer

demand.

   277.        On June 6, 2011, Cagle’s announced on an earnings call that “[t]he industry must

lower supply in order to offset reduced demand and to support higher market prices. Cagle’s

continues to process at 80 per cent of capacity at its Pine Mountain Valley deboning facility and

does not contemplate any increase in the foreseeable future.”

   278.        On June 7-10, 2011, the USAPEEC held its annual meeting at The Greenbrier

America’s Resort in West Virginia. Defendants’ senior executives attended.

   279.        On approximately June 20, 2011, Tyson begin pulling eggs from its incubators to

reduce Broiler volumes. On June 21, 2011, Cagle’s announced it was laying off 300 employees at

its Pine Mountain Valley, Georgia plant to reduce Broiler volumes.

   280.        On June 27-29, 2011, the US Poultry & Egg Association held a Financial

Management Seminar at the Ritz Carlton in Amelia Island, Florida. Among other presentations,

Pilgrim’s President & CEO Bill Lovette presented to a group of 150 attendees that included senior

executives from Defendants.

   281.        On June 27, 2011, Simmons announced it was laying off 223 employees by August

at its Siloam Springs, Arkansas plant to “shift production to better address soaring corn prices.” In

its press release, Simmons blamed U.S. Ethanol policies for reducing its production. On July 12,

2011, Tyson CEO Donnie Smith, Tyson executive Bernard Leonard (Chairman of the NCC at the

time), Sanderson Farms COO Lampkin Butts, Peco Foods CEO Mark Hickman, and Perdue CEO

Jim Perdue participated in a panel together at the 2011 Food Media Seminar.



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   282.        On July 29, 2011, Pilgrim’s announced the closure of its Dallas, Texas processing

plant and the layoff of 1,000 employees. Pilgrim’s President & CEO Bill Lovette explained that

“[w]hile the decision to close a plant and eliminate jobs is always painful, we must make better

use of our assets given the challenges facing our industry from record-high feed costs and an

oversupply of chicken . . . . A key component of that effort is improving our capacity utilization

through production consolidation and other operational changes. By closing the Dallas facility, we

can consolidate that production volume at three other plants and help those sites run closer to full

capacity.”

   283.        On an August 1, 2011, earnings call, Sanderson Farms’ CEO reportedly said that

Sanderson Farms’ normal fall production cut of 4% beginning in November would remain in place

beyond January of 2012 [and . . .] until demand improves. Sanderson also stated “we aren’t going

to set any more eggs until we pick up a big account or we can’t supply our customers’ needs. We

think demand improvement will require unemployment to drop . . . . It wouldn’t surprise me if the

industry makes further, deeper reductions in egg sets in October or November,” he said. “Nobody

knows what cuts might be needed until we get to October,” “but I think that the cutbacks may need

to be more than the 6% in head that the industry already has in place.”

   284.        On an August 8, 2011, Tyson earnings call, CEO Donnie Smith said that

“[d]omestic availability must be in balance with demand before industry economics can improve.

Tyson continuously strives to match our supply to demand and as a result we made a production

adjustment in the third quarter. . . . Our goal is to match supply to demand. And following

overproduction the industry experienced, we cut production in the third quarter, but those cuts

have not yet impacted the market.”




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   285.        On August 18, 2011, Cagle’s announced it was reducing 20% of its production at

its large Pine Mountain Valley, Georgia plant.

   286.        From October 5-7, 2011, Defendants’ senior executives attended the National

Chicken Council’s 57th Annual Conference. As part of the conference, senior executives from

Perdue and Koch Foods participated in a panel regarding the “new paradigm” in the Broiler

industry. Panel members Clint Rivers (Perdue, President of Foodservice and Supply Chain), Bill

Anderson (Senior Vice President, Keystone Foods), Mike Helgeson (CEO, GNP), and Mark

Kaminsky (Koch Foods COO & CFO) said “the industry is accustomed to cycles, but not one quite

like the latest, and companies are going to need to adjust. Discipline on the supply side was one

suggestion. Getting better prices from retailers was another.”

   287.        On November 17, 2011, Wayne Farms issued a press release announcing the

closure of its Decatur, Alabama plant and layoffs of 360 employees. On a November 21, 2011,

earnings call, Sanderson Farms CEO Joe Sanderson responded to a question about a production

decrease that “when we talk about the 4% number, that is what we project the industry to be.

Obviously, we’re going to be a part of that.”

   288.        On December 6-8, 2011, the USAPEEC held its annual Council members only

winter meeting. Defendants’ senior executives attended the meeting.

   289.        Throughout 2012, Defendants and their co-conspirators continued to meet at trade

association meetings and industry events, giving them the opportunity to discuss the impact of

their collective production cuts and otherwise monitor their conspiracy. In the first quarter of 2012,

for example, Defendants’ top executives attended the National Chicken Council’s board of

directors meeting in Atlanta, which was held in conjunction with the January 25-26, 2012

International Poultry and Processing Expo.



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   290.        At USPOULTRY’s Hatchery-Breeder Clinic in January 2012, Agri Stats Vice

President Donohue noted the importance of reducing Broiler breeder flocks, noting that “if the

industry chose to do so, it could ramp up production within a 10-week period of time. The industry

could blow apart any recover[y] in the short term by filing up incubators again,” but noted that

Agri Stats data indicates the industry is slaughtering breeder flocks at 59 to 60 weeks (instead of

the typical 65 weeks), which suggested to him the industry was managing its production carefully.

The early slaughter of breeder flocks in 2011 through mid-2012 meant that Defendants

subsequently were unable to increase production for at least eighteen months, as they would have

been able to do had they not made cuts so high in the supply chain.

   291.        Defendants’ senior executives attended the January 25-26, 2012, International

Poultry and Processing Expo in Atlanta, Georgia. The National Chicken Council held its Board of

Directors meeting in conjunction with the meeting.

   292.        In early 2012, Sanderson Farms cut its production 4%.

   293.        On March 20-21, 2012, the National Chicken Council Board of Directors met in

Washington D.C. Defendants’ senior executives attended the meeting.

   294.        On an April 27, 2012, earnings call, Pilgrim’s President & CEO Bill Lovette

reported that “the die is cast for 2012,” and that “we’re comfortable that the industry is going to

remain constrained.”

   295.        On April 29-May 1, 2012, Urner Barry held its Annual Executive Conference and

Marketing Seminar. Defendants’ senior executives attended the conference.

   296.        On May 7, 2012, Tyson held an earnings call and announced it had decreased its

production by 4% through longer days between flocks for its growers and by increasing its Buy

vs. Grow program. Tyson noted on its earnings call that “the industry as a whole has reduced



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production pounds by 4% to 6% year-over-year. To help keep our production balanced, we bought

chicken on the open market rather than growing all the birds we needed. We won’t grow a bird

solely for the part in the highest demand because we have to sell the entire bird. Grow versus buy

is a strategy we look at continually based on input costs, revenue demand forecast and the needs

of our customers.” Tyson CEO Donnie Smith also noted on the earning call that “we began to cut

back last year” with respect to egg sets and placements.

   297.        On June 6, 2012, Pilgrim’s announced the layoff of 190 employees at its

Chattanooga, Tennessee deboning plant. The company noted that “[w]hile the decision to reduce

the workforce in Chattanooga was not made lightly, we are confident that these actions will

improve the efficiency of our plant, maintain our mutually profitable relationship with growers,

and strengthen our ability to produce quality poultry products in Tennessee, . . . [but] [t]he

Chattanooga operation remains a vital part of our ongoing strategy.”

   298.        On June 21, 2012, the National Chicken Council Board of Directors held its

summer meeting at the Ritz-Carlton Highlands in Lake Tahoe, California. Defendants’ senior

executives attended the meeting.

   299.        In a July 9, 2012, article, Tyson CEO Donnie Smith was quoted as saying “the

company will not over produce chicken at these expensive grain levels, preferring to buy

commodity pieces in the secondary market to fill orders where necessary.”

   300.        On July 15, 2012, Defendants’ senior executives attended a meeting of the National

Chicken Council’s Marketing Committee at the Stone Mountain Lodge in Stowe, Vermont.

   301.        On an August 6, 2012, earnings call, Tyson CEO Donnie Smith stated that “[o]ver

the past couple of years we have substantially reduced a number of fixed price contracts we have

with customers and currently have less than 15% of our Poultry volume [on] annual fixed price



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contracts. The vast majority of our contracts are tied to specific markets or allow for conversations

about adjusting prices to move – prices to offset higher input and we will continue to push for even

more of these types of contracts. I believe supply will begin to rationalize as well, making it easier

for us to have those pricing conversations.”

   302.        On August 23, 2012, Koch Foods CEO Joseph Grendys gave an interview with

Bloomberg News. He stated that “[c]osts have gone up so much due to the drought that the industry

will be forced to get price increases of 10 to 15 percent across all product lines” for 2013 over this

year. He went on to note that “‘[t]he industry needs to be smart’ and focus on pricing to ensure it

remains profitable . . . . Even if it does become unprofitable in the fourth quarter, the industry may

resume making money after the first quarter of 2013.” The article also mentioned Koch was going

to use quarterly adjustments for price in its contracts for the first time since 2008.

   303.        On August 28, 2012, Sanderson Farms announced a further 2% production cut that

it blamed on corn and soybean prices.

   304.        By September 2012, the effect of Defendants’ earlier production cuts starting in

2011 had begun to lead to increased Broiler prices. Most important to the record profits that were

to come, Defendants had not just cut the number of pounds of Broilers slaughtered, but Defendants

destroyed a significant proportion of their Broiler breeder flocks. As noted previously, doing so

meant that Defendants could not increase Broiler supplies in the short or medium term, even if

they wanted to.

   305.        On October 10-11, 2012, the National Chicken Council held its annual meeting at

The Mandarin Hotel in Washington, D.C. Defendants’ senior executives attended the meeting. The

meeting featured an “Industry Outlook Panel” that included speakers Thomas Hensley (President,

Fieldale Farms) and Paul Fox (CEO, O.K. Foods) and discussed the question of “[w]hat did the



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broiler industry learn from 2011 and how will the industry apply those lessons in 2012 and 2013?”

O.K. Foods CEO Paul Fox’s comments during the panel continued to point to the ethanol mandate

as a pretext for higher Broiler prices, stating “[i]n 2006, the ethanol mandate began to really take

a bite against the protein complex, and since that time on a cumulative basis, we’ve seen about

$31 billion in new costs that have come in to the chicken business.”

   306.           The actions alleged above, taken collectively and not in isolation, demonstrate a

level of coordination and “discipline” not seen in this industry prior to the Relevant Time Period

alleged herein.

   6. Defendants’ 2011-2012 production Cuts Lowered Broiler Breeder Flocks to
      Unprecedented Levels, which Led to Record Profits for the 2013-2014 Time Period.

   307.           Defendants’ cuts to the Broiler breeder flocks in 2011-2012 sent flock levels down

to levels not seen for almost two decades, as shown in the following graph:




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   308.        For much of the remainder of 2012 through 2014, Defendants reaped the benefits

of coordinated supply restraints in the form of rising prices and record profits. During this period

Defendants’ executives repeatedly made statements congratulating industry players on the

“discipline” they had shown by keeping supply restrained. For instance, on a May 3, 2013, earnings

call, Pilgrim’s President & CEO Bill Lovette stated that “[w]ell, obviously, revenue is going to be

a function of price, in part, and in this case a big part; and obviously, price is going to strengthen

as supply continues to be disciplined and constrained . . . . So I think the industry is doing an

admirable job in being disciplined on the supply side and I think we’ve got a combination where

we combine that discipline with strong demand for product and that’s why you’ve seen the pricing

environment that we’re now enjoying.” Lovette also commented that “I believe the industry has

learned over the past three to five years that chicken economics is going to be driven by the supply

and demand of chicken and not necessarily what corn or soybean meal costs. I think I’m confident

to say we’ve, we figured that out and we’re doing a good job of balancing supply and demand.”

   309.        On the May 3, 2013, earnings call, Pilgrim’s President & CEO Lovette also

discussed the importance of continued restraint of the industry’s breeder supply flock, noting

“[w]ell, I only know what we’ve seen happen in the past. Now, certainly, this summer if the

industry chooses to grow the breeder supply significantly, that’s definitely going to impact 2014.

What I’m saying is, so far, we’ve seen no indication that the industry plans to grow the breeder

supply and as a matter of fact, it’s actually shrunk. So that’s the source of my comments. Do I

know what’s going to happen in June or July or August of this year with respect to breeder

placements, I don’t know that. I would tell you that based on the last three to five years, though,

again, I’ll reiterate that I think the industry has learned that the economics of our business is tied




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very closely to the supply of chickens and we’ve done a good job so far of maintaining discipline

such that even paying nearly $8.50 for corn, we’ve been able to be profitable as an industry.”

   310.        On October 4, 2013, CEOs and other senior executives of Defendants’ companies

met at the annual NCC meeting in Washington D.C. The meeting featured a panel with GNP CEO

Mike Helgeson, Tyson CEO Donnie King, and Simmons Foods CEO Todd Simmons. According

to one publication’s account of the panel, the CEOs were “chipper about the prospects for their

industry in the next few years.” This meeting was also attended by Keystone Foods executive Tim

Esslinger.

   311.        On a January 31, 2014, earnings call, Tyson CEO Donnie Smith reported that

through Tyson’s “buy versus growth strategy we continue to keep our supply short of demand . . .

.” Tyson’s continued use of Buy vs. Grow, including through the present, allows Tyson and other

Defendants to reduce production on a month-to-month basis and have opportunities to learn more

information about one another’s production and pricing.

   312.        On a February 21, 2014, earnings call, Pilgrim’s President & CEO Bill Lovette

reflected on what had led to record earnings for Pilgrim’s. He noted that “I think the one thing that

creates…has created that stability is the discipline of the industry to not allow profitability in the

past to drive supplies in the future. I think we all have an understanding that our industry is mature,

especially in the U.S. Consumption of total meat in the last five years has not grown and our growth

in the future is going to come from markets outside the U.S. And so, we have a different model

today than we had 15…10 or 15 years ago in that consumption in this country is not growing as

robustly as it used to. And I think that discipline really, Ken, is the one ingredient that has made

for more stable earnings that we have seen. We have certainly seen a lot of volatility in feed

ingredient costs, even as recent as this past year. And I don’t know what…I mean you can make a



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solid argument for corn and soybean meal being much cheaper in 2014 and ‘15, given the

rebuilding of world inventories of corn and growing inventories of soybeans. But we just don’t

know what the next weather event in either, South America, North America or even Eastern Europe

may present in terms of the supplies of those feed ingredients.”

   313.        On March 12, 2014, Tyson CEO Donnie Smith attended an industry conference

and told the attendees that “[a] ‘meaningful change’ in bird production won’t occur until the second

half of 2015.” Smith’s confidence about broiler production was possible because of the radical

reductions in Broiler breeder flocks Defendants had made during 2011 and early 2012, which

Smith knew made it impossible for Defendants to “meaningful[ly] change” Broiler production.

   314.        Industry analysts noted the change in the nature of Defendants’ production cuts. On

May 6, 2014, a Stephens, Inc. analyst said in an interview that historically “it has been very easy

to increase the chicken supply because the cycle is so short. It only takes four to eight weeks to

grow a chicken, but U.S. chicken producers are having a hard time increasing the chicken supply

by much. They cut production capacity throughout the supply chain when grain prices were very

high. Because of this, they cannot materially increase supply for 2014. We likely won’t see a

material increase in production until the second-half of 2015.”

   315.        During 2013 and into 2014, Defendants continued to find ways to actively depress

the size of Broiler hatchery flocks, such as using the pretext of avian flu in Mexico to justify

exporting hatchery flock Broilers to Mexico to repopulate flocks rather than use such Broilers to

increase domestic production levels. Indeed, Defendants continued their program of exporting

Broiler hens and eggs to Mexico in 2015, with Tyson explicitly noting in a May 4, 2015, earnings

call that it was sending 3% of its eggs to Mexico to “fill incubators.” Similarly, during a July 2016

earnings call, Pilgrim’s CEO Bill Lovette noted his “confidence that we’re going to do the right



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thing with respect to maintaining [] discipline. We’ve certainly had the hatching egg supply to

grow much more if we chose not to export those eggs. I think in May we exported 81 million

hatching eggs or so outside of the country. The industry could have chosen to set some of those

eggs domestically, but that was not the choice that was made. And so again that gives us confidence

that we’re going to continue to be disciplined as an industry.”

   316.        Defendants’ coordinated exportation of Broiler hatching eggs from the U.S. from

2013 through the present is an active effort to artificially reduce the supply of Broilers in the U.S.

below what it would be absent Defendants’ active and continued participation in an illegal antitrust

conspiracy. Upon information and belief, Tyson and other Defendants exported hatching eggs to

Mexico and other foreign countries from 2013-2016 to artificially reduce the supply of Broilers in

the U.S. and increase the price of Broilers in the U.S. The value Tyson and others received for

exporting hatchery eggs to Mexico would have been far exceeded by the price Tyson would have

received for hatching those same eggs in the U.S. and selling the resulting Broiler meat in the U.S.

market. Therefore, but for Defendants’ agreement and conspiracy as alleged in this Complaint, it

would have been against Tyson’s independent economic self-interest to export hatching eggs to

Mexico and to forgo higher hatching egg prices in the United States. But Defendants’ new-found

discipline ameliorated any remaining risk and resulted in higher U.S. broiler prices.

   317.        According to an October 1, 2014, CoBank analysis of the Broiler industry, the

strategy of Defendants to target Broiler breeder flocks paid dividends during 2013 and 2014.

According to the report, “[b]roiler product demand should remain robust through the rest of this

year and well into 2015, bolstered by a gradually improving domestic economy, continued strength

in export demand, and the towering prices of beef and pork. Broiler production, however, has been

slow to respond, with integrators having had problems expanding the number of chicks placed for



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growout. Broiler meat production is on track to grow just 1.5 percent in 2014 from a year ago, with

a similarly modest gain expected for 2015. Producers have been somewhat constrained in their

attempts to expand the nation’s chicken flock by the limited supply of broiler hatching eggs. When

the broiler-producing industry reduced production in 2011 and 2012, the hatchery supply flock

was also reduced, and it has not yet been rebuilt to prior levels. Following seven months of [Year-

over-Year (“YoY”)] declines, the number of chicks placed for growout finally posted a modest 1

percent YoY gain in August. However, it will take another 6-9 months for integrators to rebuild

the supply of broiler hatching eggs in preparation for expanding the overall flock, so significant

growth in broiler production will not materialize until late-2015 or early-2016.”

   318.        The October 2014 CoBank report also noted the effect of these production cuts,

stating that wholesale prices for chicken “have risen to unusually high levels.”

   319.        On October 10, 2014, NCC President Mike Brown wrote an op-ed in The National

Provisioner. The title of Brown’s article, “Biofuel policy holds back production ramp-up,”

continued to blame the Broiler industry’s boogey man of the Renewable Fuel Standard (aka the

ethanol mandate) instead of Broiler producers’ collusive agreement to not increase production in

line with demand. Brown wrote, “current favorable market conditions would normally stimulate

production to be somewhat higher, that is, a percentage more aligned with the long-run annual

average of 4 percent. So why are chicken producers not stepping up production to better match the

long-term average of 4 percent? We would if we could, but we can’t. We would like to produce

more pounds of chicken, but unfortunately we are not there yet. The primary reason for the

industry’s inability to increase production can be attributed to problems caused by a failed policy”

of the Renewable Energy Standard. Brown also went on to blame fertility issues in the breeder




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stock and a propane shortage that made it difficult to heat chicken houses as other reasons the

industry could not increase production.

   320.        On October 29, 2014, Simmons Foods announced the closure of its Jay, Oklahoma

spent hen processing plant. Spent hens are Broiler breeders that have reached the end of their

productive life cycle. The Simmons facility processed spent hens on behalf of many Defendants,

providing Simmons with opportunities to monitor changes in other Defendants Broiler breeder

supplies. The closure of Simmons’ Jay, Oklahoma facility is indicative of the reduced Broiler

breeder capacity resulting from Defendants’ initiatives to cut Broiler breeder capacity across the

industry.

   7. Avian Flu Disrupted the Export Relief Valve During 2015, but Prices and Profitability
      Remained Relatively Stable into 2016.

   321.        Signs in late 2014 began to point towards the possibility of rising production levels.

A few Defendants announced production cuts, but due to the substantial reductions in Broiler

breeder flocks Defendants had already taken, Defendants’ production was already constrained.

Defendants undertook various affirmative acts in furtherance of the conspiracy, including

exporting of hatching eggs outside the U.S., inter-Defendant purchases in furtherance of

Defendants’ conspiracy such as Tyson’s Buy vs. Grow program, breaking eggs rather than setting

eggs, dumping of excess Broiler supply in foreign markets, closing Broiler production facilities,

and manipulating at least one Broiler price index.

   322.        For example, Tyson announced on May 4, 2015, the closure of its Buena Vista,

Georgia, Broiler plant as part of an ongoing effort to “increase efficiencies.” Tyson also announced

it was eliminating one shift at its Dawson, Georgia plant. Tyson announced in May 2015 that it

planned to reduce its production after July 2015 and keep production flat through 2016 by

increasing its Buy vs. Grow purchases.

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   323.        In addition to the continuation of Defendants’ illegal supply restriction that

artificially increased the price of all Broilers, around January 2015 the Georgia Dock price index

began to deviate significantly from other price indices.

   324.        As alleged above, due to the GDA’s One Cent Rule, it was not possible for only

one or two Broiler companies to report a significantly higher Broiler price to the Georgia Dock

without being disregarded as outliers by the GDA. Accordingly, on information and belief,

Plaintiff alleges that Defendants began collectively reporting prices to the GDA that not only were

identical or nearly identical, but also were significantly above the actual market rate. As a result,

Georgia Dock prices continued to rise and later stabilize during 2015-2016 at near historic highs.

As described further in this Complaint, it was not until a series of articles was published between

November 3, 2016 and November 17, 2016 that information was publicly available to show

Defendants may have fixed the Georgia Dock price.

   325.        During 2015, despite the devastation Avian Flu caused to the turkey and table egg

industries, the Broiler industry was largely unaffected by the disease, with the primary effect being

temporary bans on exports from some specific states or of all Broiler exports from the U.S. to

various countries, such as China, Korea, and a number of other nations.

   326.        Avian Flu-related export limitations during 2015 caused frozen Broiler inventories

to build up in the U.S., threatening the stability of Broiler prices Defendants had worked so hard

to increase since 2008. In response, Defendants worked in concert to coordinate the dumping of

excess inventories of Broilers in foreign markets to avoid deterioration of the artificially high

prices in the U.S. resulting from Defendants’ conspiracy. For instance, in early October 2015,

Vietnam launched an inquiry into dumping by U.S. Broiler producers after Vietnamese Broiler

producers determined that dumping of frozen chicken by U.S. producers had cost it over $120



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million in the last 16 months. A report by Vietnam’s Southeast Livestock Association concluded

that U.S. Broiler companies were selling chicken thighs in Vietnam for 29% of the price of a

similar product sold in the U.S. market (e.g., at a Walmart), excluding the additional cost of frozen

shipping rates, import duties and other fees associated with U.S. producers selling chicken thighs

in the Vietnamese market. By late May 2016, Sanderson Farms CEO Joe Sanderson reported on

an earnings call that all but one of the Avian Flu export bans had been lifted.

    327.        In late 2015, Broiler industry analyst Heather Jones noted that chicken supplies had

not increased as expected from the Avian Flu due to the fact Defendants had started breaking eggs

rather than setting eggs. Defendants coordinated the breaking of eggs with one another during

2015, in part, by the exchange of production information through Agri Stats.

    328.        Watts PoultryUSA’s March 2016 issue noted that Tyson Foods achieved “record

earnings and sales in fiscal year 2015 . . . posting $40.6 billion in sales, including ringing up higher

chicken sales. Yet, Tyson lowered chicken production in 2015. What’s at work here? This

paradoxical performance, in part, reflects the fact that Tyson, along with other top U.S. broiler

companies, is redefining its business model to achieve profitable growth.” In fact, the explanation

for Tyson’s “paradoxical” 2015 performance—including increasing its Broiler profits but lowering

its Broiler production—was the result of the illegal conspiracy alleged in this Complaint.

    329.        Prices during the first half of 2015 remained relatively flat, which led NCC

President Mike Brown to write another op-ed in The Wall Street Journal on May 15, 2015, to try

to explain why Broiler prices remained so high. Like his previous op-ed, he again blamed the

Broiler industry’s typical boogeyman – the Renewable Fuel Standard – for increased Broiler

prices.




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   330.        During 2016, Broiler prices have declined, but significantly less so than input costs.

Defendants have maintained artificially high Broiler prices and high profitability during 2016 by

exercising “discipline” on their Broiler supply and manipulating at least one Broiler price index.

For instance, during an April 2016 earnings call, an analyst noted that Pilgrim’s CEO Bill Lovette

“mentioned that you think the industry domestically has been much more disciplined than they

have been in the past, I’m wondering if you could just elaborate a little bit more on what sort of

drives that view and then maybe what gives you confidence that this discipline will hold.” Lovette

responded, “[w]hat drives the view is the actual numbers that we see, ready to cook pounds are up

about 3.1% year to date. If you look at placements year to date, they’re up 1%, egg sets up 0.7%,

hatchery utilization actually declined in Q1 to 91%. So in the phase of coming off two of the most

profitable years in the industry, we’re not seeing, not realizing large amount of production

increases.” Tellingly, Pilgrim’s CFO Fabio Sandri added immediately after Lovette’s comments

that “what drove that I believe it is that industry is more geared towards profitability rather than

just market share or field growth.” Put another way, Defendants are no longer competing with one

another to gain market share by growing their companies as one would expect in a competitive

market, but instead Defendants are working collectively to increase profitability by being

“disciplined” in terms of supply growth.

   331.        Other CEOs have also been forced recently to try to explain the marked shift in the

Broiler industry’s profitability in recent years, after the decades’-long pattern of boom and bust

regarding Broiler pricing and profitability. During a February 2016 Sanderson Farms earnings call,

BMO Capital Markets analyst Ken Zaslow noted the Broiler industry’s history of volatility in

pricing and profitability for chicken companies and questioned if there was “any changing of the

industry dynamic” that had occurred. Sanderson Farms CEO Joe Sanderson replied “we might be



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at a capacity wall, you know? . . . Since back in 2007 . . . there are three or four plants shuttered .

. . It does feel different.”

    332.         A January 18, 2016, article in The Wall Street Journal questioned whether

Defendants, including Tyson, Sanderson Farms, Pilgrim’s, and Wayne Farms, have intentionally

manipulated the pricing data they report to the Georgia Department of Agriculture. As discussed

above, in early November 2016 evidence became public suggesting that the Defendants may be

fixing the Georgia Dock price.

    333.         During 2016, Defendants’ profitability has also been aided, in part, by the fact that

input costs have decreased substantially, though Broiler prices have not experienced a similar

decline. During a Broiler industry conference in February 2016, industry analyst Dr. Paul Aho

reported that overall profitability has remained steady or increased, as input costs have drastically

decreased. Aho noted that during 2016 there have been “broad-based declines in key commodities,

especially feed grains and energy.” In fact, in May 2016 Tyson posted record quarterly growth,

with profit margins for Broilers rising to between 9 and 11 percent.

    334.         Not only is the harmony among Defendants and resulting high profit margins

achieved by Tyson and other Defendants in recent years remarkable, so is their fairly recent ability

to accurately predict their profit margins into the future. For instance, before 2008, Tyson had

profit margins in the 5-6% range and would not predict future profit margins, but after 2008, Tyson

would routinely predict record margins of 13% or more with surprising accuracy.

    335.         Defendants have also kept up the use of signals to one another to perpetuate their

conspiracy during 2016 by using the code word “discipline” to note their continued adherence to

Defendants’ conspiracy. For instance, during a February 2016 earnings call, Pilgrim’s CEO Bill

Lovette noted that “[t]he industry continues to be disciplined in terms of U.S. supply. Although



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monthly pullet data tend to be volatile and have occasionally been at the high end of our

expectations, we see modest growth of the breeder flock, and more importantly, little to no increase

in egg sits [sic] and chick placements as a positive. We believe that at least part of the reason is

because chicken producers are being disciplined and are much quicker to react than in the past and

in adjusting supply growth to the actual market conditions.” Similarly, in a July 2016 earnings call,

Pilgrim’s CEO Bill Lovette noted that “I think what we’ve seen with egg sets is absolutely a

testament to the discipline of our industry that we’ve seen the last really two to three years.”

   E. The Structure and Characteristics of the Broiler Market, Together with Other
      Factors, Render the Conspiracy Economically Plausible.

   1. The Broiler Industry is Highly Vertically Integrated.

   336.        The Broiler industry is almost entirely vertically integrated, with Broiler-processing

firms owning or tightly controlling almost all aspects of production, processing, and marketing. In

the Broiler industry, “vertical integration” means the Broiler company owns or controls each

aspect of breeding, hatching, rearing, feeding, basic processing, and selling of Broilers. Many

integrated Broiler companies also own further processing plants.

   337.        Because Broiler producers have determined over time that the economics of

growing chicks into full size Broilers are unfavorable, the Broiler industry has developed a system

of production-contract farming. The integrated producers provide the feed and chicks to farmers

(which remain under ownership of the integrated producer); the contract farmer then has roughly

6-7 weeks to grow the chicks into full size Broilers. During this “grow out” period, the integrated

producer’s employees frequently monitor the Broilers. Once fully grown, Broilers are picked up

by the integrated producer and brought to an integrator-owned processing plant (aka,

slaughterhouse). Some of the Broilers are sold without any further processing, while other Broilers




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are further processed by integrated companies into value-added specialty products (e.g., chicken

nuggets, etc.).

    338.          The graphic below indicates the key stages of Broiler production that vertically

integrated chicken companies’ control, which are all those points in the production process which

provide integrated chicken companies complete control over supply and allow them to capture the

greatest profit margin:




    339.          According to a paper prepared in connection with the USDA and DOJ’s failed effort

to increase competition in the Broiler industry in 2010, “[c]ontrol over the number of birds

delivered to the processing plants allows processors to match more closely inputs to plant

capacities and lower per-unit processing costs, as well as to better meet consumer requirements.”


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In connection with the same effort by the USDA and DOJ, a former expert witness for Defendant

Tyson, Michael Dicks, wrote, “[i]n the poultry industry vertical coordination allows integrators to

manage excess capacity to manage price. Integrators can minimize the effect on producers by

increasing the time between collection and delivery of birds or reducing the number of flocks per

year rather than terminating grower contracts in much the same way the USDA requires all

commodity program recipients to adhere to acreage reduction program guidelines and grower

associations require members to cut back marketable output.”

   340.        Modern Broiler producers rely on a handful of unique Broiler breed lines to mass

produce essentially identical chickens with desirable genetic traits. Genetics companies, which

develop strains of grandparent and great-grandparent breeding stock, sell to integrated Broiler

producers breeders that have special hybrid characteristics, such as a tendency to produce a large

chicken breast. Genetics companies create a “biological lock” on their unique Broiler lines by

tightly controlling the purebred genetic strain that they develop. After an integrated producer

purchases young breeder hens (aka “breeder pullets”) from a primary breeder, the integrated

producer raises the birds to be breeders that lay eggs to be taken to incubators at an integrator-

owned hatchery. The chicks from Broiler company hatcheries are then sent out to the integrated

producer’s contract-farmers to raise into adult Broilers.

   341.        At present, no Broiler company except Tyson owns the genetics or produces the

grandparent or great-grandparent strain for the Broilers it raises and slaughters. Nearly all U.S.

producers now rely on 3 global genetics conglomerates: Cobb-Vantress (owned by Tyson),

Hubbard, and Aviagen. These three companies supply the breeder stock, and therefore ultimately

the Broilers, that account for 98% of Broilers raised in the U.S. and 80% of Broilers raised globally.

While there were 26 Broiler genetics companies world-wide in 1981, acquisitions by the three



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remaining companies have essentially eliminated any other meaningful competitors in the U.S.

Tyson’s Cobb-Vantress subsidiary has approximately 50% market share.

   342.        Since a supply of primary breeders is essential to each Broiler producer’s business,

Tyson’s ownership and control of subsidiary Cobb-Vantress provides it with exceptional leverage

over other Defendants to mandate compliance with Defendants’ illegal agreement. Tyson can offer

other Defendants the carrot of access to Cobb-Vantress’ unique Broiler genetic lines, with

desirable qualities like high conversion rates of feed into meat. However, Tyson can also use Cobb-

Vantress as a stick against any competitor who Tyson and/or its co-conspirators believe is

overproducing Broilers by providing such competitors inferior, sick, or an insufficient number of

breeder pullets, or withholding breeder pullets altogether that the competitor needs to operate a

profitable business.

   343.        Perdue was the last Broiler integrator in the U.S. to maintain its own genetics

research company besides Tyson, but Perdue sold its genetics company to Tyson in 2014. In

announcing the sale, Perdue issued a press release that stated “there are no longer significant

advantages to having our own breed . . . it is important that we have the flexibility to select the

breeder combination that works best for each specific customer requirement.” The press release

went on to note that “[w]ith the outstanding exception of the Cobb-Vantress enterprise owned by

Tyson Foods, no producer has managed to effectively compete using an in-company breeding

program against a multinational primary breeder. To be cost effective a genetics program based

on index selection incorporating the measurement of significant traits and applying sophisticated

molecular markers and field testing requires a magnitude of scale exceeding the capacity of

individual producers.”




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   344.        Upon information and belief, Defendant Tyson, through its Cobb-Vantress

subsidiary, intentionally manipulates the supply of grandparent and great-grandparent Broiler

stock (from which it suppliers integrators with Breeder pullets) including, but not limited to, only

providing healthy and high quality breeder pullets to certain of its co-conspirators, but providing

inferior and sick quality breeder pullets to other smaller non-Defendant Broiler producers. This

practice contributed significantly to the bankruptcy or failure of a number of smaller Broiler

companies in the 2010 time period.

   2. The Market for Broilers is Characterized by Inelastic Supply and Demand.

   345.        According to a May 2010 paper written by Broiler industry consultant Michael

Dicks, “[b]ecause of the inelastic nature of the supply and demand [of Broilers,] a reduction in

supply will produce an outcome more preferable to the industry than maintaining supply with a

lower price.” A study by consultant The Hudson River Group for Pilgrim’s in 2008 found that a

one percent decrease in the supply of Broilers leads to a 0.8% increase in the price of Broilers. In

other words, demand for Broilers is inelastic, so a decrease in supply will increase prices.

   346.        Defendants acknowledge that supply and demand in the Broiler industry is

inelastic. For instance, in his May 2010 paper, Broiler industry consultant Michael Dicks wrote

that “[a]ttempting to maintain supply levels would reduce price to levels unsustainable even in the

short run. Because of the inelastic nature of the supply and demand a reduction in supply will

produce an outcome more preferable to the industry than maintaining supply with a lower price.”

   347.        Broiler producers have asserted in public statements that changes in wholesale

Broiler prices have been due to changes in “supply and demand.” However, demand for Broilers

has been flat since 2008, while at the same time wholesale Broiler prices have risen roughly 50%.

Therefore, it is the reduction in the supply of Broilers that has led to Broiler price increases.



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   3. There are No Significant Substitutes for Broilers

   348.        Pork and beef are the most likely alternative sources of protein to Broilers, but pork

and beef are not economic substitutes for Broilers. Numerous studies have found that the cross

elasticity of demand between Broilers, beef, and pork is either negative or statistically

insignificant, meaning that pork and beef are complements to Broilers, but not substitutes.

   349.        The historically high spread between the price of pork and beef versus Broilers

since 2008 has also reduced any possibility of substitution of Broilers with pork or beef.

   4. The Broiler Industry has Experienced High Consolidation and is Highly
      Concentrated.

   350.        According to a November 2013 USDA report, “[d]uring the past 16 years, firms in

the Broiler industry continued to decrease in number and grow in size, thereby gaining further

economies of scale and scope in processing and marketing. According to the National Chicken

Council, 55 federally inspected Broiler companies operated in 1995, compared with 41 companies

in 2010.” By 2014, there were only 35 such companies.

   351.        In fact, the trend towards consolidation among all segments of the Broiler industry

goes back decades, as shown below. This consolidation has largely squeezed out the large number

of smaller Broiler companies that used to represent a significant portion of Broiler industry

production.




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   352.        As of 2015, Defendants controlled 88.8% of Broiler production in the United States.

Since the start of the Relevant Time Period, there has been surprising stability in market share for

each Defendant. The two exceptions are Pilgrim’s loss of market share due to its large plant

closures during bankruptcy in 2008-2009 and Koch Foods’ increase in market share due to the

purchase of a plant from Tyson and purchase of bankrupt Cagle’s, Inc.




   353.        In addition to formal consolidation among Defendants, increased antitrust scrutiny

of acquisition in the Broiler industry by the U.S. Department of Justice has led Broiler companies

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to increasingly rely on de facto consolidation whereby Defendants acquire nearly complete control

over seemingly independent smaller Broiler companies. Defendants’ de facto consolidation creates

“zombie” Broiler companies that on paper are separate and independent entities, but are in fact

completely controlled by Defendants through co-packing contracts. For instance, Tyson Foods has

co-packing arrangement with many smaller Broiler producers in which Tyson purchases either (1)

the company’s entire production of Broilers (including dark meat) or (2) all of the company’s white

meat (i.e., chicken breast and wings) and encourages the company to export the less valuable dark

meat to remove that supply from the United States market.

   354.        Upon information and belief, Defendants’ co-packing contracts with smaller

producers are typically 2-5 years in length. Even where the co-packing arrangement is only 10-

20% of a smaller producer’s overall supply, Defendants are in a position to pressure smaller

producers to limit their production. Co-packing contracts give Defendants unprecedented control

over supposedly independent producers, including control over the breed of bird grown, what feed

can be used, how many birds can be grown, and numerous other aspects of raising Broilers. With

respect to processing, Defendants not only require exacting specifications for co-packing partners,

but also put Defendants’ own employees in the processing plants of their co-packers and supervise

every significant detail of the slaughter and packing process.

   355.        Upon information and belief, the purpose and/or effect of Defendants’ co-packing

arrangements is it avoids scrutiny from antitrust regulators that would come with formal merger

arrangements, including possible discovery of Defendants’ anti-competitive agreement to reduce

the supply of Broilers in the U.S.

   5. The Broiler Industry has a History of Government Investigations and Collusive
      Actions.




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   356.        In response to a Federal Trade Commission investigation in 1919 which found

oligopoly domination and anti-competitive monopolistic behavior in the meat-packing industry,

Congress passed the Packers and Stockyards Act (“PSA”). See 7 U.S.C. § 193(a), § 209. Congress

amended the law to include the poultry industry in 1935.

   357.        In 1922, the Supreme Court upheld the constitutionality of the PSA in Stafford v.

Wallace, finding that “the object of the PSA was to secure the flow of livestock from the farms

and ranges to the slaughtering center and into meat products unburdened by collusion that unduly

lowered the prices to the shipper and unduly increased the price to the consumer.”

   358.        In April 1973, the United States Department of Justice filed a civil antitrust action

against the National Broiler Marketing Association (“NBMA”) alleging the NBMA and its

members conspired to fix Broiler prices and restrict Broiler production in violation of Section 1 of

the Sherman Act. The DOJ sought to enjoin the NBMA and its dozens of members from continuing

a conference call program where members (and even some non-members) coordinated the pricing

and production of Broilers. In response, numerous private civil antitrust actions were filed against

the NBMA and 42 individual defendants in the In re Chicken Antitrust Litigation case. The NBMA

and Broiler producers eventually settled the case, resulting in a settlement of roughly $30 million.

   359.        Beginning in 2010, the USDA undertook a series of public workshops to explore

competition issues in the upstream, contract-farmer Broiler market. A workshop held in Normal,

Alabama, on May 21, 2010, focused on corporate concentration and lack of competition in the

Broiler industry. The workshops led to the proposal of new rules aimed at encouraging competition

in the meat industry, but extreme political pressure from Defendants and their allies eventually

watered down the rule and led to the resignation of the official charged with imposing tougher

regulations.



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   360.        In 2011, George’s Inc. acquired the Harrisonburg, Virginia processing plant from

Tyson Foods. The DOJ brought an action to stop the acquisition, which alleged the purchase would

impermissibly reduce the available options for contract farmers to sell their grower services. The

DOJ eventually settled with George’s in June 2011 after obtaining an agreement to require

George’s to make capital improvements to the facility that would increase its capacity and permit

contract farmers to sell more grower services to the processing plant. According to a June 2014

USDA Report, “the [Broiler] industry faces a range of public policy issues, [including] competition

. . . . [c]oncerns[, including] the exercise of market power by Broiler integrators have prompted

merger litigation, USDA regulatory initiatives, congressional proposals, and investigations by

Federal agencies.”

   361.        Numerous cases in recent years have documented the lack of competition in the

contract-farmer Broiler market, which while upstream in the supply chain from the Plaintiff’s

direct purchaser market, suggest an absence of true competition and instead suggest a practice of

coordination and collusion among Defendants. In cases such as Adams v. Pilgrim’s Pride, No.

2:090-cv-00397 (E.D. Tex.), Been v. O.K. Industries, No. 08-7078 (E.D. Okla.), and Wheeler v.

Pilgrim’s Pride Corp., No. 5:06-cv-00004 (E.D. Tex.), contract-farmers have alleged violations of

the Packers and Stockyards Act by integrated Broiler producers.

   6. Defendants had Several Opportunities to Collude.

   a. Trade Associations.

   362.        The existence of industry trade associations makes a market more susceptible to

collusive behavior because they provide a pretext under which co-conspirators can engage in

anticompetitive conduct. Industry trade associations also provide mechanisms for sharing

information, and monitoring, deterring, detecting and punishing cheating. The following U.S.



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chicken industry trade associations, all of which count all or nearly all Defendants as members,

allowed Defendants to coordinate their price-fixing and supply restriction conspiracy: National

Chicken Council, United States Poultry & Egg Export Council, U.S. Poultry & Egg Association,

Georgia Poultry Federation, North Carolina Poultry Federation, and Poultry Federation

(representing chicken producers in Arkansas, Missouri and Oklahoma). Indeed, according to

Communications in Poultry Grower Relations: A Blueprint to Success, a book written by Larry

Cole, a management consultant affiliated with the U.S. Poultry & Egg Association,

“representatives from the various [chicken producers] readily share information while attending

the numerous seminars offered by the U.S. Poultry & Egg Association, National Chicken Council,”

and other trade groups, further noting that “industry leaders realize the industry’s tremendous

potential, and their spirit of cooperation is based on knowing that which is good for individual

companies is good for the industry.”

   363.        Defendants are members of several Broiler-related trade associations and other

forums, which they used to facilitate their conspiratorial conduct. Integrated Broiler producers

have numerous regular events through which they can communicate in person with one another.

Regular and frequent attendance by Defendants’ CEOs and top level executives at trade association

meetings is the norm rather than the exception.

   364.        According to its website, “[t]he National Chicken Council represents integrated

chicken producer-processors, the companies that produce, process and market chickens. [The 40]

member companies of NCC account for approximately 95 percent of the chicken sold in the United

States.” The CEOs of the top integrated Broiler producers are routinely on the board of directors

and meet at least quarterly with one another through the NCC.




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   365.       The NCC has three annual board meetings attended by Defendants’ senior

executives, including most or all Defendants’ CEOs and other top executives. Every Defendant

and Co-Conspirator is a member of the NCC, including Mar-Jac, Claxton Poultry, Harrison

Poultry, Case Foods, Keystone, Amick, and Allen Harim. CEOs generally always attend the

following three NCC meetings each year, in addition to special committee meetings or other

special NCC events: (a) the January meeting of the NCC held along with the International Poultry

Expo, (b) the mid-year Board of Directors meeting, and (c) the NCC Annual Meeting in October.

Generally, CEOs arrive the night before an NCC meeting and socialize with their colleagues, then

have small private dinners with one or more of their competitors’ CEOs or top executives. The

next day, the formal NCC meetings are held and executives from Agri Stats and other allied

industry organizations make presentations at the meeting. A formal lunch is held during the

meeting and provides CEOs and top executives and opportunity to talk casually with their

competitors. Following the meeting, Defendants’ CEOs and top level executives often meet,

socialize and golf, hunt, or fish together. Amick President and CEO Ben Harrison, who served on

the NCC Board of Directors throughout the Relevant Time Period, is currently the NCC’s

Chairman. Similarly, Allen Harim President and CEO Robert Turley served on the NCC Board of

Directors throughout the Relevant Time Period and regularly attended its meetings. Thomas

Shelton, Chairman and CEO of Case Foods, has continuously been a member of NCC since 1988

through the Relevant Time Period serving on the Board of Directors and as President during that

time. Numerous executives of Keystone Foods, including Jeff Bailey (Director of National

Account Sales), Jenelle Duncan (Domestic Sales Manager), Chuck Cooper (Senior Director

Supply Chain), Charles Hill (VP Sales & Marketing), and Keith Lewis (former Senior Vice




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President for U.S. Poultry and Fish), were also members of the NCC during the Relevant Time

Period.

   366.        Upon information and belief, CEOs and top level executives from Defendants and

Producer Co-Conspirators discuss topics with one another relating to pricing, production, and other

non-public, proprietary information outside of NCC’s formal meetings at the informal settings

surrounding NCC meetings described above. These regular, informal, and in-person opportunities

to discuss pricing and production in the Broiler industry gives CEOs and top level executives

comfort that their competitors remain committed to a plan to artificially restrict Broiler production.

   367.        The United States Poultry & Egg Export Council (“USAPEEC”) has its home office

in Stone Mountain, Georgia. Defendants are all members of USAPEEC. USAPEEC has a network

of international offices and consultants in key export markets. The mission of USAPEEC is to

promote exports of U.S. poultry and eggs around the world. The group has evolved into an

association that is an advocate for the industry on trade policy issues. USAPEEC has about 200

member companies and organizations. USAPEEC holds Board of Directors meetings quarterly

and includes executives from all or nearly all Defendants and co-conspirators.

   368.        The U.S. Poultry & Egg Association (“U.S. Poultry”) describes itself as the world’s

largest and most active poultry organization. U.S. Poultry’s members include producers and

processors of Broilers, turkeys, ducks, eggs and breeding stock, as well as allied companies.

Defendants and Producer Co-Conspirators are all members of U.S. Poultry. U.S. Poultry holds

regular Board of Directors meetings each quarter during January, March, June, and each fall.

   369.        The Georgia Poultry Federation “is a non-profit trade association which represents

the poultry industry in Georgia, the nation’s leading broiler producing state. The Federation was

founded in 1951, and since that time has represented the interests of the entire poultry industry at



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the state and federal level on legislative and regulatory matters.” The Georgia Poultry Federation’s

mission is “[t]o protect and improve the competitive position of the poultry industry in Georgia,

the nation’s leading poultry producing state.” The Georgia Poultry Federation has regular meetings

each April, August, and September which typically are attended by Defendants’ senior executives.

Defendants House of Raeford, Perdue, Fieldale Farms, Wayne Farms, Tyson, Sanderson Farms,

Pilgrim’s, Mar-Jac Poultry, Harrison Poultry, and Claxton Poultry, and Producer Co-Conspirator

Keystone Foods, are members of the Georgia Poultry Federation.

   370.        The North Carolina Poultry Federation “has been the voice of the North Carolina

poultry industry since 1968.” The mission of the North Carolina Poultry Federation “is to create a

favorable climate for business success for everyone involved in the poultry industry in North

Carolina.” The North Carolina Poultry Federation holds regular meetings each year, including

annual meetings and Board of Directors meetings which typically are attended by Defendants’

senior executives. Defendants Tyson Foods, Perdue, Mountaire Farms, House of Raeford, Wayne

Farms, Sanderson Farms, and Pilgrim’s, and Case Foods are each members of the North Carolina

Poultry Federation.

   371.        The Poultry Federation was established in 1954 as a non-profit trade organization

to represent the poultry and egg industries in Arkansas, Missouri, and Oklahoma. In 1998, the

Arkansas, Missouri, and Oklahoma organizations were consolidated and became The Poultry

Federation. The Poultry Federation claims to promote all poultry interests relating to production,

distribution, merchandising, and consumption of poultry, and poultry products. It disseminates

information relating to the various phases of the Broiler industry to improve and expand markets,

to increase efficiency in production and marketing, and to encourage and support research in

production and marketing of poultry. The Poultry Federation holds regular meetings each year,



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including Board of Directors meetings with Defendants’ senior executives identified below.

Defendants Foster Farms, O.K. Industries, Inc., Pilgrim’s, Simmons Foods, Peco Foods, Tyson

Foods, George’s, Inc., and Wayne Farms are each members of the Poultry Federation.

   372.        The International Poultry Expo (“IPE”) was held annually from 2008-2012. The

IPE billed itself as “the networking hub of the world for the poultry industry.” The IPE was held

annually in late January in Atlanta, Georgia. Defendants’ senior executives, and numerous

midlevel executives and other employees, attended the IPE each year. The International Producers

and Processors Expo (“IPPE”) is the world’s largest annual poultry, meat, and feed industry event.

IPPE held its first event in January 2013 and combined three previously separate expos – the IPE,

the International Feed Expo, and the International Meat Expo. According to the IPPE’s website, a

wide range of international decision-makers attend this annual event to network and become

informed on the latest technological developments and issues facing the industry. The 2015 IPPE

featured more than 7,245 international visitors from over 103 countries, including attendees from

Chile, France, Singapore, and Australia. IPPE indicates that Defendants and co-conspirators each

sent their “Top Management” to the 2014 IPPE in January 2014. The most popular panel each year

is the “market intelligence” forum, which features an Agri Stats executive speaking regarding the

Broiler industry. Similarly, Defendants’ senior executives attended IPPE in 2015 and 2016.

   373.        The International Poultry Council (“IPC”) was formed in 2005 and is composed of

national trade associations from 23 countries, as well as 40 individual companies that are

“Associate” members. The IPC website bills the organization as the “voice of the global poultry

industry” and its mission is to “strengthen communication between the industries of different

countries.” The NCC, USAPEEC, and USPOULTRY are members of the IPC on behalf of United

States poultry producers, along with individual company members of the IPC, including Tyson,



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Cobb-Vantress (a Tyson subsidiary), Sanderson Farms, and JBS S.A. (Pilgrim’s parent company).

Additionally, the Chilean poultry trade association (“APA”) and the Australian Chicken Meat

Federation (“ACMF”) are also members of the IPC.

   b. Overseas Distribution Solutions.

   374.        Overseas Distribution Solutions (“ODS”) is a Webb Pomerene11 organization

founded by a group of Defendants in 1999. A Webb Pomerene organization is an association of

exporters that is exempt from certain provisions of the Sherman Antitrust Act while engaging in

conduct to promote United States trade abroad. A Webb Pomerene organization may not engage

in importation or sales within the United States, however, and its members may undertake what

would otherwise be considered actionable collusive conduct only to export similar products.

   375.        ODS continued to operate at least through 2011. ODS membership by Defendants

has included Defendants Wayne Farms, Peco Foods, Sanderson Farms, Pilgrim’s, and Tyson, as

well as Cagle’s. The principal office for ODS was located for much of the Relevant Time Period

in the same town as Sanderson Farms’ headquarters – Laurel, Mississippi.

   376.        While originally a member of ODS around the time it was founded, Tyson

withdrew from ODS some time prior to the start of the Relevant Time Period. However, Tyson re-

joined ODS in 2010, but then inexplicably withdrew within a few months. Within a few years of

Tyson’s sudden departure, ODS disbanded and stopped filing for Webb Pomerene status.

   377.        While ODS had a mandate under the Webb Pomerene Act to have no impact on the

U.S. domestic market, Broiler industry executives recognize it is inevitable that exports will impact

U.S. domestic Broiler prices. For instance, former Pilgrim’s CEO Dr. Don Jackson has noted that

“the broiler market is global in nature. Obviously, the U.S. business generally has more volume

obviously going into the domestic market, but both the domestic and export makes up the market.



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And at times, the export market can be very impactful favorably or unfavorably to the U.S.

market.” Therefore, according to the testimony of one of Defendants’ own CEOs, it was impossible

for ODS to comply with the Webb Pomerene requirement that ODS not impact domestic prices

for U.S. Broilers.

   c. Investor Conferences.

   378.        Defendants’ CEOs and senior executives participate in numerous investor

conferences organized by Wall Street analysts, providing further opportunities to meet and

communicate with one another. Such conferences are held on an annual and/or ad hoc basis

including, but not limited to, the Goldman Sachs Global Staples Forum (held every May), Bank

of America Merrill Lynch Global Agriculture Conference (held every February), BMO Capital

Markets Annual Ag & Protein Conference (held every May), BMO Capital Markets Conference

(held every May), BMO Farm to Market Conference (held every May), Urner Barry Annual

Executive Conference and Marketing Seminar (held every April or May), and JP Morgan Basic

Materials Conference (held every June).

   d. Competitor Plant Tours.

   379.        Defendants also permitted one another to tour each other’s Broiler plants, which

revealed confidential business methods employed by a company. While such tours were often

framed as “best practices” information exchanges, they permitted the opportunity to conspire

among senior executives.

   380.        Defendants also accessed each other’s above-described data through Agri Stats to

monitor cheating in the conspiracy. Agri Stats acted as an active facilitator of Defendants’

conspiracy.




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   381.        Defendants also permit employees to regularly move between companies without

non-compete limitations or confidentiality agreements that would protect a company’s (seemingly)

proprietary business knowledge and customer base. For example, Dr. Don Jackson was President

of Foster Farms’ Poultry Division until December 2008, but then immediately took a position as

CEO of Pilgrim’s. Similarly, Clint Rivers, Pilgrim’s former President and CEO until December

2008, left the company and became Senior VP of Operations and Supply Chain Management for

Perdue in 2009. Rivers then moved to Wayne Farms in 2012, where he became Chief Operating

Officer. Greg Tatum served as CFO for Claxton Poultry, before moving to Pilgrim’s in 2009 to

serve as Senior VP of Business Development. Current Pilgrim’s CEO Bill Lovette and his second

in command, Executive Vice President Jayson Penn, both came from Case Foods to Pilgrim’s in

2011. Bill Lovette also worked at Tyson through October 2007, before moving to Case Foods in

2008, then to Pilgrim’s in 2011, where he currently serves as CEO. Mountaire’s Jim Moran (COO

& SVP Operations) joined Allen Harim in 2015 as Executive Director of Operations, before

becoming CEO of Allen Harim in 2016. Numerous other high level and well as lower level

executives move freely between Broiler companies with little or no provision by Defendants to

protect their confidential information.

   e. Merger, Acquisition, and Capital Financing Discussions.

   382.        Senior executives from Defendants had numerous opportunities to directly

       communicate with one another regarding various mergers and acquisitions between 2008

       and 2016. These merger and acquisition discussions include both completed agreements,

       such as those described in Section VI(E)(4) of this Complaint, as well as proposed

       transactions that were never completed. In connection with mergers and acquisition




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       discussions, due diligence materials regarding confidential business information were

       shared between Defendants.

   383.        In addition, Defendants all rely on debt financing and merger and acquisition

       services from the same small group of financial institutions. In the course of providing such

       services, financial institutions obtain unusually detailed access to Defendants’ non-public

       operational information, including production and pricing information, which provides

       another opportunity for Defendants to share confidential business information.

   384.        Complete information regarding the full scope of merger, acquisition, and capital

       financing discussions, communications, and due diligence information exchanged

       presently is known only to Defendants and their agents.

   f. Other Business Dealings.

   385.        Defendants also engaged in various business dealings with one another, including

purchasing feed from one another and forming joint ventures for various purposes, such as

construction and operation of rendering plants and for the slaughter of spent Broiler breeders

(including both hens and roosters, commonly referred to as “fowl”).

   7. There are High Barriers to Entry in the Broiler Market.

   386.        The existence of high barriers to entry is one factor which makes markets

susceptible to collusion. A collusive arrangement that raises product prices above competitive

levels would, under basic economic principles, attract new entrants seeking to benefit from the

supracompetitive pricing. Where, however, there are significant barriers to entry, new entrants are

less likely. Thus, barriers to entry help facilitate the formation and maintenance of a cartel.

   387.        The existence of high entry barriers in the U.S. chicken market is demonstrated by

the trend of increasing consolidation, with larger vertically integrated companies increasing their



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control over the industry. Beyond the issue of vertical integration, there is a wide range of

government food safety, worker safety, and environmental regulations that must be addressed by

any new entrant into the chicken market. The existence of low, and highly variable, profit margins

also act as significant barriers to entry. With such barriers to entry, companies that have the

available resources and significant start-up capital to enter the market and benefit from economies

of scale are able to reduce their average cost by producing more. Companies already in the market

– such as Defendants – are motivated to exclude other companies form the market to maintain their

coordinated supply restriction conspiracy, and ultimately keep prices at artificially inflated levels.

   388.          During the Relevant Time Period and continuing today, substantial barriers impede

entry into the Broiler market. A new entrant into the market would face costly and lengthy start-

up costs, including multi-million dollar costs associated with research and development,

construction of processing plants, feed mills, hatcheries, equipment, energy, transportation

distribution infrastructure (aka, “rolling stock”), skilled labor, experienced management, a skilled

contract farmer base in a specific geographic area, long-standing customer relationships, safety

and quality assurance, and regulatory approvals relating to environmental, worker safety, and food

safety issues.

   389.          Defendants themselves acknowledge the substantial costs of entering the market

and view it as important that new entrants not be able to purchase closed facilities. For example,

when the State of Louisiana pressured Pilgrim’s to sell its closed Farmerville Broiler complex,

Pilgrim’s executives expressed concern about any state assistance to the buyer to purchase the

Farmerville Broiler complex because such assistance could substantially reduce the buyer’s cost

basis therein, which could then permit the buyer to flood the market with low-cost Broilers.




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   390.        The price of construction of a new integrated Broiler processing complex (hatchery,

feed mill, and processing plant) able to compete on price with current integrated producers is

relatively high. Even for a current market participant, such as the third-largest producer (Sanderson

Farms), construction of a new Broiler complex (i.e., feed mill, hatchery, and processing plant) in

2010 was estimated to cost $100-$125 million. However, these costs fail to account for other

hurdles to new market participants, discussed above. The barriers to entry in the Broiler industry

have proved insurmountable for potential new market entrants. No company has created a new

poultry company from scratch in decades. Further, when one foreign meat company (Omtron, a

Ukrainian company) tried to enter the U.S. market in February 2011 by buying a portion of the

assets of bankrupt Broiler producer Townsend’s, Omtron invested $35 million to improve the

facility’s processing operations, but went bankrupt only five months after making the purchase.

   391.        A number of large foreign meat conglomerates have acquired U.S. Broiler

producers in the past decade, including Brazil’s JBS S.A. (Pilgrim’s), Mexico’s Industrias

Bachoco (O.K. Foods), Belgian company Continental Grain Company (Wayne Farms), Marfig

Alimentos S.A. (Keystone Foods), and South Korea’s Harim Group Corporation (Allen Harim).

However, each of these foreign meat conglomerates were already large players in the global meat

industry and simply continued operating their pre-existing U.S. Broiler company as a subsidiary.

Ownership of U.S. Broiler subsidiaries by such large, well-financed conglomerates deter entry by

smaller, non-globalized companies that might want to enter the U.S. Broiler production business.

   392.        A further barrier to new entrants is the unwillingness of large vertically integrated

producers to sell an idled Broiler complex, which also keeps open the threat that an integrated

producer will restart a closed Broiler complex. Pilgrim’s has been explicit about this threat to new

market entrants. For instance, in a February 2014 earnings call, Pilgrim’s was asked whether it had



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any plans to sell “a couple of idled U.S. facilities . . . to use that as a source of capital,” to which

Pilgrim’s CFO Fabio Sandri replied “[n]o. We are thinking those are held defensive, so we don’t

plan to sell them in this short-term or in the near future.” Such a threat of restarting idled facilities,

rather than selling those facilities, represents a substantial barrier to entry for new market

participants because an existing Broiler producer can merely restart a closed mill to drive down

prices and run a new entrant out of business.

    8. Defendants have Similar Cost Structures and Work with Each Other to Share Cost
       Information

    393.        Another factor antitrust law and economics have identified as making markets

susceptible to price-fixing is similar cost structures. The majority of production costs for Broiler

producers are variable. All other factors being equal, when variable costs are a high percentage of

production costs, there is less incentive for a producer to operate its facilities at full capacity, and

this may allow a cartel to boost prices artificially with greater success than when fixed costs are

the largest component of production costs. The single largest cost component of producing Broilers

is feed, which primarily consists of soybean meal and corn. Broiler feed prices have varied widely

from 2007-2016, reaching 71% of the cost of growing Broilers in 2012, but falling to only about

50% by 2014.

    394.        Input costs other than feed include processing plant labor costs (~15%), materials

(~11%), and capital equipment (~2.5%). Labor costs have declined significantly over the past two

decades for Defendants, while at the same time labor productivity has substantially increased.

    395.        Broiler feed costs have been decreasing sharply since record highs in 2012. For

instance, prices for soybean meal were down 10% in 2014. Since January 1, 2008, corn prices have

declined roughly 21% and soybean prices have declined 13%. During the same period, Broiler

prices increased roughly 50%.

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   396.        Defendants have relatively similar cost structures. The technology and process of

industrial scale growing and processing Broilers is well known and Defendants employ the same

types of equipment and processes in the production process. Defendants also have only three

companies from which they can obtain breeder stock from which to raise Broilers, so there are

very limited options with respect to purchasing the most cost efficient Broiler genetic lines.

Similarly, Defendants all purchase corn and soybeans on the open market, so they have limited

ability to obtain substantially different pricing on these key variable cost inputs for their Broilers.

   397.        Defendants use Agri Stats to share extraordinarily detailed cost information (as

discussed below), so they are able to constantly realign their cost structures with one another. Agri

Stats permits each Defendant to have extremely unusual knowledge of competitor costs and to

make adjustments to standardize each company’s cost structure across all Agri Stats participants.

   398.        Defendants engage in a program of “feedmill cross-testing” in which some

Defendants exchange feed and chicks with one another for the purported purpose of determining

which Defendants’ feed and/or chicks have superior qualities. Defendants claim this strategy helps

them maximize efficiency. However, it is not economically rational in a truly competitive market

for a producer to provide its proprietary feed mixes and/or chicks to its competitor, thereby giving

away any competitive cost advantage over its competitors.

   399.        Another sign that Defendants do not view production costs as secret is the fact that

it is not unusual for Defendants to permit competitor’s CEOs access to each other’s production

complexes. In a competitive industry, production methods should be closely guarded to protect

proprietary methods of production that save a company money and give it a competitive advantage

over its competitors. However, this is not the case in the Broiler industry. For example, from April

19-21, 2013, Pilgrim’s President & CEO Bill Lovette, Perdue Chairman of the Board Jim Perdue,



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and Sanderson Farms President & COO Lampkin Butts attended a three day long “Chicken Media

Summit” in North Carolina that included visits by attendees to a Sanderson Farms growhouse and

processing plant. Similarly, from April 19-21, 2015, another Chicken Media Summit was

sponsored by the NCC and USAPEEC and included tours of Perdue’s operations and panel

discussions with Defendants’ senior executives.

   F. Since 2008 Defendants’ Collusion has Led to Unprecedented Capacity Reductions,
      Artificially High Prices, and Record Profits.

   400.        As described above, Broiler prices have been artificially inflated since 2008, despite

a historic trend of boom and bust cycles for Broilers as producers oversupply the market in

response to price increases, leading to low single-digit profit margins in the Broiler industry. As

one industry observer noted, “[t]he profit margins of the nation’s biggest meat packers rose

dramatically between 2008 and 2010 (the most recent year for which good data is available), even

as the national economy cratered. Tyson Foods, the nation’s biggest meat company, reported

record profits of $778 million last year [i.e., 2013] as the company hiked prices for beef, pork, and

chicken.”

   401.        The historic pattern of annual increases in Broiler production was so entrenched

over decades of experience by the 2000s that one widely repeated quip in the industry was that

there were now only three things certain in life: “Death, taxes and 3% more broilers.” A leading

industry publication noted in early 2009 that “[b]roiler production in the U.S. used to be just like

government spending, it never went down and cutbacks only resulted in slowing the rate of growth,

but not anymore” because “[f]or the first time in decades, total broiler production in 2008 remained

virtually unchanged from the year before. WATT PoultryUSA 2008 rankings data show the

industry’s total weekly ready-to-cook (RTC) production at 724.05 million pounds, just slightly

more than the 723.71 million RTC pounds per week reported at the end of 2007.”

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   402.        During a February 12, 2015, earnings call, Pilgrim’s President & CEO Bill Lovette

summed up the restriction of supply which Defendants had implemented since 2008 (including

Lovette himself, as COO of competitor Case Foods from 2008 to 2011): “I looked at some numbers

supplied by Agri Stats earlier in the week and found some interesting facts. If you go back to 2008,

the industry slaughtered 8.35 billion head. And by 2011, that slaughtered head had declined by

approximately 8% to 7.7 billion. And it’s actually remained about that same level through 2014 at

about 7.7 billion. If you look at live weight pounds produced, it was 47.1 billion in 2008. It declined

to 45.06 billion in 2011. And in 2014, for the first time since 2008, it reached 47.3 billion, so only

200 million more pounds above 2008 levels. And then on the average weight side, the average

weight in 2008 was 5.64, and it’s averaged just above 6 from 2011 through 2014. So with all of

that data in mind, what it tells me is the industry remains fairly disciplined on the supply side and

demand has been increasing for chicken against the backdrop of increasing beef and pork

supplies.”

   G. Defendants Reduced their Own Production and Used Direct Purchases of Broilers
      to Reduce Industry Supply.

   403.        Economic theory and good business strategy suggests that relying upon one’s

competitors to meet a company’s own commitments to its customers is not rational, as the

competitor can decide to cut out the middleman and sell directly to the end customer. Nevertheless,

Tyson, Fieldale Farms, Koch Foods, and other Defendants have created a system of

interdependence whereby some Broiler companies purposely under-produce Broilers on the

assumption their competitors will sell them what they need.

   404.        Defendants use direct purchases of Broilers from one another and from smaller

Broiler producers to meet each company’s own sales needs. This permits Defendants to soak up

excess supply that could depress prices in the market and also facilitates the opportunity to

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expressly discuss prices with competitors. Such purchases also permit companies to maintain their

market share despite reducing their own production. Additionally, in many instances large inter-

Defendant purchases are negotiated by CEOs or other senior level executives of Defendants,

providing an additional opportunity for such individuals to conspire.

   405.        Further, Defendants’ participation in Agri Stats gives them visibility into each

other’s profitability, operating margins, and supply that no ordinary customer could hope to

achieve. In 2011, as noted above in Section VI(D)(5), Tyson began using what was described as a

“very unique strategy,” called “Buy vs. Grow.” Tyson’s strategy essentially treats the industry

supply as though it were for a single unified company, rather than competing businesses that would

rather sell self-produced product to a customer than a competitor.

   406.        What makes Tyson’s program exceptionally “unique” is that only a few years

before adopting a “Buy vs. Grow” strategy, Tyson declared such a strategy to be “stupid” because

it would be subsidizing a competitor’s growth. Tyson’s Executive Vice President & CFO, Wade

Miquelon explained on an April 29, 2008, earnings call that “I think what we said along is we’re

going to match our supply and demand. We’re not going to cut beyond that and then go out and

buy open market meat to subsidize other people’s growth.” Therefore, Tyson’s change in view

towards open market purchases suggests it had confidence by 2011 that its competitors would

maintain their production levels and not grow.

   407.        In a November 5, 2012, interview, Fieldale Farms President Thomas Hensley noted

his company was also pursuing a strategy to buy up excess supply from its competitors, stating

that “[i]f you don’t have a home for your chickens on Monday morning, you shouldn’t have those

chickens. Now we know where all our chickens are going. So we are buying chickens in that lower

price area instead of selling them. So, no expansion for us.”



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   408.        By the end of 2014, Tyson reported it was buying over 4 million pounds of Broilers

on the open market each week. Four million pounds of Broilers per week is more than any of the

24th-30th largest Broiler companies produce on a weekly basis, so the amount of Tyson’s

purchases was quite significant in terms of volume.

   409.        During the first part of 2015, Tyson increased its Buy vs. Grow purchases by 50%,

expanding Tyson’s purchases from competitors to unprecedented levels.

   410.        Tyson announced plans in May 2015 to increase its Buy vs. Grow strategy to 10

percent of its sales in the second half of 2015 and 2016. Ten percent of Tyson’s 2014 pounds RTC

is 17.6 million pounds per week, a volume that by itself would dwarf the entire average weekly

production of any of the 15th-30th largest Broiler producers. Notably, Tyson also announced in

May 2015 that it planned to reduce its production after July 2015 and keep production flat through

2016 by increasing its Buy vs. Grow purchases.

   411.        Upon information and belief, Defendants made use of Broiler purchases from and

purchase contracts between one another and smaller Broiler producers to reduce their own

production while soaking up excess supply from competitors.

   412.        Defendants’ use of direct purchases from one another and from smaller Broiler

producers provided Defendants an uninterrupted flow of supply and pricing information and

opportunities to communicate directly with one another.

   H. Defendants Made a Coordinated Move Away From Fixed-Price Contracts to
      Contracts that Changed Prices Quarterly or Followed Broiler Price Indexes.

   413.        A coordinated move away from fixed price contracts to contracts that permit prices

to fluctuate with an indexed public market price helps facilitate an antitrust conspiracy. See In re

High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 659 (7th Cir. 2002). This is precisely

what occurred in the Broiler market during the Relevant Time Period.

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   414.         For several years prior to the Relevant Time Period, many vertically integrated

Broiler producers offered some customers long-term fixed-price contracts of a year or more. This

guaranteed customers a fixed price, but also prevented Broiler producers from being able to realize

market price increases that would naturally result from their planned supply cuts.

   415.         Starting around January 2008, senior executives from Koch Foods, Pilgrim’s,

Perdue, Sanderson Farms, and Tyson Foods publicly announced an effort to reduce annual fixed

price contracts. This change coincided with Defendants’ efforts to reduce Broiler industry supplies

so as to drive Broiler market prices higher. On January 28, 2008, Tyson CEO Dick Bond

announced on an earnings call that Tyson was looking at shortening its fixed price contracts, and

by June 2009 Tyson reported it had “dramatically” shortened the amount of fixed-price contracts

over 90 days.

   416.         On January 29, 2008, Pilgrim’s CFO Rick Cogdill reported on an earnings call that

Pilgrim’s had started moving away from fixed-price contracts, but Pilgrim’s moves were being

held back by legacy fixed-price contracts entered into by Gold Kist prior to its acquisition by

Pilgrim’s in late 2006. Cogdill also noted that “in a situation like where we are now where we need

to drive commodity prices up, that [i.e., having less fixed price contracts] is going to give us the

opportunity for more immediate benefit to our P&L than what we would have had say, historically

three year[s] ago, when a higher percentage was fixed price.” Pilgrim’s later reported that by

March 2012 it had reduced its exposure to fixed price contracts, with most contracts now market-

based or including a reset provision linked to the underlying commodity. By 2014, Pilgrim’s

reported that less than 5% of all its contracts were 12-month fixed price contracts.




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   417.        On July 28, 2008, Perdue spokesperson Julie DeYoung told an industry publication

that Perdue was looking to shorten its contract terms, stating, “the company is also seeking to raise

prices and shorten its contracts.”

   418.        Sanderson Farms’ CEO Joe Sanderson noted in a July 31, 2008, earnings call that

the industry may move towards “shorter term agreements.”

   419.        Industry observers noted the trend of Broiler producers moving away from

fixedprice contracts. For instance, a December 2013 report by Stephens, Inc. analyst Farha Aslam

noted that “[w]ith volume growth generally limited, companies are developing more sophisticated

strategies to generate profits . . . . ‘Rather than annual fixed price contract[s] that are negotiated

every fall, companies are partnering with customers and creating contracts that can be multi-year

in duration. Contracts are now being negotiated all year long and employ a wide variety of pricing

methodologies.’” This confirms that even contracts which are long-term in duration are not “fixed”

so as to prevent price increases when coordinated supply reductions drive up Broiler market price

indices.

                                     VII.   ANTITRUST INJURY

   420.        Defendants’ conspiracy had the following effects, among others:

       A. Price competition has been restrained or eliminated with respect to Broilers;

       B. The prices of Broilers have been fixed, raised, stabilized, or maintained at artificially

   inflated levels; and

       C. Purchasers of Broilers have been deprived of free and open competition.

421.   During the Relevant Time Period, Puerto Rico paid supracompetitive prices for Broilers.

Puerto Rico purchases Broilers through a network of authorized distributors. These purchases

ensure that Puerto Rico can feed its students, prisoners and corrections officers, and hospital



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patients. By virtue of Defendants’ price-fixing behavior Puerto Rico has been forced to suffer

artificially-inflated prices for its purchases of Broilers during the Relevant Time Period.

   422.        By reason of the alleged violations of the antitrust laws, Puerto Rico has sustained

injury to its businesses or property, having paid higher prices for Broilers than it would have paid

in the absence of Defendants’ illegal contract, combination, or conspiracy, and as a result has

suffered damages.

   423.        In addition to purchases by Puerto Rico itself, Puerto Rico also seeks damages for

violations of suffered by its citizens. Puerto Rico seeks to recover these damages on behalf of its

citizens and as parens patriae.

   424.        A sovereign entity such as Puerto Rico may proceed as parens patriae to

recover damages on behalf of its population if it 1) articulates an interest apart from the

interests of particular private parties, (2) expresses a quasi-sovereign interest, and (3) alleges

injury to a sufficiently substantial segment of its population. Alfred L. Snapp & Son v. Puerto

Rico, 458 U.S. 592, 600 (1982).

   425.        Puerto Rico has its own interest in protecting the rights of its population,

including consumers, from paying artificially-inflated prices for Broilers that cause the cost

of living and the cost of tourism to rise. That interest is distinct from the interest of consumers

themselves in avoiding harm as a result of such anticompetitive behavior. The foregoing is a

sovereign interest.

   426.        A substantial segment of Puerto Rico’s population purchases Broilers from

distributors, wholesalers, retailers, and others in Puerto Rico who all paid supra-competitive

prices for Broilers as a result of Defendants’ anticompetitive conduct, and passed those supra-

competitive prices on to Puerto Rican consumers.



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   427.        Accordingly, Puerto Rico may proceed as parens patriae to recover damages

on behalf of its population.

   428.        This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.


          VIII. PLAINTIFF’S CLAIMS ARE NOT BARRED BY THE STATUTE OF
                                    LIMITATIONS

   A. Plaintiff Did Not and Could Not Have Discovered Defendants’ Anticompetitive
      Conduct.

   429.        Plaintiff had neither actual nor constructive knowledge of the facts constituting

their claim for relief. Plaintiff did not discover, and could not have discovered through the exercise

of reasonable diligence, the existence of the conspiracy alleged herein until shortly before filing

this Complaint. Defendants engaged in a secret conspiracy that did not reveal facts that would put

Plaintiff on inquiry notice that there was a conspiracy to fix prices for Broilers.

   430.        The Adams v. Pilgrim’s Pride case was originally filed as an adversarial bankruptcy

proceeding against Pilgrim’s in 2009, but was stayed pending resolution of Pilgrim’s bankruptcy.

The bankruptcy court subsequently allowed the Adams case to proceed. The Amended Complaint

in the Adams case was filed on December 7, 2009, and like the original complaint, disclosed

nothing about a horizontal conspiracy among Broiler producers to fix the price of Broilers.

   431.        On February 18, 2014, “investigative reporter Christopher Leonard [published The

Meat Racket,] the first-ever account of how a handful of companies have seized the nation’s meat

supply.” The book was credited with being the first to explain how the meat industry had changed

over the past forty years into an “oligarchy controlling much of the food we eat.” While The Meat

Racket did not conclude that Broiler producers were engaged in a horizontal conspiracy, it did




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suggest for the first time in a widely circulated book that conditions in the Broiler industry had

become susceptible to collusion.

   432.        In addition, six recent investigations by foreign governments into price-fixing

conspiracies in Broiler markets suggest that such price-fixing was possibly taking place in the

United States. French, Chilean, Singaporean, Australian, Indonesian, and South Korean price

fixing investigations in the past two years (described in sub-paragraphs A-F) have indicated that

collusion is evidently rampant in Broiler industry. In particular, the large fine levied by France’s

competition authority against 21 separate companies and 2 other organizations suggests that even

in a Broiler industry with almost two dozen participants, a price-fixing conspiracy is plausible in

the modern, industrialized reality of Broiler production.


       A.      Chile: In a September 25, 2014, decision, Chile’s Tribunal de Defensa de la Libre
               Competencia (Court for the Defense of Free Competition) concluded that three
               Chilean Broiler producers had colluded to limit the production of Broiler meat
               offered to the domestic market and allocated market shares of production and
               marketing of Broiler. The Court found that “the summoned poultry companies, by
               demand projections developed in conjunction with the APA[, a Chilean Broiler
               trade association], pursued the range in which Broiler prices should fluctuate
               through coordinated definition of a certain level of production.” Based on the
               projected future demand for broilers, each conspirator would be allocated a
               production quota. The collusion was established through emails and other
               documents seized by the competition authority. The Court imposed fines equivalent
               to roughly $85 million and disbanded a Broiler trade association used by the
               defendants to facilitate their conspiracy.

       B.      Australia: On February 2, 2015, The Australian newspaper disclosed that the
               Australian Competition & Consumer Commission had initiated an investigation
               into price-fixing in the Australian broiler industry. The investigation is ongoing.

       C.      Singapore: On March 7, 2015, a local newspaper reported for the first time that the
               Competition Commission of Singapore (CCS) was investigating price-fixing
               among live chicken slaughtering and fresh chicken distribution by Malaysian based
               broiler producers and the Poultry Merchants’ Association. On March 8, 2016, the
               Competition Commission of Singapore charged thirteen fresh chicken companies
               that make up ninety percent of the market in Singapore with engaging in anti-
               competitive discussions from 2007 through 2014. The matter is ongoing.

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       D.      France: On May 6, 2015, France’s competition authority, l’Autorité de la
               Concurrence announced that after an investigation into the entire French Broiler
               industry, it had decided to impose approximately $17.18 million in fines on 21
               companies and 2 organizations for price fixing. The French competition authority
               concluded that between 2000–2007, French Broiler producers held a large number
               of meetings to discuss the prices to charge their customers, as well as other business
               details, all for the purpose of gaining a stronger position in price negotiations with
               France’s larger supermarket chains. One of the French broiler company
               conspirators, Doux, collaborated with Pilgrim’s parent company, JBS, S.A., in the
               Brazilian broiler market.

       E.      Indonesia: On February 3, 2016, Indonesia’s Business Competition Supervisory
               Commission (KPPU) announced that it had compiled enough evidence of price-
               fixing in the poultry industry to summon 12 companies who constitute 90 percent
               of Indonesia’s poultry production. The investigation is ongoing.

       F.      South Korea: In early August 2017, it was reported that South Korea’s Fair Trade
               Commission (KFTC) is currently investigating Harim Group Corporation (parent
               company of Producer Co-Conspirator Allen Harim), the country’s largest poultry
               producer, for price-fixing. According to local media reports, the KFTC began
               investigating Harim and other firms amid allegations they colluded to adjust their
               chicken output. The probe is also looking into the involvement of the Korea Broiler
               includes allegations of pricing-fixing involving the Korea Broiler Council as well.

   433.        The Wall Street Journal article on January 18, 2016 regarding possible

manipulation by Defendants of the Georgia Dock Broiler price index raised the possibility of

collusion by Defendants to artificially raise, fix, or maintain Broiler prices. Subsequently, the

series of articles published between November 3 and 17, 2016, detailed for the first time that the

USDA had discontinued its reliance on the Georgia Dock price because its prices could not be

verified. In an April 2016 letter to the Securities and Exchange Commission and the November 8,

2016, Washington Post article, Defendant Sanderson Farms continued to represent that the Georgia

Dock price was “reliable,” in order to induce purchasers of Broilers to believe the price was not

subject to illegal manipulation by Defendants. Further, not until November 10, 2016, was it

disclosed publicly that Defendants had formed a secret Georgia Dock Advisory Committee that

facilitated opportunities for executives to meet and also discuss their scheme to fix the Georgia

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Dock price. The existence of this Committee was not known to Plaintiff, nor would they have been

able to learn of how they conducted themselves in their secret meetings. Finally, not until

November 17, 2016, was it publicly disclosed that the Florida Attorney General’s Office was

investigating the accuracy of the Georgia Dock price index.

    434.        One way to assess whether the public was aware of facts suggesting an antitrust

conspiracy among Defendants is to analyze the reaction of the market to the filing of the first

complaint in this action. In a reaction widely seen as driven exclusively by the filing of the

Maplevale Farms complaint, on October 7, 2016, Defendant Tyson Food, Inc.’s stock price

dropped as much as 11.5%, while Defendants Sanderson Farms and Pilgrim’s Pride dropped 6.9%

and 6.1% respectively. Similarly, the November 3, 2016, the New York Times article, published

online that evening, revealed for the first time the USDA’s inquiry regarding the Georgia Dock

price index and raised the possibility that the index had been manipulated by Broiler companies.

The next business day, the stock prices of Defendants Tyson Food, Inc., Sanderson Farms, and

Pilgrim’s Pride dropped 4%, 7%, and 8%, respectively, which media reports blamed on fallout

from the disclosure of the USDA inquiry regarding the Georgia Dock price in the New York Times

article.

    435.        Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Broilers are not exempt from antitrust regulation, and thus, before these recent events Plaintiff

reasonably considered it to be a competitive industry. Accordingly, a reasonable person under the

circumstances would not have been alerted to begin to investigate the legitimacy of Defendants’

Broilers prices before these recent events.

    436.        Plaintiff exercised reasonable diligence. Plaintiff could not have discovered the

alleged conspiracy at an earlier date by the exercise of reasonable diligence because of the



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deceptive practices and techniques of secrecy employed by Defendants and all of their co-

conspirators to conceal their combination.

   B. Defendants Actively Concealed the Conspiracy.

   437.        Throughout the Relevant Time Period set forth in this Complaint, Defendants and

their Producer Co-Conspirators effectively, affirmatively, and fraudulently concealed their

unlawful combination and conspiracy from Plaintiff.

   438.        The combination and conspiracy alleged herein was fraudulently concealed by

Defendants by various means and methods, including, but not limited to secret meetings,

surreptitious communications between Defendants by the use of the telephone or in-person

meetings at trade association meetings (and elsewhere) in order to prevent the existence of written

records, limiting any explicit reference to competitor pricing or supply restraint communications

on documents, communicating competitively sensitive data to one another through a “proprietary,

privileged, and confidential” system that kept both the content and participants in the system

secret, and concealing the existence and nature of their competitor supply restraint and price

discussions from non-conspirators (including customers).

   439.        Defendants used code words including “discipline” and “capacity discipline” in

their public statements to conceal their conspiracy and signal one other in furtherance of their

conspiracy to restrain production while shielding their conspiracy from detection or suspicion. As

alleged above, specific examples of the use of such coded language abound during the Relevant

Time Period, including (1) the National Chicken Council’s Annual Conference in October 2011

where a report noted that panel members Clint Rivers of Perdue Farms, Bill Anderson of Keystone

Foods, Mike Helgeson of GNP, and Mark Kaminsky of Koch Foods noted that “[d]iscipline on

the supply side was one suggestion” to increase Broiler prices, (2) on a May 3, 2013, earnings call,



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Pilgrim’s President & CEO Bill Lovette stated that “price is going to strengthen as supply

continues to be disciplined and constrained….and “we’ve done a good job so far of maintaining

discipline,” and (3) on a July 2016 earnings call Pilgrim’s CEO Bill Lovette noted that “I think

what we’ve seen with egg sets is absolutely a testament to the discipline of our industry that we’ve

seen the last really two to three years.” As alleged above, in 2008, after years of boom and bust

cycles of production leading to the regular rise and fall of prices, the price of Broilers began an

unprecedentedly steady increase that continues through the filing of this Complaint. Defendants

affirmatively and falsely attributed the price increase to increases in the price of inputs, among

other reasons. These were pretexts used to cover up the conspiracy. In fact, these price increases

were the result of collusive conduct among Defendants, which was undisclosed at the time.

   440.        During the relevant period, Defendants affirmatively made numerous misleading

public statements falsely portraying the market for Broilers as a competitive one. For example,

Defendants provided testimony at workshops held by the U.S. Department of Justice and USDA

suggesting the Broiler industry was competitive and not subject to anti-competitive practices and

agreements. This included testimony at a May 21, 2010 workshop of a National Chicken Council

commissioned study by Dr. Thomas Elam, which stated that “the chicken industry is competitive

and thriving,” and has “[i]ntense competition” that promotes “product innovation and lower prices

for consumers.” Defendants also repeatedly blamed the Renewable Fuels mandate for increased

Broiler prices, both through the NCC, other trade groups, and through press releases, speeches,

and other public statements by Defendants’ employees, rather than disclosing the existence of an

agreement to illegally restrain the supply of Broilers. Some instances of these pretextual

explanations by Defendants and their agents include:




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A.   On a January 29, 2008, earnings call, Pilgrim’s Interim CEO Clint Rivers claimed
     that “the U.S. government continues its misguided policy of subsidizing ethanol
     production at the expense of affordable food, and a lower corn yield expectation by
     USDA will contribute to decrease corn suppliers next year.”

B.   On June 23, 2008, Wayne Farms President & CEO Elton Maddox said in a
     statement that “the government’s food fuel mandate has created the need for us to
     rationalize our business.”

C.   On July 7, 2008, O.K. Foods announced production cuts due to “record high prices
     for corn and soybean meal, which it attributed to the U.S. government’s mandated
     ethanol policies.”

D.   On June 24, 2009, Harrison Poultry President & CEO Mike Welch and Claxton
     Poultry President Jerry Lane met in Washington DC and encouraged elected
     officials to end the “mistake” of the ethanol subsidy.

E.   In 2010, Foster Farms delayed an expansion due, allegedly, to corn prices. Ira Brill,
     Foster Farm’s Director of Market Services, blamed the ethanol mandate for the
     delay, stating that it “places enormous pressure on our input costs, and for that
     reason we can’t go forward with our expansion plans.”

F.   On March 7, 2011, House of Raeford announced production cuts due to increased
     prices. It stated that “if Congress will take action to cut unreasonable government
     support for the ethanol industry, then grain prices should decrease to a more
     manageable pricing level.”

G.   On March 15, 2011, Simmons announced downsizing at a plant due to economics
     “resulting from high grain prices predominantly caused by corn being used in
     ethanol.” Simmons cited ethanol policies again on June 27, 2011, when it laid off
     another 223 employees.

H.   In an April 13, 2011, hearing before a congressional subcommittee, Michael Welch
     (President and CEO of Harrison Poultry) stated that production of broilers was
     threatened by the diversion of corn to fuel production. Welch claimed that shifting
     corn back to feed would “allow consumers of poultry products to continue to enjoy
     an ongoing, adequate supply of animal protein at reasonable prices.” Welch
     repeated similar claims in 2012 as well, citing increased corn costs resulting in “tens
     of billions of dollars in increased costs for livestock and poultry producers and food
     manufacturers.”

I.   In September 2011, Phillip Green (Vice President of Commodities, Foster Farms)
     testified on behalf of the American Feed Industry Association at a public hearing
     and blamed increasing meat costs on the ethanol mandate.




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       J.      On October 10, 2014, National Chicken Council President Mike Brown wrote an
               op-ed citing the Renewable Energy Standard as the primary reason for the poultry
               industry’s inability to increase production. Brown cited the Renewable Fuel
               Standard again in a May 15, 2015 op-ed in the Wall Street Journal.

   441.        To explain the shortage of Broilers since 2012, Defendants have provided a variety

of pretextual explanations, including the following: (a) a breeding issue with Broilers during 2014,

(b) a Russian ban of U.S. Broiler imports starting in 2014, and (c) a 2013 shortage in supply due

in part due to an Avian Flu outbreak in Mexico that caused a surge in demand for hens to repopulate

farms in Mexico. However, these explanations were pretextual and Defendants sought to hide their

conspiracy from discovery by blaming Broiler price increases on these factors rather than

Defendants’ own collusive conduct. Throughout the Relevant Time Period Defendants repeatedly

cited increasing input costs as a pretext for their collusion to restrain supply and increase prices.

For instance, Defendants repeatedly claimed that input cost increases during 2008 justified Broiler

price increases. However, while corn was $5/bushel in 2005-2006 and increased to $9 by May or

June 2008, it quickly fell back to below $5/bushel by fall 2008. In fact, prior to 2008 there is a

statistical correlation between Broiler prices and corn prices, but during the Relevant Time Period

there has been no statistical correlation between Broiler and corn prices. In other words, despite

Defendants’ pretextual explanations to the contrary, Defendants were not determining the price of

Broilers based on the input price for corn.

   442.        Another example of the pretextual nature of cost justifications for Broiler price

increases is a November 2012 interview, in which Fieldale Farm President Thomas Hensley was

asked whether he thought the recently concluded NCC Annual Conference focused too much time

on the Renewable Fuel Standard because eliminating the ethanol subsidy would not “move the

needle on corn supply and prices that much” and whether there was “any danger the industry has

focused too much on this as a magic bullet?” Hensley responded, “I think that’s accurate. The best-

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case scenario is that corn would go down $1.25 per bushel and some people say it will only go

down 50 cents.”

   443.        The National Chicken Council has served as the mouthpiece for Defendants

publicized pretextual excuses for rising Broiler prices. Among other actions, the following indicate

an intent to deceive purchasers of Broilers into believing that input costs, rather than a collusive

agreement among Defendants to reduce supply, was the cause of rising Broiler prices:

       A.      Through the National Chicken Council, Defendants ensured that the pretext for
               their production cuts and price increases, the ethanol mandate, continued to be
               blamed for increased chicken prices rather than Defendants’ secret conspiracy. A
               May 19, 2010, report by FarmEcon LLC was commissioned by the NCC and
               concluded “[o]n the national scale, it is the overall conclusion of this study that the
               chicken industry is a competitive and thriving sector.” The NCC trumpeted the
               findings through a press release on its website with the headline “Competition in
               Broiler Sector Benefits Chicken Farmers, Companies, and Consumers, Study
               Finds.”

       B.      As noted above, Brown’s October 10, 2014, and May 15, 2015, op-eds in national
               newspapers attempted to explain away why “current favorable market conditions
               that would normally stimulate production to be somewhat higher” were not doing
               so. These op-eds were intended to convince purchasers of Broilers that input costs,
               rather than a secret conspiracy, were to blame for increasing Broiler prices.

   444.        By virtue of the fraudulent concealment of their wrongful conduct by Defendants

and all of their co-conspirators, the running of any statute of limitations has been tolled and

suspended with respect to any claims and rights of action that Plaintiff has as a result of the

unlawful combination and conspiracy alleged in this Complaint.

                                   IX.     CAUSES OF ACTION

                             VIOLATION OF THE SHERMAN ACT

                           FIRST CLAIM FOR RELIEF
            VIOLATION OF SECTION 1 OF THE SHERMAN ACT 15 U.S.C. § 1

   445.         Plaintiff incorporates by reference the allegations in the preceding paragraphs.




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   446.        Defendants and all of their co-conspirators entered into and engaged in a

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

   447.        Defendants’ acts in furtherance of their combination or conspiracy were authorized,

ordered, or done by their officers, agents, employees, or representatives while actively engaged in

the management of Defendants’ affairs.

   448.        At least as early as January 1, 2008, and continuing until present, the exact dates

being unknown to Plaintiff, Defendants and all of their co-conspirators entered into a continuing

agreement, understanding and conspiracy in restraint of trade to fix, raise, stabilize, and maintain

prices for Broilers, thereby creating anticompetitive effects.

   449.        Defendants’ anticompetitive acts involved United States domestic commerce and

import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by

raising and fixing prices for Broilers throughout the United States.

   450.        The conspiratorial acts and combinations have caused unreasonable restraints in the

market for Broilers. As a result of Defendants’ unlawful conduct, Plaintiff has been harmed by

being forced to pay inflated, supracompetitive prices for Broilers. In formulating and carrying out

the alleged agreement, understanding and conspiracy, Defendants and all of their co-conspirators

did those things that they combined and conspired to do, including but not limited to the acts,

practices, and course of conduct set forth in this Complaint. Defendants’ conspiracy had the

following effects, among others:

       A.      Price competition in the market for Broilers has been restrained, suppressed, and/or
               eliminated in the United States;

       B.      Prices for Broilers sold by Defendants, their divisions, subsidiaries, and affiliates,
               and all of their Producer Co- Conspirators have been fixed, raised, stabilized, and



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                  maintained at artificially high, non-competitive levels throughout the United States;
                  and

        C.        Plaintiff, who directly purchased Broilers from Defendants, their divisions,
                  subsidiaries, and affiliates, and all of their Producer Co-Conspirators has been
                  deprived of the benefits of free and open competition in the purchase of Broilers.

    451.          Defendants took all of the actions alleged in this Complaint with the knowledge

and intended effect that their actions would proximately cause the price of Broilers on the spot

market to be higher than it would be but for Defendants’ conduct. Defendants also knew and

intended that such an artificial inflation of spot market prices would increase other Broiler market

prices, including those paid by Plaintiff.

    452.          As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiff

has been injured in its business or property and will continue to be injured in its business and

property by paying more for Broilers than it would have paid and will pay in the absence of the

conspiracy.

    453.          The alleged contract, combination, or conspiracy is a per se violation of the federal

antitrust laws.

    454.          Plaintiff has been injured and will continue to be injured in its businesses and

property by paying more for Broilers purchased indirectly from the Defendants and their co-

conspirators than they would have paid and will pay in the absence of the combination and

conspiracy, as a result of higher prices paid for Broilers by the direct purchasers.

    455.          Plaintiff is entitled to an injunction against Defendants, preventing and restraining

the violations alleged herein.

                        VIOLATIONS OF PUERTO RICO ANTITRUST LAWS

                                      SECOND CLAIM FOR RELIEF
                                 Violation of the Puerto Rico Antitrust Law
                                          10 L.P.R.A. § 251 et seq.

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   456.        Plaintiff repeats and realleges every preceding allegation as if fully set forth herein.

   457.        The requirements to demonstrate an infraction of this statute that protects free

competition are: (1) that a contract exists between two or more separate entities; (2) which

unreasonably restricts commerce, and (3) it occurs in Puerto Rico or any of its sectors. Pressure

Vessels of P.R., Inc. v. Empire Gas de P.R., 137 D.P.R. 497, 1994 WL 909547 (P.R. 1994).

   458.        At all material times, Defendants contracted, combined or conspired in restraint of

trade or commerce of Broilers, and monopolized or attempted to monopolize trade or commerce

of Broilers, in violation of 10 L.P.R.A. §§ 258, 259, and 260.

   459.        Defendants’ conduct had substantial intrastate effects in that, among other things,

caused Plaintiff to pay supracompetitive and artificially-inflated prices for Broilers sold in Puerto

Rico. Defendants’ conduct materially deprived the consuming public of Puerto Rico of any choice

to purchase more affordable Broilers. The continued absence of competition directly affects and

disrupts commerce within Puerto Rico.

                                   THIRD CLAIM FOR RELIEF
                                       Unjust Enrichment

   460.        Plaintiff repeats and re-alleges every preceding allegation as if fully set forth herein.

   461.        The doctrine of unjust enrichment requires the following: (1) existence of

enrichment; (2) a corresponding impoverishment; (3) a connection between the enrichment

and the impoverishment; (4) lack of justification for enrichment, and (5) non-existence of

legal principal which would prohibit application of unjust enrichment. Hatton v. Mun. de

Ponce, 134 D.P.R. 1001, 1994 WL 909605 (P.R. 1994).

   462.        Defendants have reaped and retained substantial benefits in the form of higher

profits due to their unjust scheme to monopolize the market for Broilers.


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   463.        The financial benefits to Defendants from their wrongful conduct are traceable to

overpayments for Broilers by Plaintiff.

   464.        Plaintiff has conferred upon Defendants an economic benefit—their profits

stemming from anticompetitive overcharges. Plaintiff paid those monopoly overcharges to its

substantial economic detriment.

   465.        The financial benefits that defendants derived by charging supracompetitive prices

for Broilers directly and proximately resulted from Defendants’ unjust practices described herein.

   466.        It would be unjust and inequitable for Defendants to be permitted to retain any of

the ill-gotten gains from its wrongful monopolization scheme.

   467.        The benefits conferred upon Defendants are measurable, in that the revenue

Defendants have earned due to their unlawful overcharges of Broilers is ascertainable by review

of sales records.

                                  X.      REQUEST FOR RELIEF

Accordingly, Plaintiff requests that the Court:

   A. Adjudge and decree that Defendants violated section 1 of the Sherman Act, 15

       U.S.C. § 1;

   B. Adjudge and decree that the foregoing activities violated each of the statutes

       enumerated in this Complaint;

   C. Enjoin and restrain, pursuant to federal and state law, Defendants, their affiliates,

       assignees, subsidiaries, successors, and transferees, and their officers, directors,

       partners, agents and employees, and all other persons acting or claiming to act on

       their behalf or in concert with them, from continuing to engage in any

       anticompetitive conduct and from adopting in the future any practice, plan, program,

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        or device having a similar purpose or effect to the anticompetitive actions set forth

        above;

    D. Award to Plaintiff disgorgement of the Defendants’ ill-gotten gains and other

        equitable relief as the Court finds appropriate to redress Defendants’ violations of

        federal law or state antitrust and consumer protection laws to restore competition;

    E. Award to Plaintiff damages, including treble damages, to the extent sought;

    F. Award to Plaintiff pre- and post-judgment interest as provided by law;

    G. Award to Plaintiff its costs, including reasonable attorneys’ fees, litigation expenses,

        and costs as provided by law; and

    H. Order any other relief that this Court deems proper.


                                 XI.     JURY TRIAL DEMANDED

    468.         Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, of all issues so triable.


        Dated: June 20, 2019

                                                     Respectfully Submitted,

                                                     /s/ Kyle G. Bates
                                                     Wanda Vázquez-Garced
                                                     Attorney General

                                                     Johan M. Rosa Rodríguez
                                                     PR Bar No. 16819
                                                     Assistant Attorney General
                                                     Antitrust Division
                                                     Puerto Rico Department of Justice
                                                     P.O. Box 9020192
                                                     San Juan, Puerto Rico 00902-0192
                                                     Tel: (787) 721-2900, ext. 2600, 2601
                                                     Fax: (787) 721-3223

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                                  jorosa@justicia.pr.gov

                                  Todd M. Schneider
                                  Kyle G. Bates (USDCPR-306412)
                                  SCHNEIDER WALLACE COTTRELL
                                  KONECKY WOTKYNS LLP
                                  2000 Powell St., Suite 1400
                                  Emeryville, California 94608
                                  Telephone: (415) 421-7100
                                  Facsimile: (415) 421-7105
                                  tschneider@schneiderwallace.com
                                  kbates@schneiderwallace.com

                                  Peter B. Schneider
                                  SCHNEIDER WALLACE COTTRELL
                                  KONECKY WOTKYNS LLP
                                  3700 Buffalo Speedway, Suite 300
                                  Houston, Texas 77098
                                  Telephone: (713) 338-2560
                                  Facsimile: (415) 421-7105
                                  pschneider@schneiderwallace.com

                                  ATTORNEYS FOR THE
                                  COMMONWEALTH OF PUERTO
                                     RICO




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